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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

         ------------------------------------------------------------ x
                                                                      :
         In re:                                                       :    Chapter 11
                                                                      :
         JOANN INC., et al.,                                          :    Case No. 24-10418 (CTG)
                                                                      :
                                        1
                             Debtors.                                 :    (Jointly Administered)
                                                                      :
         ------------------------------------------------------------ x    Related Dkt. No.: 15


                    NOTICE OF FILING OF FIRST AMENDED PREPACKAGED
                   JOINT PLAN OF REORGANIZATION OF JOANN INC. AND ITS
               DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

                 PLEASE TAKE NOTICE that, on March 18, 2024, the above-captioned debtors and
         debtors in possession (collectively, the “Debtors”) filed the Prepackaged Joint Plan of
         Reorganization of JOANN Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
         [Docket No. 15] (as amended, modified or supplemented from time to time, the “Plan”) and the
         related Disclosure Statement for Prepackaged Joint Plan of Reorganization of JOANN Inc. and Its
         Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 16] (as amended,
         modified or supplemented from time to time, the “Disclosure Statement”).

                 PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is an amended
         version of the Plan (the “First Amended Plan”). For the convenience of the Court and other
         interested parties, a blackline comparing the Plan against the First Amended Plan is attached hereto
         as Exhibit B.

                 PLEASE TAKE FURTHER NOTICE that the hearing (the “Hearing”) to consider the
         adequacy of the Disclosure Statement and confirmation of the Plan is scheduled for April 25, 2024
         at 2:00 p.m. (ET) before the Honorable Craig T. Goldblatt, in the United States Bankruptcy Court
         for the District of Delaware, 824 N. Market Street, 3rd Floor, Courtroom No. 7, Wilmington,
         Delaware 19801.

               PLEASE TAKE FURTHER NOTICE that the Debtors reserve all rights to alter, amend,
         modify, or supplement the First Amended Plan.

                                                     [Signature Page Follows]


         1
              The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
              JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions LLC
              (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594);
              JOANN Ditto Holdings Inc. (9652); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
              is 5555 Darrow Road, Hudson, OH 44236.

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                        Case 24-10418-CTG     Doc 288       Filed 04/23/24   Page 2 of 149




             Dated: April 23, 2024

             /s/ Shane M. Reil

             YOUNG CONAWAY STARGATT                  LATHAM & WATKINS LLP
             & TAYLOR, LLP
             Michael R. Nestor (No. 3526)            George A. Davis (admitted pro hac vice)
             Kara Hammond Coyle (No. 4410)           Alexandra M. Zablocki (admitted pro hac vice)
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                                     Counsel for Debtors and Debtors-in-Possession




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                                    EXHIBIT A

                                 First Amended Plan




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------------ x
                                                                   :
In re:                                                             :   Chapter 11
                                                                   :
JOANN INC., et al.,                                                :   Case No. 24-10418 (CTG)
                                                                   :
                      Debtors. 1                                   :   (Jointly Administered)
                                                                   :
------------------------------------------------------------------ x

     FIRST AMENDED PREPACKAGED JOINT PLAN OF REORGANIZATION OF JOANN INC.
       AND ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

     YOUNG CONAWAY STARGATT &                                      LATHAM & WATKINS LLP
     TAYLOR LLP
                                                                   George A. Davis (admitted pro hac vice)
     Michael R. Nestor (No. 3526)                                  Alexandra M. Zablocki (admitted pro hac vice)
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                                                                                  nicholas.messana@lw.com
     Counsel to the Debtors and Debtors in
     Possession
                                                                   Ebba Gebisa (admitted pro hac vice)
     Dated: April 23, 2024                                         330 North Wabash Avenue, Suite 2800
                                                                   Chicago, IL 60611
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                                                                   Email:         ebba.gebisa@lw.com




 1
       The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
       JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions LLC
       (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594);
       JOANN Ditto Holdings Inc. (9652); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
       is 5555 Darrow Road, Hudson, OH 44236.

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 FIRST AMENDED PREPACKAGED JOINT PLAN OF REORGANIZATION OF JOANN INC.
   AND ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

         JOANN Inc. and each of the other debtors and debtors-in-possession in the above-captioned cases
(collectively, the “Debtors”) propose this Plan (as defined herein) for the treatment and resolution of the
outstanding Claims against, and Interests in, the Debtors. Capitalized terms used in this Plan and not
otherwise defined have the meanings ascribed to such terms in Article I.A.

         Although proposed jointly for administrative purposes, this Plan constitutes a separate Plan for each
Debtor for the treatment and resolution of outstanding Claims and Interests therein pursuant to the
Bankruptcy Code. The Debtors seek to consummate the Restructuring Transactions on the Effective Date
of this Plan. Each Debtor is a proponent of this Plan within the meaning of section 1129 of the Bankruptcy
Code. The classifications of Claims and Interests set forth in Article III shall be deemed to apply separately
with respect to each Plan proposed by each Debtor, as applicable. This Plan does not contemplate
substantive consolidation of any of the Debtors.

         Reference is made to the Disclosure Statement for a discussion of the Debtors’ history, businesses,
results of operations, historical financial information, projections, and future operations, as well as a
summary and analysis of this Plan and certain related matters, including distributions to be made under this
Plan. There also are other agreements and documents, which shall be filed with the Bankruptcy Court, that
are referenced in this Plan, the Plan Supplement, or the Disclosure Statement as exhibits and schedules. All
such exhibits and schedules are incorporated into and are a part of this Plan as if set forth in full herein.
Subject to certain restrictions and requirements set forth in 11 U.S.C. § 1127, Fed. R. Bankr. P. 3019, and
the terms and conditions set forth in this Plan, the Debtors reserve the right to alter, amend, modify, revoke,
or withdraw this Plan before its substantial consummation.

     ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THIS PLAN ARE
ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.

                                       Article I.
                      DEFINED TERMS AND RULES OF INTERPRETATION

A.      Defined Terms

        The following terms shall have the following meanings when used in capitalized form herein:

      1.       “ABL Claims” means any and all Claims arising under, derived from, or based upon the
ABL Facility including, without limitation, all Revolving Obligations (as defined in the ABL Credit
Agreement) and all Prepetition Revolving Obligations (as defined in the DIP/Cash Collateral Orders).

         2.     “ABL Credit Agreement” means that certain Amended and Restated Credit Agreement,
dated as of October 21, 2016, as amended by that certain First Amendment on November 25, 2020, that
certain Second Amendment on December 22, 2021, and that certain Third Amendment, dated as of March
10, 2023, as amended, restated, amended and restated, modified, or supplemented from time to time in
accordance with the terms thereof.

      3.      “ABL Facility” means the senior secured asset based revolving credit facility under the
ABL Credit Agreement.




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        4.      “ABL Facility Agent” means Bank of America, N.A., in its capacity as administrative
agent and collateral agent under the ABL Facility and any replacement or successor agent thereto.

        5.     “ABL Facility Agent Advisors” means Morgan, Lewis & Bockius LLP, Reed Smith LLP,
AlixPartners LLP, and such other professional advisors as are retained by the ABL Facility Agent or the
Exit ABL Agent with the consent of the Debtors (not to be unreasonably withheld).

         6.     “ABL Facility Documents” means the ABL Credit Agreement together with all other
related documents, instruments, and agreements in respect of the ABL Facility, in each case, as amended,
restated, amended and restated, modified, or supplemented from time to time in accordance with the terms
thereof.

        7.      “ABL Lenders” means Holders of, or nominees, investment managers, investment
advisors, or subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the outstanding
ABL Claims.

        8.       “ABL Loans” means the loans under the ABL Facility.

         9.     “ABL/FILO Exit Commitment Letters” means those certain commitment letters executed
(a) by and between the Debtors, the ABL Facility Agent, and the ABL Lenders, and (b) by and between the
Debtors, the FILO Term Loan Agent, and the FILO Lenders, in each case, in form and substance acceptable
to the ABL Facility Agent, the FILO Term Loan Agent, the ABL Lenders, and the FILO Lenders, and
reasonably acceptable to the Required DIP Lenders.

         10.    “Acceptable ABL/FILO Plan” means this Plan, which is attached to the ABL/FILO Exit
Commitment Letters as Exhibit B, as it may be altered, amended, modified, or supplemented from time to
time in accordance with the ABL/FILO Exit Commitment Letters, and without material modification except
as approved in writing by the Required DIP Lenders (such approval shall not be unreasonably withheld,
conditioned, or delayed).

        11.      “Accordion Facility” means the accordion facility under the DIP Credit Agreement.

        12.      “Accordion Lender” means the lenders under the Accordion Facility.

        13.     “Ad Hoc Group” means that certain ad hoc group of Holders of Term Loan Claims
represented by, among others, Gibson, Dunn & Crutcher LLP and Morris, Nichols, Arsht & Tunnell LLP
and advised by Lazard Frères & Co. LLC.

       14.      “Ad Hoc Group Advisors” means Gibson, Dunn & Crutcher LLP, Morris, Nichols, Arsht
& Tunnell LLP, Lazard Frères & Co., and such other professional advisors as are retained by the Ad Hoc
Group with the consent of the Debtors (not to be unreasonably withheld).

       15.     “Additional Financing Parties” means, collectively, each Accordion Lender, Project Swift
LLC, and the Supporting Trade Creditors.

        16.     “Administrative Claim” means a Claim for costs and expenses of administration under
sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary
costs and expenses incurred on or after the Petition Date and through the Effective Date of preserving the
Estates and operating the businesses of the Debtors; (b) Professional Fee Claims, to the extent Allowed by
the Bankruptcy Court; (c) all fees and charges assessed against the Estates under chapter 123 of title 28
United States Code, 28 U.S.C. §§ 1911-1930; (d) Cure Costs; (e) Restructuring Fees and Expenses, in

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accordance with the Transaction Support Agreement or the DIP/Cash Collateral Orders, as applicable, and
(f) Independent Director Fee Claims, to the extent Allowed by the Bankruptcy Court and to the extent
incurred on or after the Petition Date and through the Effective Date; provided, that the foregoing clauses
(a) through (f) shall not be interpreted as enlarging the scope of sections 503(b), 507(b), or 1114(e)(2) of
the Bankruptcy Code.

         17.     “Affiliate” means, with respect to any Entity, all Entities that would fall within the
definition of an “affiliate” as such term is defined in section 101(2) of the Bankruptcy Code. With respect
to any Entity that is not a Debtor, the term “Affiliate” shall apply to such Entity as if the Entity were a
Debtor.

        18.      “Agents” means the Prepetition Agents, DIP Agent, and Exit Facility Agents.

         19.     “Allowed” means with respect to any Claim or Interest (or any portion thereof): (a) any
Claim or Interest as to which no objection to allowance, priority, or secured status, and no request for
estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
has been interposed (either in the Bankruptcy Court or in the ordinary course of business) on or before any
applicable period of limitation under applicable law or such other applicable period of limitation fixed by
the Bankruptcy Court; (b) any Claim or Interest as to which the liability of the Debtors and the amount
thereof are determined by a Final Order of the Bankruptcy Court or a court of competent jurisdiction other
than the Bankruptcy Court, either before or after the Effective Date; or (c) any Claim or Interest expressly
deemed Allowed by this Plan. Notwithstanding the foregoing: (x) any Claim or Interest that is expressly
disallowed pursuant to this Plan shall not be Allowed unless otherwise ordered by the Bankruptcy Court;
(y) unless otherwise specified in this Plan, the Allowed amount of Claims shall be subject to and shall not
exceed the limitations under or maximum amounts permitted by the Bankruptcy Code, including sections
502 or 503 of the Bankruptcy Code, to the extent applicable; and (z) the Reorganized Debtors shall retain
all claims and defenses with respect to Allowed Claims that are Reinstated or otherwise Unimpaired
pursuant to this Plan. “Allow,” “Allows,” and “Allowing” shall have correlative meanings.

       20.      “Assumed Employee Agreements” means all existing employment agreements between
the Debtors and employees of the Debtors as of the Petition Date.

        21.     “Avoidance Actions” means any and all avoidance, recovery, subordination, or similar
actions or remedies that may be brought by or on behalf of the Debtors or the Estates under the Bankruptcy
Code or applicable non-bankruptcy law, including actions or remedies arising under chapter 5 of the
Bankruptcy Code or under similar or related local, state, federal, or foreign statutes and common law,
including fraudulent transfer laws, fraudulent conveyance laws, or other similar related laws.

        22.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

       23.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware or such other court having jurisdiction over the Chapter 11 Cases.

        24.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075,
as applicable to the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy Court.

         25.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as that
term is defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for commercial business
with the public in New York City, New York.


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        26.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

        27.      “Cash Collateral” has the meaning set forth in section 363(a) of the Bankruptcy Code.

          28.     “Causes of Action” means any action, Claim, cross-claim, third-party claim, cause of
action, controversy, dispute demand, right, lien, indemnity, contribution, interest, guaranty, suit, obligation,
liability, lost, debt, fee or expense, damage, judgment, account, defense, offset, power, privilege,
proceeding, franchise, remedy, and license of any kind or character whatsoever, whether known or
unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively (including
any alter ego theories), whether arising before, on, or after the Petition Date, as applicable, in contract or in
tort, in law (whether local, state, or federal U.S. or non-U.S. Law) or in equity, or pursuant to any other
theory of local, state, or federal U.S. or non-U.S. Law. For the avoidance of doubt, “Causes of Action”
include: (a) any right of setoff, counterclaim, or recoupment; (b) any Claim based on or relating to, or in
any manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary duty, actual or
constructive fraudulent transfer or fraudulent conveyance or voidable transaction or similar Law, violation
of local, state, or federal or non-U.S. Law or breach of any duty imposed by Law or in equity, including
securities Laws, negligence, and gross negligence; (c) any Claim pursuant to section 362 or chapter 5 of
the Bankruptcy Code or similar local, state, or federal U.S. or non-U.S. Law; (d) any Claim or defense
including fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the
Bankruptcy Code; (e) any Avoidance Actions relating to or arising from any state or foreign Law pertaining
to any Avoidance Action, including preferential transfer, actual or constructive fraudulent transfer,
fraudulent conveyance, or similar Claim; (f) the right to object to or otherwise contest Claims or Interests;
and (g) any “lender liability” or equitable subordination Claims or defenses.

        29.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
voluntary case Filed for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and
(b) when used with reference to all Debtors, the jointly administered chapter 11 cases for all of the Debtors.

       30.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code. Except
where otherwise provided in context, “Claim” refers to such a claim against any of the Debtors.

        31.    “Claims Register” means the official register of Claims and Interests maintained by the
Notice and Claims Agent.

        32.     “Class” means a category of Claims or Interests as set forth in Article III pursuant to section
1122(a) of the Bankruptcy Code.

        33.     “Combined Hearing” means the hearing conducted by the Bankruptcy Court to consider
approval of the Disclosure Statement and confirmation of this Plan, as such hearing may be adjourned or
continued from time to time.

       34.       “Combined Order” means the order of the Bankruptcy Court approving the Disclosure
Statement pursuant to sections 1125, 1126(b), and 1145 of the Bankruptcy Code and confirming this Plan
pursuant to section 1129 of the Bankruptcy Code.

        35.    “Compensation and Benefits Programs” means all employment, confidentiality, and non-
competition agreements, bonus, gainshare, and incentive programs (other than awards of equity interests,
stock options, restricted stock, restricted stock units, warrants, rights, convertible, exercisable, or
exchangeable securities, stock appreciation rights, phantom stock rights, redemption rights, profits interests,
equity-based awards, or contractual rights to purchase or acquire equity interest at any time and all rights

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arising with respect thereto), vacation, holiday pay, severance, retirement, savings, supplemental
retirement, executive retirement, pension, deferred compensation, medical, dental, vision, life and disability
insurance, flexible spending account, and other health and welfare benefit plans, employee expense
reimbursement, and other compensation and benefit obligations of the Debtors, and all amendments and
modifications thereto, applicable to the Debtors’ employees, former employees, retirees, and non-employee
directors and the employees, former employees, and retirees of their subsidiaries.

        36.     “Confirmation” means the entry of the Combined Order by the Bankruptcy Court on the
docket of the Chapter 11 Cases.

        37.      “Confirmation Date” means the date on which Confirmation occurs.

       38.     “Consenting Stakeholders” means, collectively, the Consenting Term Lenders and
Consenting Stockholder Parties.

        39.     “Consenting Stockholder Parties” means Green Equity Investors CF, L.P., Green Equity
Investors Side CF, L.P., LGP Associates CF, LLC, and certain current or former members of the Parent
board of directors.

        40.     “Consenting Stockholder Party Advisors” means Richards, Layton & Finger, P.A., and
such other professional advisors as are retained by the Consenting Stockholder Parties with the consent of
the Debtors (not to be unreasonably withheld).

        41.     “Consenting Term Lenders” means Holders of, or nominees, investment managers,
investment advisors, or subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the
outstanding Term Loan Claims that have executed and delivered counterpart signature pages to the
Transaction Support Agreement, or signature pages to a Joinder or Transfer Agreement (as applicable), to
counsel to the Debtors.

        42.    “Cure Cost” means any and all amounts, including an amount of $0.00, required to cure
any monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may be
agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to be assumed by the
Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code.

         43.      “D&O Insurance Policies” means, collectively, all insurance policies (including any “tail
coverage” and all agreements, documents, or instruments related thereto) issued at any time to, or providing
coverage to, any of the Debtors or any of the Debtors’ current or former directors, members, managers, or
officers for alleged Wrongful Acts (as defined in the D&O Insurance Policies), or similarly defined
triggering acts, in their capacity as such.

        44.      “Debtor Release” means the releases set forth in Article IX.B.

        45.      “Debtors” has the meaning set forth in the preamble to this Plan.

        46.      “Deferred Compensation Plan” has the meaning set forth in the Motion of Debtors for
Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay Certain Employee Compensation
and Benefits, (B) Maintain and Continue Such Benefits and Other Employee-Related Programs, and
(C) Pay Prepetition Claims of Contracted Labor, (II) Granting Relief from Automatic Stay with Respect to
Workers' Compensation Claims, and (III) Granting Related Relief [Docket No. 11].



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         47.     “Definitive Documents” means all of the definitive documents implementing the
Restructuring Transactions set forth in Section 3.01 of the Transaction Support Agreement, and, in each
case, any amendments, modifications, and supplements thereto and any related notes, certificates,
agreements, documents, and instruments (as applicable), including, but not limited to: (a) this Plan and all
documentation necessary to consummate this Plan, including this Plan, the Plan Supplement, the Disclosure
Statement, the Solicitation Procedures Motion, the Solicitation Procedures Order, the Solicitation Materials,
and the Combined Order (including any exhibits or supplements filed with respect to each of the foregoing);
(b) the DIP Facility Documents (including the DIP/Cash Collateral Motion and the DIP/Cash Collateral
Orders); (c) the Exit Facilities Documents; (d) the New Organizational Documents; (e) the New
Stockholders Agreement; and (f) all other customary documents delivered in connection with transactions
of this type (including any and all material documents, Bankruptcy Court or other judicial or regulatory
orders, amendments, supplements, pleadings (including the First Day Pleadings and all orders sought
pursuant thereto), motions, filings, exhibits, schedules, appendices, or modifications to any of the foregoing
and any related notes, certificates, agreements, and instruments (as applicable) necessary to implement the
Restructuring Transactions).

         48.     “DIP Agent” means Wilmington Savings Fund Society, FSB, as administrative agent and
collateral agent under the DIP Credit Agreement, and any successors, assignees, or delegees thereof.

         49.     “DIP Agent Advisors” means ArentFox Schiff LLP and such other professional advisors
as are retained by the DIP Agent with the consent of the Debtors (not to be unreasonably withheld).

        50.     “DIP Backstop Allocation Schedule” means the backstop allocation schedule in respect
of the DIP Facility attached as Exhibit 1 to the Transaction Term Sheet.

         51.      “DIP Backstop Fee” means, in exchange for the DIP Backstop Parties’ agreement to
backstop the entire amount of the DIP Facility, each DIP Backstop Party, as well as Project Swift LLC,
shall receive its Pro Rata Share of a backstop fee equal to twenty percent (20%) of the DIP Term Loans in
the form of an assumption of an equivalent amount of such DIP Backstop Party’s Term Loan Claims, up to
the amount thereof, and thereafter paid in kind; provided that any interest on additional DIP Term Loans
payable as part of such backstop fee shall be payable in kind; provided further that, to the extent a DIP
Backstop Party does not hold Term Loan Claims sufficient to pay such backstop fee, such amount of the
backstop fee shall be paid in an equivalent amount of DIP Term Loans. The DIP Backstop Fee shall be
earned on the date of execution of the Transaction Support Agreement, but subject to the entry of the Interim
DIP/Cash Collateral Order, and thereafter constitute DIP Claims. Any third party that funds the Accordion
Facility shall be entitled to, with the consent of the Required DIP Lenders, a fee no worse for the Company
than being paid to the DIP Backstop Parties.

       52.     “DIP Backstop Parties” means the Consenting Term Lenders set forth on the DIP
Backstop Allocation Schedule that have agreed to backstop and fund the full amount of the DIP Facility.

          53.     “DIP Claim” means any and all Claims on account of, arising from, arising under, or
related to the DIP Facility, the DIP Facility Documents, or the DIP/Cash Collateral Orders, including
Claims for the aggregate outstanding principal amount of, plus unpaid interest on, the DIP Term Loans, and
all fees (including the DIP Backstop Fee and DIP Participation Fee) and other expenses related thereto and
arising and payable under the DIP Facility.

        54.     “DIP Credit Agreement” means that certain Senior Secured Superpriority Debtor-in-
Possession Credit Agreement in respect of the DIP Facility, as amended, restated, amended and restated,
modified, or supplemented from time to time in accordance with the terms thereof.


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        55.    “DIP Facility” means the senior secured debtor-in-possession credit facility provided by
the DIP Lenders under the DIP Credit Agreement.

         56.      “DIP Facility Documents” means the DIP/Cash Collateral Orders and the DIP Credit
Agreement, together with all other related documents, instruments, and agreements in respect of the DIP
Facility, in each case, as amended, restated, amended and restated, modified, or supplemented from time to
time in accordance with the terms thereof.

        57.      “DIP Lenders” means the lenders holding the DIP Term Loans.

         58.     “DIP Participation Fee” means, in exchange for the DIP Lenders’ agreement to fund the
DIP Facility, each applicable DIP Lender shall receive its Pro Rata Share of a participation fee equal to
eighty-five percent (85%) of the New Equity Interests (subject to dilution only by the Management
Incentive Plan); provided that, for the avoidance of doubt, Project Swift LLC, as the only Additional
Financing Party providing “new money” DIP Term Loans, shall be the only Additional Financing Party
entitled to receive a share of the Participation Fee as set forth on its Joinder. The DIP Participation Fee
shall be earned on the date of entry of the Final DIP/Cash Collateral Order and thereafter constitute DIP
Claims.

        59.      “DIP Term Loan Claims” means Claims arising under or related to the DIP Term Loans.

        60.    “DIP Term Loans” means loans made under the DIP Facility in an original aggregate
principal amount of approximately $132,000,000 plus up to $10,000,000 of additional loans under the
Accordion Facility plus additional loans paid as part of the DIP Backstop Fee.

        61.     “DIP/Cash Collateral Motion” means the motion(s) seeking approval of the Debtors’ use
of Cash Collateral and requesting approval to obtain debtor in possession financing on terms substantially
the same as those set forth in the Transaction Term Sheet and the DIP Facility Documents.

        62.    “DIP/Cash Collateral Orders” means, together, the Interim DIP/Cash Collateral Order and
Final DIP/Cash Collateral Order.

         63.     “Disclosure Statement” means the disclosure statement for this Plan, including all exhibits
and schedules thereto, as amended, supplemented, or modified from time to time, that is prepared and
distributed in accordance with sections 1125, 1126(b), and 1145 of the Bankruptcy Code, Bankruptcy Rule
3018, and other applicable law.

         64.    “Disputed” means, with respect to any Claim or Interest, except as otherwise provided
herein, a Claim or Interest that is not yet Allowed, but has not yet been disallowed pursuant to this Plan,
the Bankruptcy Code, or a Final Order by the Bankruptcy Court or other court of competent jurisdiction.

       65.     “Distribution Agent” means the Reorganized Debtors or any party designated by the
Debtors or Reorganized Debtors to serve as distribution agent under this Plan.

         66.     “Distribution Record Date” means, other than with respect to publicly held securities, the
date for determining which Holders of Claims are eligible to receive distributions under this Plan on account
of Allowed Claims, which date shall be the Confirmation Date or such other date agreed to by the Debtors
and the Required DIP Lenders, subject to Article VI.D. For the avoidance of doubt, the Distribution Record
Date shall not apply to publicly traded securities, which shall receive distributions, if any, in accordance
with the applicable procedures of DTC.


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        67.      “DTC” means The Depository Trust Company or any successor thereto.

        68.      “Effective Date” means the date on which all conditions specified in Article VIII.A have
been (a) satisfied or (b) waived pursuant to Article VIII.B.

        69.      “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

       70.       “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

      71.      “Exchange Act” means the Securities Exchange Act of 1934, as now in effect or hereafter
amended, or any regulations promulgated thereunder.

         72.      “Exculpated Party” means, each in its capacity as such, (a) each of the Debtors and,
(b) solely to the extent they are Estate fiduciaries, the Debtors’ Related Parties.

        73.      “Executory Contract” means a contract to which one or more of the Debtors is a party that
is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code, other than an
Unexpired Lease.

        74.      “Existing Equity Interest” means any issued, unissued, authorized, or outstanding shares
or common stock, preferred shares, or other instrument evidencing an ownership interest in the Parent,
whether or not transferable, together with any warrants, equity-based awards, or contractual rights to
purchase or acquire such equity interests (including under any employment or benefits agreement) at any
time and all rights arising with respect thereto that existed immediately before the Effective Date.

       75.       “Existing Intercreditor Agreement” means the Intercreditor Agreement, dated as of May
21, 2018, relating to the Term Loans, the ABL Facility, and the FILO Term Loans, as amended, restated,
amended and restated, modified, or supplemented from time to time in accordance with the terms thereof.

         76.     “Exit ABL Agent” means the agent under the senior secured asset based revolving credit
facility under the Exit ABL/FILO Facility Amendment.

         77.     “Exit ABL Loans” means loans under the senior secured asset based revolving credit
facility under the Exit ABL/FILO Facility Amendment.

         78.    “Exit ABL/FILO Facility Amendment” means that certain Second Amended & Restated
Credit Agreement to be executed by and among Jo-Ann Stores, LLC, an Ohio limited liability company,
Joann Holdings 2, LLC, a Delaware corporation, Needle Holdings LLC, a Delaware limited liability
company, Bank of America, N.A., as administrative agent (in such capacity, including any successor
thereto) and as collateral agent (in such capacity, including any successor thereto) under the Loan
Documents (as defined in the ABL Credit Agreement), 1903P Loan Agent, LLC, as documentation agent
for the FILO Facility (as defined in the ABL Credit Agreement) (in such capacity, including any successor
thereto), and each lender from time to time party thereto (as amended, restated, amended and restated,
modified, or supplemented from time to time in accordance with its terms).

        79.    “Exit Facilities” means the facilities under which the Exit ABL Loans, Exit FILO Loans,
and Exit Term Loans shall be issued.

       80.   “Exit Facilities Documents” means the Exit ABL/FILO Facility Amendment, ABL/FILO
Exit Commitment Letters, Exit Term Loan Documents, and Exit Intercreditor Agreement, together with all

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other related documents, instruments, and agreements in respect of the Exit Facilities, in each case, as
amended, restated, amended and restated, modified, or supplemented from time to time in accordance with
the terms thereof.

      81.        “Exit Facility Agents” means the Exit ABL Agent, the Exit FILO Agent, and the Exit Term
Loan Agent.

        82.     “Exit FILO Agent” means the agent under the senior secured last-out term loan facility
under the Exit ABL/FILO Facility Amendment.

         83.   “Exit FILO Loans” means loans under the senior secured last-out term loan facility under
the Exit ABL/FILO Facility Amendment.

        84.      “Exit Intercreditor Agreement” means the intercreditor agreement(s) to be effective as of
the Effective Date relating to the Exit Facilities, which may be the Existing Intercreditor Agreement or
substantially similar to the Existing Intercreditor Agreement.

        85.      “Exit Term Lenders” means the lenders holding the Exit Term Loans.

        86.      “Exit Term Loan Agent” means Wilmington Savings Fund Society, FSB.

        87.     “Exit Term Loan Agent Advisors” means ArentFox Schiff LLP and such other
professional advisors as are retained by the Exit Term Loan Agent with the consent of the Debtors or
Reorganized Debtors (not to be unreasonably withheld).

        88.      “Exit Term Loans” means term loans under the Exit Term Loan Credit Agreement in an
aggregate principal amount of up to approximately $165,500,000 (plus accrued interest) comprising
converted DIP Term Loans (inclusive of DIP Term Loans paid as part of the DIP Backstop Fee and
assuming the full amount of the Accordion Facility is funded) in the same aggregate principal amount (plus
accrued interest) based on amounts outstanding under the DIP Facility on the Effective Date.

        89.      “Exit Term Loan Credit Agreement” means the credit agreement between Reorganized
Parent or its subsidiaries or affiliates, as applicable, and the lenders party thereto to effectuate the issuance
of the Exit Term Loans.

         90.     “Exit Term Loan Documents” means the Exit Term Loan Credit Agreement and together
with all other related documents, instruments, and agreements in respect of the Exit Term Loans, in each
case, as amended, restated, modified, or supplemented from time to time.

        91.      “File” or “Filed” or “Filing” means file, filed, or filing, respectively, with the Bankruptcy
Court or its authorized designee in the Chapter 11 Cases.

        92.      “FILO Claims” means Claims arising under or related to the FILO Term Loans.

      93.        “FILO Facility” means the senior secured last-out term loan facility under the ABL Credit
Agreement.

        94.     “FILO Fee Letter” means that certain FILO Fee Letter, dated as of March 10, 2023, as
amended, restated, amended and restated, modified, or supplemented from time to time in accordance with
the terms thereof.


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        95.    “FILO Intercreditor Agreement” means that certain Agreement Among Lenders, dated as
of May 10, 2023, relating to the FILO Term Loans, as amended, restated, amended and restated, modified,
or supplemented from time to time in accordance with the terms thereof.

        96.     “FILO Lenders” means Holders of, or nominees, investment managers, investment
advisors, or subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the outstanding
FILO Term Loans.

         97.    “FILO Prepayment Premium” has the meaning set forth in the FILO Fee Letter (including,
for the avoidance of doubt, the “Make Whole Amount” (as defined in the FILO Fee Letter)).

       98.     “FILO Term Loan Advisors” means Choate, Hall & Stewart LLP, DLA Piper LLP (US),
Proskauer Rose LLP, AlixPartners LLP, and such other professional advisors as are retained by the FILO
Term Loan Agent and the FILO Lenders or the Exit FILO Agent with the consent of the Debtors (not to be
unreasonably withheld).

        99.      “FILO Term Loan Agent” means, collectively, (a) Bank of America, N.A., in its capacity
as administrative agent and collateral agent under the FILO Term Loans and any replacement or successor
agent thereto, and (b) 1903P LOAN AGENT, LLC, in its capacity as FILO Documentation Agent under
the FILO Term Loans and any replacement or successor agent thereto.

        100.     “FILO Term Loans” means the first-in last-out term loans under the FILO Facility.

         101.    “Final DIP/Cash Collateral Order” means any order (and all exhibit and schedules
thereto, including any budget) entered by the Bankruptcy Court on a final basis: (a) approving the DIP
Facility, the DIP Facility Documents, and the DIP/Cash Collateral Motion; (b) authorizing the Debtors’ use
of Cash Collateral; and (c) providing for adequate protection of secured creditors.

         102.     “Final Order” means an order entered by the Bankruptcy Court or other court of competent
jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked, and as to which (i) any
right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has been waived
or (ii) the time to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has
expired and no appeal, motion for leave to appeal, or petition for certiorari, review, reargument, stay, or
rehearing is pending or (b) as to which an appeal has been taken, a motion for leave to appeal, or petition
for certiorari, review, reargument, stay, or rehearing has been filed and (i) such appeal, motion for leave to
appeal or petition for certiorari, review, reargument, stay, or rehearing has been resolved by the highest
court to which the order or judgment was appealed or from which leave to appeal, certiorari, review,
reargument, stay, or rehearing was sought and (ii) the time to appeal (in the event leave is granted) further
or seek leave to appeal, certiorari, further review, reargument, stay, or rehearing has expired and no such
appeal, motion for leave to appeal, or petition for certiorari, further review, reargument, stay, or rehearing
is pending; provided, that the possibility that a motion under Rule 60 of the Federal Rules of Civil
Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with respect to such order shall
not preclude such order from being a Final Order.

        103.   “First Day Pleadings” means any petition, motion, application, or proposed order filed at
the commencement of the Chapter 11 Cases that the Debtors determine are necessary or desirable to file
with the Bankruptcy Court.

        104.    “General Administrative Claim” means any Administrative Claim, other than a
Professional Fee Claim, a Claim for Restructuring Fees and Expenses (in accordance with the Transaction
Support Agreement or the DIP/Cash Collateral Orders, as applicable), a DIP Claim, or a Claim for fees and

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charges assessed against the Estates under chapter 123 of title 28 United States Code, 28 U.S.C.
§§ 1911-1930.

         105.     “General Unsecured Claim” means any Unsecured Claim including (a) Claims arising
from the rejection of unexpired leases or executory contracts (if any) and (b) Claims arising from any
litigation or other court, administrative, or regulatory proceeding, including damages or judgments entered
against, or settlement amounts owing by a Debtor in connection therewith.

         106.    “Governance Term Sheet” means the term sheet setting forth the preliminary material
terms in respect of the corporate governance of Reorganized Parent to be included in the Plan Supplement,
including all exhibits and schedules thereto, as it may be altered, amended, modified, or supplemented from
time to time in accordance with the terms of the Transaction Support Agreement.

       107.   “Governmental Unit” means a governmental unit as defined in section 101(27) of the
Bankruptcy Code.

        108.     “Holder” means an Entity holding a Claim or Interest, as applicable.

        109.   “Impaired” means, with respect to any Claim or Interest, a Claim or Interest that is
“impaired” within the meaning of section 1124 of the Bankruptcy Code.

         110.     “Indemnification Provisions” means each of the Debtors’ indemnification provisions in
effect as of the Petition Date, whether in the Debtors’ memoranda and articles of association, bylaws,
certificates of incorporation, other formation documents, board resolutions, management or indemnification
agreements, employment contracts, or otherwise providing a basis for any obligation of a Debtor to
indemnify, defend, reimburse, or limit the liability of, or to advance fees and expenses to, any of the
Debtors’ current and former directors, officers, equity holders, managers, members, employees,
accountants, investment bankers, attorneys, and other professionals of the Debtors, and each of the
foregoing solely in their capacity as such.

        111.     “Independent Director Fee Claims” means, as of the Effective Date, all reasonable and
documented unpaid fees and expenses due to the independent directors of the Debtors pursuant to their
respective director agreements with the applicable Debtor Entity.

        112.     “Insurance Contracts” means (a) any and all insurance policies issued at any time to, or
that otherwise may provide or may have provided coverage to, any of the Debtors, regardless of whether
the insurance policies were issued to a Debtor or to a Debtor’s prior Affiliates, subsidiaries, or parents or
otherwise, or to any of their predecessors, successors, or assigns, (b) any and all agreements, documents,
surety bonds, or other instruments relating thereto, including any and all agreements with a third party
administrator for claims handling, risk control or related services, any and all D&O Insurance Policies, and
any and all Workers’ Compensation Contracts, and (c) any and all collateral documents and security
agreements securing the Debtor’s obligations under the insurance policies, including, without limitation,
escrow accounts, deposit accounts, cash collateral, and letters of credit. For the avoidance of doubt,
Insurance Contracts include any insurance policies issued at any time to the Debtors’ prior Affiliates,
subsidiaries, and parents or otherwise, or to any of their predecessors, successors, or assigns, under which
Debtors had, have, or may have any rights solely to the extent of the Debtors’ rights thereunder.

       113.     “Insurer” means any company or other Entity that issued or entered into an Insurance
Contract (including any third party administrator) and any respective predecessors and/or Affiliates thereof.



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         114.    “Intercompany Claim” means a prepetition Claim held by a Debtor or Non-Debtor
Affiliate against a Debtor.

         115.    “Intercompany Interest” means any issued, unissued, authorized, or outstanding shares of
common stock, preferred stock, or other instrument evidencing an ownership interest in any Debtor other
than the Parent, whether or not transferable, together with any warrants, equity-based awards, or contractual
rights to purchase or acquire such equity interests at any time and all rights arising with respect thereto that
existed immediately before the Effective Date.

         116.     “Interests” means, collectively, the shares (or any class thereof), common stock, preferred
stock, limited liability company interests, membership interests, and any other equity, ownership, or profits
interests in any Debtor, and options, warrants, rights, stock appreciation rights, phantom units, incentives,
commitments, calls, redemption rights, repurchase rights, or other securities or arrangements to acquire or
subscribe for, or which are convertible into, or exercisable or exchangeable for, the shares (or any class
thereof) of, common stock, preferred stock, limited liability company interests, membership interests, or
any other equity, ownership, or profits interests in any Debtor or its Affiliates and subsidiaries (in each case
whether or not arising under or in connection with any employment agreement).

         117.    “Interim DIP/Cash Collateral Order” means any order (and all exhibit and schedules
thereto, including any budget) entered by the Bankruptcy Court on an interim basis: (a) approving the DIP
Facility, the DIP Facility Documents, and the DIP/Cash Collateral Motion; (b) authorizing the Debtors’ use
of Cash Collateral; and (c) providing for adequate protection of secured creditors.

         118.   “Joinder” means a joinder to the Transaction Support Agreement, substantially in the form
attached as Exhibits C, D, E, F, or G thereto, providing, among other things, that such Person signatory
thereto is bound by the terms of the Transaction Support Agreement to the extent provided therein.

        119.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        120.   “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware.

       121.    “Management Incentive Plan” means the management incentive plan to be adopted by the
Reorganized Board on or around the Effective Date, which shall provide for the issuance to management,
key employees, and/or directors of the Reorganized Debtors of the fully diluted New Equity Interests.

         122.     “New Equity Interests” means the outstanding equity interests in Reorganized Parent to be
authorized, issued, or reserved on the Effective Date, which interests may be membership interests of a
limited liability company or common equity interests of a corporation.

        123.    “New Organizational Documents” means the new Organizational Documents of
Reorganized Parent and its direct or indirect subsidiaries, and the identity of proposed members of
Reorganized Parent’s board of directors, after giving effect to the Restructuring Transactions, as applicable,
including any shareholders agreement, registration rights agreement, or similar document.

        124.    “New Stockholders Agreement” means, to the extent applicable, the stockholders
agreement applicable to the New Equity Interests, which shall be consistent with the Governance Term
Sheet included as part of the Plan Supplement.

       125.      “Non-Debtor Affiliates” means all of the Affiliates of the Debtors, other than the other
Debtors.

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         126.    “Notice and Claims Agent” means Kroll Restructuring Administration LLC, in its capacity
as noticing, claims, and solicitation agent for the Debtors, pursuant to an order of the Bankruptcy Court.

         127.     “Organizational Documents” means, with respect to any Person other than a natural
person, the documents by which such Person was organized or formed (such as a certificate of
incorporation, certificate of formation, certificate of limited partnership, or articles of organization, and
including any certificates of designation for preferred stock or other forms of preferred equity) or which
relate to the internal governance of such Person (such as by-laws, a partnership agreement, or an operating,
limited liability company, shareholders, or members agreement).

        128.    “Other Priority Claim” means any Claim accorded priority in right of payment under
section 507(a) of the Bankruptcy Code, other than: (a) Administrative Claims or (b) Priority Tax Claims.

        129.   “Other Secured Claim” means any Secured Claim other than the ABL Claims, FILO
Claims, and Term Loan Claims.

       130.   “Parent” means JOANN Inc., a Delaware corporation with a mailing address of 5555
Darrow Road, Hudson, OH 44236.

        131.     “Person” means a person as defined in section 101(41) of the Bankruptcy Code.

         132.    “Petition Date” means the date on which the Debtors filed their voluntary chapter 11
petitions, which was March 18, 2024.

        133.   “Plan” means this prepackaged joint plan of reorganization under chapter 11 of the
Bankruptcy Code, as it may be altered, amended, modified, or supplemented from time to time in
accordance with the Bankruptcy Code, the Bankruptcy Rules, or the terms hereof, as the case may be, and
the Plan Supplement, which is incorporated herein by reference, including all exhibits and schedules hereto
and thereto.

        134.     “Plan Supplement” means one or more supplemental appendices to this Plan, which shall
include, among other things, draft forms of documents (or terms sheets thereof), schedules, and exhibits to
this Plan, in each case subject to the provisions of the Transaction Support Agreement, the Transaction
Term Sheet, or the Exit ABL/FILO Exit Commitment Letters, as applicable, and as may be amended,
modified, or supplemented from time to time on or before the Effective Date, including the following
documents: (a) the New Organizational Documents, (b) the Exit Facilities Documents, (c) to the extent
known and determined, the identity of the members of the Reorganized Board, (d) the Rejected Executory
Contract/Unexpired Lease List, (e) a schedule of retained Causes of Action, (f) the New Stockholders
Agreement (to the extent applicable); (g) the Governance Term Sheet; (h) the Restructuring Transaction
Steps Memorandum; and (i) such other documents as may be specified in this Plan.

        135.    “Plan Supplement Filing Date” means the date on which the Plan Supplement is Filed
with the Bankruptcy Court, which shall be at least five (5) Business Days before the deadline to File
objections to Confirmation.

      136.       “Prepetition Agents” means the ABL Facility Agent, FILO Term Loan Agent, and Term
Loan Agent.

       137.     “Prepetition Intercreditor Agreements” means the Existing Intercreditor Agreement and
the FILO Intercreditor Agreement.


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        138.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

        139.     “Professional Fee Claim” means a Claim by a Retained Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred
through and including the Effective Date under sections 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or
503(b)(5) of the Bankruptcy Code (subject to any applicable agreements by such Retained Professional
with respect thereto).

        140.   “Professional Fee Escrow Account” means a segregated interest-bearing account funded
by the Debtors with Cash no later than two (2) Business Days before the anticipated Effective Date in an
amount equal to the Professional Fee Escrow Amount.

        141.    “Professional Fee Escrow Amount” means the aggregate amount of Professional Fee
Claims and other unpaid fees and expenses the Retained Professionals have incurred or shall incur in
rendering services in connection with the Chapter 11 Cases before and as of the Effective Date, which shall
be estimated pursuant to the method set forth in Article II.A.2.

        142.     “Proof of Claim” means a proof of Claim Filed against any Debtor in the Chapter 11 Cases.

         143.    “Pro Rata Share” means, with respect to any distribution on account of an Allowed Claim,
a distribution equal in amount to the ratio (expressed as a percentage) that the amount of such Allowed
Claim bears to the aggregate amount of all Allowed Claims in its Class.

         144.    “Reinstatement” means, with respect to Claims and Interests, that the Claim or Interest
shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstated” shall
have a correlative meaning.

         145.   “Rejected Executory Contract/Unexpired Lease List” means the list of Executory
Contracts and/or Unexpired Leases (including any amendments or modifications thereto), if any, that shall
be rejected pursuant to this Plan, which shall be filed with the Plan Supplement.

         146.    “Related Parties” means, with respect to an Entity, each of, and in each case in its capacity
as such, such Entity’s current and former Affiliates, and such Entity’s and such Affiliates’ current and
former members, directors, managers, officers, proxyholders, control persons, investment committee
members, special committee members, members of any governing body, equity holders (regardless of
whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles,
managed accounts or funds (including any beneficial holders for the account of whom such funds are
managed), predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited partners,
general partners, principals, members, management companies, fund advisors or managers, employees,
agents, trustees, advisory board members, financial advisors, attorneys (including any other attorneys or
professionals retained by any current or former director or manager in his or her capacity as director or
manager of an Entity), accountants, investment bankers, consultants, representatives, investment managers,
and other professionals and advisors, each in their capacity as such, and any such person’s or Entity’s
respective heirs, executors, estates, and nominees.

        147.   “Release Opt-Out Form” means the form to be provided to certain Holders of Claims
through which such Holders may elect to affirmatively opt out of the Third-Party Release.

        148.    “Released Party” means, collectively, each of, and in each case in its capacity as such:
(a) each Debtor; (b) each Reorganized Debtor; (c) each Non-Debtor Affiliate; (d) each of the Debtors’ and

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Non-Debtor Affiliates’ current and former directors, officers, and proxyholders; (e) each Consenting
Stakeholder; (f) each Prepetition Agent; (g) each ABL Lender; (h) each FILO Lender; (i) the DIP Agent;
(j) each DIP Lender; (k) each Exit Facility Agent; (l) each lender under the Exit Facilities; (m) each
Additional Financing Party; (n) each Releasing Party; and (o) each Related Party of each Entity in clauses
(a) through (m); provided, that, in each case, an Entity shall not be a Released Party if it (i) elects to opt out
of the Third-Party Release as provided on its respective Release Opt-Out Form or (ii) timely Files with the
Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the Third-Party Release that is not
resolved before Confirmation; provided, further, that, for the avoidance of doubt, any opt-out election made
by a Consenting Stakeholder or an Additional Financing Party shall be void ab initio.

         149.    “Releases” means, collectively, the Debtor Release and the Third-Party Release as set forth
in Article IX.

          150.     “Releasing Parties” means, collectively, each of, and in each case in its capacity as
such: (a) each Non-Debtor Affiliate; (b) each of the Debtors’ and Non-Debtor Affiliates’ current and former
directors, officers, and proxyholders; (c) each Consenting Stakeholder; (d) each Prepetition Agent; (e) each
ABL Lender; (f) each FILO Lender; (g) the DIP Agent; (h) each DIP Lender; (i) each Exit Facility Agent;
(j) each lender under the Exit Facilities; (k) each Additional Financing Party; (l) each Holder of a Claim
that is Unimpaired under this Plan that does not elect to opt out of the Releases contained in this Plan;
(m) each Holder of a Claim that is entitled to vote on this Plan and either (i) votes to accept this Plan,
(ii) abstains from voting on this Plan and does not elect to opt out of the Releases contained in this Plan, or
(iii) votes to reject this Plan and does not elect to opt out of the Releases contained in this Plan; and (n) each
Related Party of each Entity in clauses (a) through (m), but solely to the extent such Related Party would
be obligated to grant a release under principles of agency if it were so directed by the Entity in the foregoing
clauses (a) through (m) to whom they are related; provided, that, for the avoidance of doubt, any opt-out
election made by a Consenting Stakeholder or an Additional Financing Party shall be void ab initio.

       151.    “Reorganized Board” means the initial board of directors or similar governing body of the
Reorganized Parent.

       152.     “Reorganized Debtors” means, on or after the Effective Date, the Debtors, as reorganized
pursuant to and under this Plan, or any successor thereto.

       153.     “Reorganized Parent” means, on or after the Effective Date, Parent as reorganized
pursuant to and under this Plan.

         154.     “Representatives” means, with respect to any Person, such Person’s Affiliates and its and
their directors, officers, members, partners, managers, employees, agents, investment bankers, attorneys,
accountants, advisors, investment advisors, investors, managed accounts or funds, management companies,
fund advisors, advisory board members, professionals, and other representatives, in each case, solely in
their capacities as such.

       155.   “Required Consenting Stakeholders” means, as of any time, the Required Consenting
Term Lenders and the Required Consenting Stockholder Parties at such time.

        156.    “Required Consenting Stockholder Parties” means, as of any time, Consenting
Stockholder Parties holding at least fifty and one hundredth percent (50.01%) of the aggregate issued and
outstanding Existing Equity Interests that are held by Consenting Stockholder Parties at such time.




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        157.    “Required Consenting Term Lenders” means, as of any time, Consenting Term Lenders
holding at least fifty and one hundredth percent (50.01%) of the Term Loan Claims that are held by
Consenting Term Lenders at such time.

         158.     “Required DIP Lenders” means, as of any time, DIP Lenders holding at least fifty and one
hundredth percent (50.01%) of the aggregate outstanding principal amount and commitments of the DIP
Facility at such time.

         159.    “Restructuring Fees and Expenses” means all reasonable and documented fees and
expenses of the (a) Agents; (b) ABL Facility Agent Advisors; (c) FILO Term Loan Advisors; (d) Term
Loan Agent Advisors; (e) DIP Agent Advisors; (f) Exit Term Loan Agent Advisors; (g) Ad Hoc Group
Advisors; (h) Consenting Stockholder Party Advisors; and (i) advisors to the Additional Financing Parties,
in each case, payable in accordance with the terms hereof, the applicable engagement and/or fee letters with
the Debtors, the Transaction Support Agreement, the DIP Facility Documents, the Term Loan Documents,
the ABL Credit Agreement, the ABL/FILO Exit Facility Commitment Letters, and the Interim DIP/Cash
Collateral Order, as applicable, and subject to any order of the Bankruptcy Court and any other applicable
agreements by such party with respect thereto.

       160.     “Restructuring Transaction Steps Memorandum” means the document setting forth the
sequence of certain Restructuring Transactions.

        161.     “Restructuring Transactions” means the transactions described in Article IV.B.

        162.   “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant
to a Final Order in accordance with sections 327 and/or 1103 of the Bankruptcy Code and to be
compensated for services rendered before the Effective Date, pursuant to sections 327, 328, 329, 330, or
331 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been allowed by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

        163.     “SEC” means the United States Securities and Exchange Commission.

         164.    “Secured Claim” means a Claim: (a) secured by a Lien on property in which the Estate
has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the
extent of the value of the creditor’s interest in the Estate’s interest in such property or to the extent of the
amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code
or (b) otherwise Allowed pursuant to this Plan or order of the Bankruptcy Court as a secured claim.

        165.    “Securities” means any instruments that qualify as a “security” under Section 2(a)(1) of
the Securities Act.

        166.    “Securities Act” means the Securities Act of 1933, as now in effect or hereafter amended,
or any regulations promulgated thereunder.

       167.     “Solicitation Materials” means any documents, forms, ballots, notices, and other materials
provided in connection with the solicitation of votes on this Plan pursuant to sections 1125 and 1126 of the
Bankruptcy Code.

         168.    “Solicitation Procedures Motion” means the Motion of Debtors for Entry of Order
(I) Scheduling Combined Hearing to Consider (A) Approval of Disclosure Statement, (B) Approval of
Solicitation Procedures and Forms of Ballots, and (C) Confirmation of Plan; (II) Establishing an Objection

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Deadline to Object to Disclosure Statement and Plan; (III) Approving the Form and Manner of Notice of
Combined Hearing, Objection Deadline, and Notice of Commencement; (IV) Approving Notice and
Objection Procedures for the Assumption or Rejection of Executory Contracts and Unexpired Leases;
(V) Conditionally Waiving Requirement of Filing Schedules of Assets and Liabilities, Statements of
Financial Affairs, and 2015.3 Reports; (VI) Conditionally Waiving Requirement to Convene the Section
341 Meeting of Creditors; and (VII) Granting Related Relief to be filed on the Petition Date.

         169.    “Solicitation Procedures Order” means an order of the Bankruptcy Court granting the
relief requested in the Solicitation Procedures Motion.

        170.    “Subordinated Claim” means any Claim against the Debtors that is subject to
subordination under section 509(c), section 510(b), or section 510(c) of the Bankruptcy Code, including
any Claim for reimbursement, indemnification, or contribution (except indemnification or reimbursement
Claims assumed hereunder).

         171.    “Supporting Trade Creditor Fee” means, in exchange for the Supporting Trade Creditors’
agreement to participate in the DIP Facility, each Supporting Trade Creditor shall receive its Pro Rata Share
of a fee equal to twelve and one half percent (12.5%) of the New Equity Interests (subject to dilution only
by the Management Incentive Plan). The Supporting Trade Creditor Fee shall be earned on the date of
entry of the Final DIP/Cash Collateral Order and thereafter constitute DIP Claims.

        172.    “Supporting Trade Creditors” means, collectively, the Holders of General Unsecured
Claims that have executed Joinders.

        173.    “Term Loan Agent” means Wilmington Savings Fund Society, FSB, in its capacity as
administrative agent and collateral agent under the Term Loan Credit Agreement and any replacement or
successor agent thereto.

        174.     “Term Loan Agent Advisors” means ArentFox Schiff LLP and such other professional
advisors as are retained by the Term Loan Agent with the consent of the Debtors (not to be unreasonably
withheld).

      175.       “Term Loan Claims” means Claims arising under or related to the Term Loan Credit
Agreement.

        176.    “Term Loan Credit Agreement” means that certain Credit Agreement, dated as of October
21, 2016, as amended by that certain Incremental Amendment No. 1 on July 21, 2017 and that certain
Amendment No. 2 on July 7, 2021, as amended, restated, amended and restated, modified, or supplemented
from time to time in accordance with the terms thereof.

         177.   “Term Loan Documents” means the Term Loan Credit Agreement together with all other
related documents, instruments, and agreements in respect of the Term Loans, in each case, as amended,
restated, amended and restated, modified, or supplemented from time to time in accordance with the terms
thereof.

       178.    “Term Loans” means the senior secured first-lien term loans issued pursuant to the Term
Loan Credit Agreement.

         179.    “Third-Party Release” means the releases given by the Releasing Parties to the Released
Parties in Article IX.C.


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        180.    “Transaction Support Agreement” means that certain Transaction Support Agreement
entered into on March 15, 2024, among the Debtors and certain of the Consenting Stakeholders and any
exhibits, schedules, attachments, or appendices thereto (in each case, as such may be amended, modified,
or supplemented in accordance with its terms).

       181.   “Transaction Term Sheet” means the term sheet attached as Exhibit B to the Transaction
Support Agreement, together with the exhibits and appendices annexed thereto.

         182.    “Transfer Agreement” means the transfer agreement, substantially in the form attached as
Exhibit H to the Transaction Support Agreement, providing, among other things, that a transferee is bound
by the terms of the Transaction Support Agreement.

         183.   “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

        184.   “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

        185.     “United States” means the United States of America, its agencies, departments, or agents.

       186.      “United States Trustee” means the Office of the United States Trustee for the District of
Delaware.

        187.     “United States Trustee Statutory Fees” means all fees due under 28 U.S.C § 1930(a)(6).

        188.    “Unsecured Claim” means a claim that is not secured by a Lien on property in which one
of the Debtors’ Estates has an interest.

       189.   “Voting Class” means Class 2 (ABL Claims), Class 3 (FILO Claims), and Class 4 (Term
Loan Claims).

       190.    “Workers’ Compensation Contracts” means the Debtors’ written contracts, agreements,
agreements of indemnity, self-insured workers’ compensation bonds, policies, programs, and Plans for
workers’ compensation and workers’ compensation Insurance Contracts.

B.      Rules of Interpretation

        1.       For purposes herein: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless
otherwise specified, any reference herein to a contract, instrument, release, indenture, or other agreement
or document being in a particular form or on particular terms and conditions means that the referenced
document shall be substantially in that form or substantially on those terms and conditions; (c) unless
otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not
Filed, having been Filed, or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter
be amended, modified, or supplemented; (d) any reference to any Entity as a Holder of a Claim or Interest
includes that Entity’s successors and assigns; (e) unless otherwise specified, all references herein to
“Articles” are references to Articles of this Plan; (f) unless otherwise specified, the words “herein,”
“hereof,” and “hereto” refer to this Plan in its entirety rather than to a particular portion of this Plan;
(g) subject to the provisions of any contract, certificate of incorporation, by-law, instrument, release, or
other agreement or document created or entered into in connection with this Plan, the rights and obligations

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arising pursuant to this Plan shall be governed by, and construed and enforced in accordance with,
applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (h) unless otherwise
specified, the words “include” and “including,” and variations thereof, shall not be deemed to be terms of
limitation, and shall be deemed to be followed by the words “without limitation”; (i) references to
“shareholders,” “directors,” and/or “officers” shall also include “members” and/or “managers,” as
applicable, as such terms are defined under the applicable state limited liability company laws;
(j) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the like shall include
“Proofs of Interests,” “Holders of Interests,” “Disputed Interests,” and the like, as applicable; (k) captions
and headings to Articles and subdivisions thereof are inserted for convenience of reference only and are not
intended to be a part of or to affect the interpretation hereof; (l) unless otherwise specified, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; (m) any term used in capitalized
form herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules
shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case
may be; (n) unless otherwise specified, all references to statutes, regulations, orders, rules of courts, and
the like shall mean as in effect on the Effective Date and as applicable to the Chapter 11 Cases; (o) any
effectuating provisions may be interpreted by the Reorganized Debtors in such a manner that is consistent
with the overall purpose and intent of this Plan all without further notice to or action, order, or approval of
the Bankruptcy Court or any other Entity, and such interpretation shall control; (p) references to docket
numbers are references to the docket numbers of documents Filed in the Chapter 11 Cases under the
Bankruptcy Court’s CM/ECF system; and (q) all references herein to consent, acceptance, or approval may
be conveyed by counsel for the respective parties that have such consent, acceptance, or approval rights,
including by electronic mail.

        2.       Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a transaction
may occur pursuant to this Plan shall occur on a day that is not a Business Day, then such transaction shall
instead occur on the next succeeding Business Day. Unless otherwise specified herein, any references to
the Effective Date shall mean the Effective Date or as soon as reasonably practicable thereafter.

        3.     All references in this Plan to monetary figures refer to currency of the United States, unless
otherwise expressly provided.

        4.       Except as otherwise specifically provided in this Plan to the contrary, references in this
Plan to the Debtors or to the Reorganized Debtors mean the Debtors and the Reorganized Debtors, as
applicable, to the extent the context requires.

C.      Consent Rights

        Notwithstanding anything to the contrary in this Plan, the Combined Order, or the Disclosure
Statement, any and all consent, consultation, and approval rights set forth in the Transaction Support
Agreement and the ABL/FILO Exit Commitment Letters, including rights and limitations with respect to
the form and substance of any Definitive Document (including any amendments, restatements,
supplements, or other modifications to such documents, and any consents, waivers, or other deviations
under or from any such documents) shall be incorporated herein by this reference (including to the
applicable definitions in Article I.A) and fully enforceable as if stated in full herein.




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                                 Article II.
               ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS,
     OTHER PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority
Tax Claims, and Other Priority Claims have not been classified and thus are excluded from the Classes of
Claims and Interests set forth in Article III.

A.      Administrative Claims

        1.       General Administrative Claims

         Subject to the provisions of sections 328, 330(a), and 331 of the Bankruptcy Code, except to the
extent that a Holder of an Allowed General Administrative Claim and the applicable Debtor(s) or
Reorganized Debtor(s), as applicable, agree to less favorable treatment with respect to such Allowed
General Administrative Claim, each Holder of an Allowed General Administrative Claim shall receive, in
full and final satisfaction of its General Administrative Claim, an amount in Cash equal to the unpaid
amount of such Allowed General Administrative Claim in accordance with the following: (a) if such
General Administrative Claim is Allowed on or before the Effective Date, on the Effective Date or as soon
as reasonably practicable thereafter or, if not then due, when such Allowed General Administrative Claim
is due or as soon as reasonably practicable thereafter; (b) if such General Administrative Claim is Allowed
after the Effective Date, on the date such General Administrative Claim is Allowed or as soon as reasonably
practicable thereafter or, if not then due, when such Allowed General Administrative Claim is due or as
soon as reasonably practicable thereafter; (c) at such time and upon such terms as may be agreed upon by
such Holder and the Debtors or the Reorganized Debtors, as the case may be; or (d) at such time and upon
such terms as set forth in an order of the Bankruptcy Court; provided, that Allowed General Administrative
Claims that arise in the ordinary course of the Debtors’ businesses during the Chapter 11 Cases shall be
paid by such applicable Debtor or Reorganized Debtor in full in Cash in the ordinary course of business in
accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice without further notice to or order of the Bankruptcy Court. Nothing in the
foregoing or otherwise in this Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and
defenses regarding any asserted General Administrative Claim.

        2.       Professional Fee Claims

                 a.      Professional Fee Applications

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement
of expenses incurred before the Effective Date must be Filed no later than thirty (30) days after the Effective
Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after
notice and a hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy
Rules, and prior Bankruptcy Court orders. Subject to any applicable agreements by the Retained
Professionals with respect to Professional Fee Claims, the Reorganized Debtors shall pay Professional Fee
Claims owing to the Retained Professionals in Cash in the amount the Bankruptcy Court Allows from funds
held in the Professional Fee Escrow Account, as soon as reasonably practicable after such Professional Fee
Claims are Allowed by entry of an order of the Bankruptcy Court; provided, that the Debtors’ and the
Reorganized Debtors’ obligations to pay Allowed Professional Fee Claims shall not be limited or deemed
limited to funds held in the Professional Fee Escrow Account. To the extent that funds held in the
Professional Fee Escrow Account are insufficient to satisfy the Allowed amount of Professional Fee Claims
owing to the Retained Professionals, the Reorganized Debtors shall pay such amounts within ten (10)
Business Days of entry of the order approving such Professional Fee Claims.


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                 b.      Professional Fee Escrow Account

        The Professional Fee Escrow Account shall be maintained in trust solely for the Retained
Professionals and for no other Entities until all Professional Fee Claims Allowed by the Bankruptcy Court
have been irrevocably paid in full in Cash pursuant to one or more Final Orders of the Bankruptcy Court.
No Liens, claims, or interests shall encumber the Professional Fee Escrow Account or Cash held in the
Professional Fee Escrow Account in any way. No funds held in the Professional Fee Escrow Account shall
be property of the Estates of the Debtors or the Reorganized Debtors. When all Professional Fee Claims
Allowed by the Bankruptcy Court have been irrevocably paid in full in Cash pursuant to one or more Final
Orders of the Bankruptcy Court, any remaining funds held in the Professional Fee Escrow Account shall
be remitted to the Reorganized Debtors without any further notice to or action, order, or approval of the
Bankruptcy Court or any other Entity being required.

                 c.      Professional Fee Escrow Amount

         No later than five (5) days before the anticipated Effective Date, the Retained Professionals shall
deliver to the Debtors a reasonable and good-faith estimate of their unpaid fees and expenses incurred in
rendering services to the Debtors before and as of the Effective Date projected to be outstanding as of the
anticipated Effective Date. For the avoidance of doubt, no such estimate shall be considered or deemed an
admission or limitation with respect to the amount of the fees and expenses that are the subject of a Retained
Professional’s final request for payment of Professional Fee Claims Filed with the Bankruptcy Court, and
such Retained Professionals are not bound to any extent by the estimates. If a Retained Professional does
not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses of such
Retained Professional. The total aggregate amount so estimated to be outstanding as of the anticipated
Effective Date shall be utilized by the Debtors to determine the amount to be funded to the Professional
Fee Escrow Account; provided, that the Reorganized Debtors shall use Cash on hand to increase the amount
of the Professional Fee Escrow Account to the extent fee applications are Filed after the Effective Date in
excess of the amount held in the Professional Fee Escrow Account based on such estimates.

        For the avoidance of doubt, the terms of this Article II.A.2.c shall not apply to the parties entitled
to receive the Restructuring Fees and Expenses, which are authorized to be paid in accordance with the
Combined Order, this Plan, engagement and/or fee letters with the Debtors, the Transaction Support
Agreement, the DIP Facility Documents, and the ABL/FILO Exit Commitment Letters (as applicable).

B.      DIP Claims

         Except to the extent that a Holder of an Allowed DIP Claim and the Debtor(s) against which such
Allowed DIP Claim is asserted agree to a less favorable treatment, in exchange for full and final satisfaction,
settlement, release, and the discharge of each Allowed DIP Claim, each Holder of an Allowed DIP Claim
shall receive, on the Effective Date, its Pro Rata Share of: (1) the New Equity Interests equal to the amount
of the DIP Participation Fee or the Supporting Trade Creditor Fee; and (2) in respect of the DIP Term Loan
Claims, Exit Term Loans. All Holders of DIP Claims have consented to their treatment under this Plan
pursuant to the terms of the Transaction Support Agreement and the DIP Facility Documents.

C.      Priority Tax Claims

         Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor(s) against
which such Allowed Priority Tax Claim is asserted agree to a less favorable treatment, in exchange for full
and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax
Claim, each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set
forth in section 1129(a)(9)(C) of the Bankruptcy Code. Nothing in the foregoing or otherwise in this Plan


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shall prejudice the Debtors’ or the Reorganized Debtors’ rights and defenses regarding any asserted Priority
Tax Claim.

D.      Other Priority Claims

         Except to the extent that a Holder of an Allowed Other Priority Claim and the Debtor(s) against
which such Allowed Other Priority Claim is asserted agree to a less favorable treatment, in exchange for
full and final satisfaction, settlement, release, and the discharge of each Allowed Other Priority Claim, each
Holder of an Allowed Other Priority Claim due and payable on or before the Effective Date shall receive,
as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Other Priority Claim; or (2) Cash in an amount agreed to by the
applicable Debtor or Reorganized Debtor, as applicable, and such Holder. To the extent any Allowed Other
Priority Claim is not due and owing on or before the Effective Date, such Claim shall be paid in full in Cash
in accordance with the terms of any agreement between the Debtors (or the Reorganized Debtors, as
applicable) and such Holder, or as may be due and payable under applicable non-bankruptcy law or in the
ordinary course of business. Nothing in the foregoing or otherwise in this Plan shall prejudice the Debtors’
or the Reorganized Debtors’ rights and defenses regarding any asserted Other Priority Claim.

E.      United States Trustee Statutory Fees

        The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee
Statutory Fees, consistent with Article XII.C, for each quarter (including any fraction thereof) until the
Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

F.      Restructuring Fees and Expenses

         The Restructuring Fees and Expenses incurred, or estimated to be incurred, up to and including the
Effective Date (or, with respect to necessary post-Effective Date activities, after the Effective Date), shall
be paid in full in Cash on the Effective Date in accordance with, and subject to, the terms of the Transaction
Support Agreement or the DIP/Cash Collateral Orders, as applicable, (unless otherwise provided in any
other order of the Bankruptcy Court), without any requirement to file a fee application with the Bankruptcy
Court or without any requirement for Bankruptcy Court or United States Trustee review or approval (unless
otherwise provided in any other order of the Bankruptcy Court), or without notice and a hearing pursuant
to section 1129(a)(4) of the Bankruptcy Code or otherwise. All Restructuring Fees and Expenses to be paid
on the Effective Date shall be estimated before and as of the Effective Date and such estimates shall be
delivered to the Debtors at least five (5) Business Days before the anticipated Effective Date; provided,
however, that such estimates shall not be considered an admission or limitation with respect to such
Restructuring Fees and Expenses. On the Effective Date, or as soon as practicable thereafter, final invoices
for all Restructuring Fees and Expenses incurred before and as of the Effective Date shall be submitted to
the Debtors. In addition, the Debtors and the Reorganized Debtors, as applicable, shall continue to pay,
when due and payable in the ordinary course, pre-Effective Date Restructuring Fees and Expenses related
to this Plan and the implementation, consummation, and defense of this Plan and the Restructuring
Transactions, incurred before the Effective Date, in accordance with any engagement and/or fee letters with
the Debtors, the Transaction Support Agreement, the DIP Facility Documents, and the ABL/FILO Exit
Commitment Letters (as applicable).

                                    Article III.
              CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification of Claims

         This Plan constitutes a separate chapter 11 Plan of reorganization for each Debtor. The provisions
of this Article III govern Claims against and Interests in the Debtors. Except for the Claims addressed in
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Article II (or as otherwise set forth herein), all Claims and Interests are placed in Classes for each of the
applicable Debtors. For all purposes under this Plan, each Class shall exist for each of the Debtors;
provided, that any Class that is vacant as to a particular Debtor shall be treated in accordance with
Article III.G. In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtors have not
classified Administrative Claims, Priority Tax Claims, and Other Priority Claims as described in Article II.

         The categories of Claims and Interests listed below classify Claims and Interests for all purposes,
including voting, Confirmation, and distribution pursuant hereto and pursuant to sections 1122 and
1123(a)(1) of the Bankruptcy Code. This Plan deems a Claim or Interest to be classified in a particular
Class only to the extent that the Claim or Interest qualifies within the description of that Class and shall be
deemed classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
within the description of such different Class. A Claim or an Interest is in a particular Class only to the
extent that any such Claim or Interest is Allowed in that Class and has not been paid or otherwise settled
before the Effective Date.

                      Summary of Classification and Treatment of Claims and Interests

             Class                   Claim                        Status           Voting Rights

              1        Other Secured Claims                     Unimpaired      Presumed to Accept

              2        ABL Claims                                Impaired         Entitled to Vote

              3        FILO Claims                               Impaired         Entitled to Vote

              4        Term Loan Claims                          Impaired         Entitled to Vote

              5        General Unsecured Claims                 Unimpaired      Presumed to Accept

              6        Subordinated Claims                       Impaired        Deemed to Reject

                                                                Impaired /      Deemed to Reject /
              7        Intercompany Claims
                                                                Unimpaired      Presumed to Accept

                                                                Impaired /      Deemed to Reject /
              8        Intercompany Interests
                                                                Unimpaired      Presumed to Accept

              9        Existing Equity Interests                 Impaired        Deemed to Reject

B.      Treatment of Claims and Interests

        1.        Class 1 — Other Secured Claims

                  a.       Classification: Class 1 consists of all Other Secured Claims.

                  b.       Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim
                           agrees to less favorable treatment, in exchange for full and final satisfaction,
                           settlement, release, and discharge of each Allowed Other Secured Claim, each
                           Holder of an Allowed Other Secured Claim, at the option of the applicable Debtor,
                           shall, on the Effective Date, (i) be paid in full in Cash including the payment of
                           any interest required to be paid under section 506(b) of the Bankruptcy Code,

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                        (ii) receive the collateral securing its Allowed Other Secured Claim, or (iii) receive
                        any other treatment that would render such Claim Unimpaired, in each case, as
                        determined by the Debtors with the consent of the Required DIP Lenders (not to
                        be unreasonably withheld).

                 c.     Voting: Class 1 is Unimpaired, and Holders of Other Secured Claims are
                        conclusively presumed to have accepted this Plan pursuant to section 1126(f) of
                        the Bankruptcy Code. Therefore, Holders of Other Secured Claims are not entitled
                        to vote to accept or reject this Plan. Holders of Other Secured Claims shall be
                        provided a Release Opt-Out Form solely for purposes of affirmatively opting out
                        of the Third-Party Release.

        2.       Class 2 — ABL Claims

                 a.     Classification: Class 2 consists of all ABL Claims.

                 b.     Allowance: ABL Claims shall be deemed Allowed in the aggregate principal
                        amount of $286,392,067.52, plus (i) any accrued but unpaid fees and interest in
                        respect thereof through and including the Effective Date, (ii) outstanding letters of
                        credit, (iii) amounts drawn under letters of credit, (iv) the amount of all other
                        “Revolving Obligations” (as defined in the ABL Credit Agreement), and (v) fees
                        and other expenses arising under or in connection with the ABL Facility (including
                        with respect to any fees, expenses or other amounts owed on account of the ABL
                        Facility pursuant to the DIP/Cash Collateral Orders).

                 c.     Treatment: Except to the extent that a Holder of an Allowed ABL Claim agrees to
                        less favorable treatment, on the Effective Date, either (i) in the event the Debtors
                        elect to refinance the ABL Claims (which election may be made only if the Debtors
                        are also refinancing the FILO Claims and with the consent of the Required DIP
                        Lenders), each Holder of an Allowed ABL Claim shall receive payment in full in
                        Cash on the Effective Date in the Allowed amount of such ABL Claim (including
                        the replacement or cash collateralization of all issued and undrawn letters of credit
                        in accordance with and in the amounts specified under the ABL Credit Agreement)
                        or (ii) in the event clause (i) is not applicable, (A) each Holder of an Allowed ABL
                        Claim shall receive its Pro Rata Share of refinanced loans under the Exit
                        ABL/FILO Facility Amendment in an amount equal to the principal amount of the
                        Allowed ABL Claims held by such Holder as of the Effective Date, (B) each
                        Holder of an Allowed ABL Claim shall receive Cash in an amount equal to the
                        accrued but unpaid interest payable to such Holder under the ABL Credit
                        Agreement as of the Effective Date, (C) Allowed ABL Claims consisting of letters
                        of credit shall be deemed to be letters of credit issued under the Exit ABL/FILO
                        Facility Amendment, (D) other Allowed ABL Claims shall be deemed to be
                        obligations of the same type under the Exit ABL Loans and Exit FILO Loans, and
                        (E) all Allowed ABL Claims shall continue to constitute obligations of the Debtors
                        on the Effective Date; provided that the treatment pursuant to this clause (ii) shall
                        apply only upon the Debtors’ satisfaction of the exit conditions enumerated in the
                        ABL/FILO Exit Commitment Letters.

                 d.     Voting: Class 2 is Impaired, and Holders of ABL Claims are entitled to vote to
                        accept or reject this Plan.



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        3.       Class 3 — FILO Claims

                 a.     Classification: Class 3 consists of all FILO Claims.

                 b.     Allowance: FILO Claims shall be deemed Allowed in the aggregate principal
                        amount of $115,749,863, inclusive of the FILO Prepayment Premium and the
                        unpaid portion of the Collateral Monitoring Fee (as defined in the FILO Fee Letter)
                        that was earned as of the Petition Date for the second year of the FILO Facility,
                        pursuant to the terms of the ABL Facility Documents, plus any accrued but unpaid
                        interest in respect thereof through and including the Effective Date and fees and
                        other expenses arising under or in connection with the FILO Term Loans
                        (including with respect to any fees, expenses or other amounts owed on account of
                        the FILO Term Loans pursuant to the DIP/Cash Collateral Orders).

                 c.     Treatment: Except to the extent that a Holder of an Allowed FILO Claim agrees
                        to less favorable treatment, on the Effective Date, either (i) in the event the Debtors
                        elect to refinance the FILO Claims (which election may be made only if the
                        Debtors are also refinancing the ABL Claims and with the consent of the Required
                        DIP Lenders), each Holder of an Allowed FILO Claim shall receive payment in
                        full in Cash on the Effective Date in the Allowed amount of such FILO Claim or
                        (ii) in the event clause (i) is not applicable, (A) each Holder of an Allowed FILO
                        Claim shall receive its Pro Rata Share of refinanced loans under the Exit
                        ABL/FILO Facility Amendment in an amount equal to the principal amount of the
                        Allowed FILO Claims held by such Holder as of the Effective Date, and (B) each
                        Holder of an Allowed FILO Claim shall receive Cash in an amount equal to the
                        accrued but unpaid interest payable to such Holder under the ABL Credit
                        Agreement as of the Effective Date; provided that the treatment pursuant to this
                        clause (ii) shall apply only upon the Debtors’ satisfaction of the exit conditions
                        enumerated in the ABL/FILO Exit Commitment Letters. The unpaid portion of
                        the Collateral Monitoring Fee that was earned as of the Petition Date for the second
                        year of the FILO Facility and the FILO Prepayment Premium shall be included in
                        the amount of FILO Claims outstanding as of the Petition Date; provided that, on
                        the Effective Date of an Acceptable ABL/FILO Plan pursuant to which the Debtors
                        enter into the Exit ABL/FILO Facility Amendment, (x) the amount of the FILO
                        Claims constituting the FILO Prepayment Premium shall be waived and (y) such
                        unpaid portion of the Collateral Monitoring Fee shall be deemed not to have been
                        capitalized to principal, and shall instead be due and payable on a monthly basis in
                        accordance with the FILO Fee Letter (as replaced or amended in connection with
                        the Exit ABL/FILO Facility Amendment), it being understood that any monthly
                        installment of such unpaid portion that would have been payable before the
                        Effective Date of such Acceptable ABL/FILO Plan shall be paid in Cash to the
                        FILO Term Loan Agent on such Effective Date.

                 d.     Voting: Class 3 is Impaired, and Holders of FILO Claims are entitled to vote to
                        accept or reject this Plan.

        4.       Class 4 — Term Loan Claims

                 a.     Classification: Class 4 consists of all Term Loan Claims.

                 b.     Allowance: Term Loan Claims shall be deemed Allowed in the aggregate principal
                        amount of $658,125,000.

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                 c.     Treatment: Except to the extent that a Holder of a Term Loan Claim agrees to less
                        favorable treatment, on the Effective Date, each Holder of an Allowed Term Loan
                        Claim shall receive, in full and final satisfaction, settlement, release, and discharge
                        and in exchange for each Allowed Term Loan Claim, its Pro Rata Share of the
                        New Equity Interests, subject to dilution by the Management Incentive Plan, the
                        DIP Participation Fee, and the New Equity Interests issued to certain Additional
                        Financing Parties.

                 d.     Voting: Class 4 is Impaired, and Holders of Term Loan Claims are entitled to vote
                        to accept or reject this Plan.

        5.       Class 5 — General Unsecured Claims

                 a.     Classification: Class 5 consists of all General Unsecured Claims.

                 b.     Treatment: Subject to Article V.C and except to the extent that a Holder of a
                        General Unsecured Claim agrees to less favorable treatment, in full and final
                        satisfaction, settlement, release, and discharge and in exchange for each Allowed
                        General Unsecured Claim, each Holder of an Allowed General Unsecured Claim
                        against a Debtor shall receive payment in full in Cash in accordance with
                        applicable law and the terms and conditions of the particular transaction giving rise
                        to, or the agreement that governs, such Allowed General Unsecured Claim on the
                        later of (i) the date due in the ordinary course of business or (ii) the Effective Date;
                        provided, however, that no Holder of an Allowed General Unsecured Claim shall
                        receive any distribution for any Claim that has previously been satisfied pursuant
                        to a Final Order of the Bankruptcy Court.

                 c.     Voting: Class 5 is Unimpaired, and Holders of General Unsecured Claims are
                        conclusively presumed to have accepted this Plan pursuant to section 1126(f) of
                        the Bankruptcy Code. Therefore, Holders of General Unsecured Claims are not
                        entitled to vote to accept or reject this Plan. Holders of General Unsecured Claims
                        shall be provided a Release Opt-Out Form solely for purposes of affirmatively
                        opting out of the Third-Party Release.

        6.       Class 6 — Subordinated Claims

                 a.     Classification: Class 6 consists of all Subordinated Claims.

                 b.     Treatment: Holders of Subordinated Claims shall receive no recovery or
                        distribution on account of such Subordinated Claims. Unless otherwise provided
                        for under this Plan, on the Effective Date, Subordinated Claims shall be canceled,
                        released, discharged, and extinguished.

                 c.     Voting: Class 6 is Impaired, and Holders of Subordinated Claims are deemed to
                        have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code.
                        Therefore, Holders of Subordinated Claims are not entitled to vote to accept or
                        reject this Plan.




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        7.       Class 7 — Intercompany Claims

                 a.      Classification: Class 7 consists of all Intercompany Claims.

                 b.      Treatment: No property shall be distributed to the Holders of Allowed
                         Intercompany Claims. Unless otherwise provided for under this Plan, on the
                         Effective Date, at the option of the applicable Debtor with the consent of the
                         Required DIP Lenders (not to be unreasonably withheld), Intercompany Claims
                         shall be either: (i) Reinstated; or (ii) set off, settled, distributed, contributed,
                         merged, canceled, or released.

                 c.      Voting: Class 7 is either (i) Unimpaired, in which case Holders of Allowed
                         Intercompany Claims are conclusively presumed to have accepted this Plan
                         pursuant to section 1126(f) of the Bankruptcy Code, or (ii) Impaired, and not
                         receiving any distribution under this Plan, in which case Holders of Allowed
                         Intercompany Claims are deemed to have rejected this Plan pursuant to section
                         1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Allowed
                         Intercompany Claims are not entitled to vote to accept or reject this Plan.

        8.       Class 8 — Intercompany Interests

                 a.      Classification: Class 8 consists of all Intercompany Interests.

                 b.      Treatment: No property shall be distributed to the Holders of Allowed
                         Intercompany Interests. Unless otherwise provided for under this Plan, on the
                         Effective Date, at the option of the applicable Debtor with the consent of the
                         Required DIP Lenders (not to be unreasonably withheld), Intercompany Interests
                         shall be either: (i) Reinstated; or (ii) set off, settled, distributed, contributed,
                         merged, canceled, or released.

                 c.      Voting: Class 8 is either (i) Unimpaired, in which case Holders of Allowed
                         Intercompany Interests are conclusively presumed to have accepted this Plan
                         pursuant to section 1126(f) of the Bankruptcy Code, or (ii) Impaired, and not
                         receiving any distribution under this Plan, in which case Holders of Allowed
                         Intercompany Interests are deemed to have rejected this Plan pursuant to section
                         1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Allowed
                         Intercompany Interests are not entitled to vote to accept or reject this Plan.

        9.       Class 9 — Existing Equity Interests

                 a.      Classification: Class 9 consists of all Existing Equity Interests.

                 b.      Treatment: Holders of Existing Equity Interests are not entitled to receive a
                         recovery or distribution on account of such Existing Equity Interests. On the
                         Effective Date, Existing Equity Interests shall be canceled, released, discharged,
                         and extinguished, and shall be of no further force or effect.

                 c.      Voting: Class 9 is Impaired, and Holders of Existing Equity Interests are deemed
                         to have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code.
                         Therefore, Holders of Existing Equity Interests are not entitled to vote to accept or
                         reject this Plan.



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C.      Acceptance or Rejection of this Plan

        1.       Presumed Acceptance of this Plan

        Claims in Classes 1 and 5 are Unimpaired under this Plan and their Holders are conclusively
presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
Holders of Claims in Classes 1 and 5 are not entitled to vote on this Plan and the votes of such Holders shall
not be solicited. Notwithstanding their non-voting status, Holders of such Claims shall receive a Release
Opt-Out Form solely for purposes of affirmatively opting out of the Third-Party Release.

        2.       Voting Classes

        Claims in Classes 2, 3, and 4 are Impaired under this Plan and the Holders of Allowed Claims in
such Classes are entitled to vote to accept or reject this Plan, including by acting through a voting
representative. For purposes of determining acceptance and rejection of this Plan, each such Class shall be
regarded as a separate Voting Class and votes shall be tabulated on a Debtor-by-Debtor basis.

         An Impaired Class of Claims shall have accepted this Plan if (a) the Holders, including Holders
acting through a voting representative, of at least two-thirds (2/3) in amount of Claims actually voting in
such Class have voted to accept this Plan and (b) the Holders, including Holders acting through a voting
representative, of more than one-half (1/2) in number of Claims actually voting in such Class have voted to
accept this Plan. Holders of Claims in Classes 2, 3, and 4 (or, if applicable, the voting representatives of
such Holders) shall receive ballots containing detailed voting instructions. For the avoidance of doubt, each
Claim in any Class entitled to vote to accept or reject this Plan that is not Allowed pursuant to this Plan,
and in each case, is wholly contingent, unliquidated, or disputed, in each case, shall be accorded one (1)
vote and valued at one dollar ($1.00) for voting purposes only, and not for purposes of allowance or
distribution.

        3.       Deemed Rejection of this Plan

         Claims and Interests in Class 6 and 9 are Impaired under this Plan and are deemed to have rejected
this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests
in Classes 6 and 9 are not entitled to vote on this Plan and the votes of such Holders shall not be solicited.

        4.       Presumed Acceptance of this Plan or Deemed Rejection of this Plan

         Claims and Interests in Classes 7 and 8 are either (a) Unimpaired and, therefore, conclusively
presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired
and shall receive no distributions under this Plan and, therefore, deemed to have rejected this Plan pursuant
to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in Classes 7 and 8
are not entitled to vote on this Plan and votes of such Holders shall not be solicited.

D.      Confirmation Pursuant to Section 1129(a)(10) and 1129(b) of the Bankruptcy Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of this Plan by an Impaired Class of Claims entitled to vote (i.e., any of Class 2, 3 or 4). The
Debtors shall seek Confirmation pursuant to section 1129(b) of the Bankruptcy Code with respect to any
rejecting Class of Claims or Interests. The Debtors reserve the right to modify this Plan in accordance with
Article XI to the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code
requires modification, including by modifying the treatment applicable to a Class of Claims or Interests to
render such Class of Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and
Bankruptcy Rules.


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E.      Subordinated Claims

         The allowance, classification, and treatment of all Allowed Claims and Interests, and the respective
distributions and treatments under this Plan, shall take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
sections 509 or 510 of the Bankruptcy Code, or otherwise; provided, that, notwithstanding the foregoing,
such Allowed Claims or Interests and their respective treatments set forth herein shall not be subject to
setoff, demand, recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery
asserted by any Person. Pursuant to section 510 of the Bankruptcy Code, except where otherwise provided
herein, the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance
with any contractual, legal, or equitable subordination rights relating thereto.

F.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided herein, nothing under this Plan shall affect or limit the Debtors’ or
the Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired
Claims, including, without limitation, all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

         Notwithstanding anything to the contrary in this Plan, the Plan Supplement, or the Combined Order,
until an Allowed Claim arising before the Effective Date in Classes 1 or 5 or which is an Administrative
Claim, Priority Tax Claim, or Other Priority Claim, has been (1) paid in full in accordance with applicable
law, or on terms agreed to between the Holder of such Claim and the Debtors or Reorganized Debtors, or
in accordance with the terms and conditions of the particular transaction giving rise to such Claim, or
otherwise satisfied in a manner that renders such Claim Unimpaired by this Plan or (2) otherwise satisfied
or disposed of as determined by a court of competent jurisdiction: (a) the provisions of Article IX.A, IX.B,
IX.C, and IX.E, but as to Article IX.B only to the extent that such provision releases Claims that could be
asserted derivatively by the Holder of such Claim, shall not apply or take effect with respect to such Claim,
(b) such Claim shall not be deemed settled, satisfied, resolved, released, discharged, barred, or enjoined,
(c) the property of each of the Debtors’ Estates that vests in the applicable Reorganized Debtor pursuant to
this Plan shall not be free and clear of such Claims, and (d) any Liens of Holders of such Claims shall not
be deemed released. Holders of such Claims shall not be required to file a Proof of Claim with the
Bankruptcy Court, except for Claims related to the rejection of Executory Contracts and Unexpired Leases
as set forth in Article V.C. Holders of such Claims, other than those holding Claims related to the rejection
of Executory Contracts and Unexpired Leases, shall not be subject to any Claims resolution process in the
Bankruptcy Court in connection with their Claims, and shall retain all their rights under applicable non-
bankruptcy law to pursue their Claims against the Debtors or the Reorganized Debtors or any other Entity
in any forum with jurisdiction over the parties. The Debtors and the Reorganized Debtors shall retain all
defenses, counterclaims, rights to setoff, and rights to recoupment as to such Claims. If the Debtors or the
Reorganized Debtors dispute any such Claim, such dispute shall be determined, resolved, or adjudicated in
the manner as if the Chapter 11 Cases had not been commenced, except with respect to Rejection Damages
Claims, which shall be determined, resolved or adjudicated as set forth in Article V.C.

G.      Vacant and Abstaining Classes

        Any Class of Claims or Interests that is not occupied as of the commencement of the Combined
Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under
Bankruptcy Rule 3018 shall be deemed eliminated from this Plan for purposes of voting to accept or reject
this Plan and for purposes of determining acceptance or rejection of this Plan by such Class pursuant to
section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class of Claims that is occupied as of the
commencement of the Combined Hearing by an Allowed Claim or a Claim temporarily Allowed under
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Bankruptcy Rule 3018, but as to which no vote is cast, shall be deemed to accept this Plan pursuant to
section 1129(a)(8) of the Bankruptcy Code.

H.      Controversy Concerning Impairment

        If a controversy arises as to whether any Claim or Interest (or any Class of Claims or Interests) are
Impaired under this Plan, the Bankruptcy Court shall, after notice and a hearing, determine such controversy
on or before the Confirmation Date, absent consensual resolution of such controversy consistent with the
Transaction Support Agreement among the Debtors and the complaining Entity or Entities.

I.      Intercompany Interests and Intercompany Claims

         To the extent Intercompany Interests and Intercompany Claims are Reinstated under this Plan,
distributions on account of such Intercompany Interests and Intercompany Claims are not being received
by Holders of such Intercompany Interests or Intercompany Interests on account of their Intercompany
Interests or Intercompany Claims, but for the purposes of administrative convenience and to maintain the
Debtors’ (and their Affiliates’) corporate structure, for the ultimate benefit of the Holders of New Equity
Interests, to preserve ordinary course intercompany operations, and in exchange for the Debtors’ and
Reorganized Debtors’ agreement under this Plan to make certain distributions to the Holders of Allowed
Claims.

                                        Article IV.
                         MEANS FOR IMPLEMENTATION OF THIS PLAN

A.      General Settlement of Claims and Interests

         In consideration for the classification, distributions, releases, and other benefits provided under this
Plan, on the Effective Date, the provisions of this Plan shall constitute a set of integrated, good-faith
compromises and settlements of all Claims, Interests, Causes of Action, and controversies resolved pursuant
to this Plan. Entry of the Combined Order shall constitute the Bankruptcy Court’s approval of such
compromises and settlements as well as a finding by the Bankruptcy Court that such integrated
compromises or settlements are in the best interests of the Debtors, the Estates, and Holders of Claims and
Interests, and are fair, equitable, and within the range of reasonableness. Subject to Article VI, distributions
made to Holders of Allowed Claims and Allowed Interests in any Class are intended to be and shall be final
and indefeasible and shall not be subject to avoidance, turnover, or recovery by any other
Person. Notwithstanding the foregoing or similar provisions of this Plan with respect to settlements, such
settlements are approved as among the parties to such settlement or similar agreements thereto, and the
treatment of all Claims and Interests is approved pursuant to Confirmation by satisfying the requirement of
section 1129 of the Bankruptcy Code.

B.      Restructuring Transactions

        Without limiting any rights and remedies of the Debtors or Reorganized Debtors under this Plan or
applicable law, but in all cases subject to the terms and conditions of the Transaction Support Agreement,
the Transaction Term Sheet, and Definitive Documents and any consents or approvals required thereunder,
the entry of the Combined Order shall constitute authorization for the Debtors and Reorganized Debtors,
as applicable, to take, or to cause to be taken, all actions necessary or appropriate to consummate and
implement the provisions of this Plan before, on, and after the Effective Date, including such actions as
may be necessary or appropriate to effectuate a corporate restructuring of their respective businesses and to
otherwise simplify the overall corporate structure of the Reorganized Debtors. Such restructuring may
include (1) the execution and delivery of appropriate agreements or other documents of merger,
consolidation, restructuring, disposition, liquidation, or dissolution containing terms that are consistent with

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the terms of this Plan, the Transaction Support Agreement, the Transaction Term Sheet, and the other
Definitive Documents and that satisfy the applicable requirements of applicable state law and such other
terms to which the applicable entities may agree; (2) the execution and delivery of appropriate instruments
of transfer, assignment, assumption, or delegation of any asset, property, right, liability, duty, or obligation
on terms consistent with the terms of this Plan, the Transaction Support Agreement, the Transaction Term
Sheet, and the other Definitive Documents and having such other terms to which the applicable Entities
may agree; (3) the filing of appropriate certificates or articles of merger, consolidation, or dissolution
pursuant to applicable state law; and (4) all other actions that the Debtors and/or the applicable Entities
determine to be necessary or appropriate, including making filings or recordings that may be required by
applicable state law or foreign law in connection with such transactions, but in all cases subject to the terms
and conditions of this Plan, the Transaction Support Agreement, the Transaction Term Sheet, and the other
Definitive Documents and any consents or approvals required thereunder.

        The Combined Order shall and shall be deemed to, pursuant to both section 1123 and section 363
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate the
Restructuring Transactions (including any other transaction described in, approved by, contemplated by, or
necessary to effectuate this Plan).

C.      Corporate Existence

        Except as otherwise provided in this Plan, each Debtor shall continue to exist after the Effective
Date as a separate corporate Entity, limited liability company, partnership, or other form, as the case may
be, with all the powers of a corporation, limited liability company, partnership, or other form, as the case
may be, pursuant to the applicable law in the jurisdiction in which each Debtor is incorporated or formed
and pursuant to the respective memorandum and articles of association, certificate of incorporation and
bylaws (or other formation documents) in effect before the Effective Date, except to the extent such
memorandum and articles of association, certificate of incorporation and bylaws (or other formation
documents) are amended by this Plan, by the Debtors, or otherwise, and to the extent such documents are
amended, such documents are deemed to be amended pursuant to this Plan and require no further action or
approval (other than any requisite filings required under applicable state, provincial, or federal law).

D.      Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims

         Except as otherwise expressly provided in this Plan or any agreement, instrument, or other
document incorporated herein pursuant to sections 1123(a)(5), 1123(b)(3), 1141(b) and (c), and other
applicable provisions of the Bankruptcy Code, on and after the Effective Date, all property in each Estate,
all Causes of Action, and any property acquired by any of the Debtors pursuant to this Plan shall vest in
each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances.
On and after the Effective Date, the Reorganized Debtors may (1) operate their respective businesses,
(2) use, acquire, and dispose of their respective property, and (3) compromise or settle any Claims,
Interests, or Causes of Action, in each case without notice to, supervision of, or approval by the Bankruptcy
Court and free and clear of any restrictions of the Bankruptcy Code or the Bankruptcy Rules, including for
the avoidance of doubt any restrictions on the use, acquisition, sale, lease, or disposal of property under
section 363 of the Bankruptcy Code.

E.      Cancellation of Existing Agreements and Existing Equity Interests

       On the Effective Date, except with respect to the Exit ABL Loans, the Exit FILO Loans, the Exit
ABL/FILO Facility Amendment, the ABL Credit Agreement (if amended and restated, refinanced, or
deemed to be reaffirmed in connection with the Exit ABL/FILO Facility Amendment), and the ABL Facility
Documents (including any pre-existing mortgage, deed of trust, Lien, pledge, or other security interest

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granted in connection therewith that shall be carried forward, continued, amended, or extended with respect
to the Reorganized Debtors’ assets, to secure the Exit ABL Loans and the Exit FILO Loans), or to the extent
otherwise provided in this Plan, the Combined Order, or any other Definitive Document, all notes, bonds,
indentures, certificates, securities, purchase rights, options, warrants, collateral agreements, subordination
agreements, or other instruments or documents directly or indirectly evidencing, creating, or relating to any
existing indebtedness or obligations of the Debtors or giving rise to any rights or obligations relating to
Claims against or Interests in the Debtors shall be deemed canceled and surrendered, and the obligations of
the Debtors or the Reorganized Debtors, as applicable, and any Non-Debtor Affiliates thereunder or in any
way related thereto shall be deemed satisfied in full, released, and discharged; provided, that,
notwithstanding such cancellation, satisfaction, release, and discharge, anything to the contrary contained
in this Plan or the Combined Order, Confirmation, or the occurrence of the Effective Date, any such
document or instrument that governs the rights, claims, or remedies of the Holder of a Claim or Interest
shall continue in effect solely for purposes of: (1) enabling the Holder of such Claim or Interest to receive
distributions on account of such Claim or Interest under this Plan as provided herein; (2) allowing and
preserving the rights of the Prepetition Agents, DIP Agent, and Exit Facility Agents, as applicable, to make
distributions as specified under this Plan on account of Allowed Claims, as applicable, including allowing
the Prepetition Agents, DIP Agent, and Exit Facility Agents, as applicable, to submit invoices for any
amount and enforce any obligation owed to them under this Plan to the extent authorized or allowed by the
applicable documents; (3) permitting the Reorganized Debtors and any other Distribution Agent, as
applicable, to make distributions on account of applicable Claims and Interests, as applicable;
(4) preserving the Prepetition Agents’, DIP Agent’s, and Exit Facility Agents’, as applicable, rights, if any,
to compensation and indemnification as against any money or property distributable to the Holders of ABL
Claims, FILO Claims, Term Loan Claims, and DIP Claims, as applicable, including permitting the
Prepetition Agents, DIP Agent, and Exit Facility Agents, as applicable, to maintain, enforce, and exercise
any priority of payment or charging liens against such distributions each pursuant and subject to the terms
of the ABL Credit Agreement, Term Loan Credit Agreement, and DIP Credit Agreement, as applicable, as
in effect on or immediately before the Effective Date, (5) preserving all rights, remedies, indemnities,
powers, and protections, including rights of enforcement, of the Prepetition Agents, DIP Agent, and Exit
Facility Agents, as applicable, against any person other than a Released Party (which Released Parties
include the Debtors, Reorganized Debtors, and Non-Debtor Affiliates), and any exculpations of the
Prepetition Agents, DIP Agent, and Exit Facility Agents, as applicable; provided, that the Prepetition
Agents, DIP Agent, and Exit Facility Agents, shall remain entitled to indemnification or contribution from
the Holders of ABL Claims, FILO Claims, Term Loan Claims, and DIP Claims, each pursuant and subject
to the terms of the ABL Credit Agreement, Term Loan Credit Agreement, and DIP Credit Agreement, as
applicable, as in effect on the Effective Date, (6) permitting the Prepetition Agents, DIP Agent, and Exit
Facility Agents, as applicable, to enforce any obligation (if any) owed to them under this Plan,
(7) permitting the Prepetition Agents, DIP Agent, and Exit Facility Agents to appear in the Chapter 11
Cases or in any proceeding in the Bankruptcy Court or any other court, and (8) permitting the Prepetition
Agents, DIP Agent, and Exit Facility Agents, to perform any functions that are necessary to effectuate the
foregoing; provided, however, that nothing in this Article IV.E shall affect the discharge of Claims or
Interests pursuant to the Bankruptcy Code, the Combined Order, or this Plan, or (except as set forth in (5)
above) the releases of the Released Parties pursuant to Article IX, or result in any expense or liability to the
Debtors or Reorganized Debtors, as applicable, except as expressly provided for in this Plan. For the
avoidance of doubt, nothing in this Article IV.E shall cause the Reorganized Debtors’ obligations under the
Exit Facilities Documents to be deemed satisfied in full, released, or discharged; provided, that
notwithstanding this sentence, the ABL Claims, FILO Claims, Term Loan Claims, and DIP Claims shall
be deemed satisfied in full, released, and discharged on the Effective Date. In furtherance of the foregoing,
as of the Effective Date, Holders of ABL Claims, FILO Claims, Term Loan Claims, and DIP Claims shall
be deemed to have released any such Claims against the Reorganized Debtors under the ABL Facility
Documents, Term Loan Documents, and DIP Facility Documents and are enjoined from pursuing any such


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claims against any of the Reorganized Debtors in respect of such ABL Claims, FILO Claims, Term Loan
Claims, and DIP Claims.

         On the Effective Date, the Prepetition Agents, the DIP Agent, and each of their respective directors,
officers, employees, agents, affiliates, controlling persons, and legal and financial advisors shall be
automatically and fully released and discharged from any further responsibility under the ABL Credit
Agreement, Term Loan Credit Agreement, and DIP Credit Agreement, as applicable. The Prepetition
Agents, DIP Agent, and each of their respective directors, officers, employees, agents, affiliates, controlling
persons, and legal and financial advisors shall be discharged and shall have no further obligation or liability
except as provided in this Plan and the Combined Order, and after the performance by the Prepetition
Agents, DIP Facility Agent, and their representatives and professionals of any obligations and duties
required under or related to this Plan or the Combined Order, the Prepetition Agents, DIP Agent, and each
of their respective directors, officers, employees, agents, affiliates, controlling persons, and legal and
financial advisors shall be relieved of and released from any obligations and duties arising thereunder. The
fees, expenses, and costs of the Prepetition Agents and the DIP Agent, including fees, expenses, and costs
of each of their respective professionals incurred after the Effective Date in connection with the ABL Credit
Agreement, Term Loan Credit Agreement, or DIP Credit Agreement, as applicable, and reasonable and
documented fees, costs, and expenses associated with effectuating distributions pursuant to this Plan,
including the fees and expenses of counsel, if any, shall be paid in accordance with the terms of this Plan
and the applicable Definitive Documents.

F.      Sources for Plan Distributions and Transfers of Funds Among Debtors

         The Debtors shall fund Cash distributions under this Plan with Cash on hand, including Cash from
operations, and the proceeds of the DIP Facility and Exit Facilities. Cash payments to be made pursuant to
this Plan shall be made by the Reorganized Debtors in accordance with Article VI. Subject to any applicable
limitations set forth in any post-Effective Date agreement (including the New Organizational Documents),
the Reorganized Debtors shall be entitled to transfer funds between and among themselves as they
determine to be necessary or appropriate to enable the Reorganized Debtors to satisfy their obligations
under this Plan. Except as set forth herein, any changes in intercompany account balances resulting from
such transfers shall be accounted for and settled in accordance with the Debtors’ historical intercompany
account settlement practices and shall not violate the terms of this Plan.

         From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations
set forth in any post-Effective Date agreement (including the New Organizational Documents and the Exit
Facilities Documents), shall have the right and authority without further order of the Bankruptcy Court to
raise additional capital and obtain additional financing in accordance with, and subject to, applicable law.

G.      Exit Facilities and Exit Facilities Documents

        To the extent required and subject to the occurrence of the Effective Date, Confirmation of this
Plan shall be deemed to constitute approval by the Bankruptcy Court of the Exit Facilities Documents
(including all transactions contemplated thereby, such as any supplementation or syndication of the Exit
Term Loans, and all actions to be taken, undertakings to be made, and obligations to be incurred by the
Reorganized Debtors in connection therewith, including the incurrence of Liens securing the Exit Facilities
and the payment of all fees, payments, indemnities, and expenses associated therewith) and, subject to the
occurrence of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and
perform their obligations under the Exit Facilities Documents and such other documents as may be
reasonably required or appropriate, subject to any consent or approval rights under the Definitive
Documents. On or around the Effective Date, the Reorganized Debtors shall execute and deliver the Exit
ABL/FILO Facility Amendment, the Exit Term Loan Credit Agreement, the Exit Intercreditor Agreement,
and any other Exit Facilities Document, and shall execute, deliver, file, record, and issue any other related

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notes, guarantees, security documents, instruments, or agreements in connection therewith, in each case,
without (a) further notice to the Bankruptcy Court, or (b) further act or action under applicable law,
regulation, order, or rule or the vote, consent, authorization, or approval of any Person or Entity. On the
Effective Date, the Exit Facilities shall be governed by the Exit Intercreditor Agreement.

         On the Effective Date, the Exit Facilities Documents shall constitute legal, valid, binding, and
authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms. The
financial accommodations to be extended pursuant to the Exit Facilities Documents are being extended,
and shall be deemed to have been extended, and all related payments made in connection therewith shall
have been made, in each case, in good faith, for legitimate business purposes, for reasonably equivalent
value, as an inducement to the applicable lenders to extend credit under the applicable Exit Facilities, are
reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever, and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other
applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted,
carried forward, continued, amended, extended, and/or reaffirmed (including in connection with any ABL
Claims and FILO Claims that are refinanced by the Exit ABL/FILO Facility Amendment) under the Exit
Facilities Documents shall: (1) be continuing, legal, binding, and enforceable Liens on, and security
interests in, the collateral granted in accordance with the terms of the applicable Exit Facilities Documents;
(2) be granted, carried forward, continued, amended, extended, reaffirmed, and deemed automatically
perfected on the Effective Date, subject only to such Liens and security interests as may be permitted
thereunder; and (3) not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any applicable
non-bankruptcy law. The Reorganized Debtors and the Entities granted such Liens and security interests
are authorized to make all filings and recordings, and to obtain all governmental approvals and consents
necessary to establish and perfect such Liens and security interests under the provisions of the applicable
state, provincial, federal, or other law (whether domestic or foreign) that would be applicable in the absence
of this Plan and the Combined Order (it being understood that perfection shall occur automatically by virtue
of the entry of the Combined Order, and any such filings, recordings, approvals, and consents shall not be
required), and shall thereafter cooperate to make all other filings and recordings that otherwise would be
necessary under applicable law to give notice of such Liens and security interests to third parties.

H.      Issuance of New Equity Interests and Deregistration

         On the Effective Date, Reorganized Parent shall issue or reserve for issuance all of the New Equity
Interests in accordance with the terms of this Plan and the New Organizational Documents. The issuance
of the New Equity Interests is authorized without the need for further corporate or other action or any
consent or approval of any national securities exchange upon which the New Equity Interests may be listed
on or immediately following the Effective Date. All of the New Equity Interests issuable under this Plan
and the Combined Order shall, when so issued be duly authorized, validly issued, fully paid, and non-
assessable.

         Reorganized Parent intends to exist and operate as a private company after the Effective Date. As
promptly as reasonably practicable following the Effective Date, Reorganized Parent expects to take all
necessary steps to terminate the registration of all Securities under the Exchange Act and Securities Act,
including to de-register its Existing Equity Interests, and to terminate its reporting obligations under
sections 12, 13, and 15(d) of the Exchange Act, including by (1) filing, or causing any applicable national
securities exchange to file, a Form 25 with the SEC under the Exchange Act, and (2) filing a Form 15 with
the SEC under the Exchange Act.



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        1.       Absence of Listing / Transfer of New Equity Interests

         On the Effective Date, the Reorganized Parent shall issue the New Equity Interests pursuant to this
Plan and the New Organizational Documents. Reorganized Parent shall not be obligated to effect or
maintain any listing of the New Equity Interests for trading on any national securities exchange (within the
meaning of the Exchange Act) and it has no current intention of maintaining or obtaining such listing.
Distributions of New Equity Interests are expected to be delivered via DTC; however, in the event the New
Equity Interests are not DTC eligible on the Effective Date, distributions shall be made by delivery or
book-entry transfer thereof by the Distribution Agent in accordance with this Plan and the New
Organizational Documents, rather than through the facilities of DTC. Upon the Effective Date, after giving
effect to the Restructuring Transactions, the New Equity Interests shall be that number of shares or
membership interests as may be designated in the New Organizational Documents.

        On and after the Effective Date, transfers of New Equity Interests shall be made in accordance with
applicable United States law, United States securities laws (as applicable), and the New Stockholders
Agreement (if applicable), including the payment of stamp duty tax and completion of registration with the
Distribution Agent.

        2.       New Stockholders Agreement

         On the Effective Date, to the extent applicable, the Reorganized Parent shall enter into the New
Stockholders Agreement with the Holders of the New Equity Interests, which shall become effective and
binding in accordance with its terms and conditions upon the parties thereto, in each case without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or
the vote, consent, authorization or approval of any Person or Entity (other than as expressly required by the
New Stockholders Agreement). On and as of the Effective Date, all of the Holders of New Equity Interests
shall be deemed to be parties to the New Stockholders Agreement (if applicable), without the need for
execution by such Holder.

        If applicable, the New Stockholders Agreement shall be binding on all Persons or Entities
receiving, and all Holders of, the New Equity Interests (and their respective successors and assigns),
whether such New Equity Interests is received or to be received on or after the Effective Date and regardless
of whether such Person or Entity executes or delivers a signature page to the New Stockholders Agreement.

I.      Exemption from Registration Requirements

         No registration statement shall be filed under the Securities Act, or pursuant to any state securities
laws, with respect to the offer and distribution of the New Equity Interests under this Plan. The offering,
sale, issuance, and distribution of the New Equity Interests in exchange for Claims pursuant to Article II
and Article III and pursuant to the Combined Order shall be exempt from, among other things, the
registration requirements of Section 5 of the Securities Act and any other applicable United States, state, or
local law requiring registration for the offer or sale of a security pursuant to section 1145 of the Bankruptcy
Code. Any and all such New Equity Interests may be resold without registration under the Securities Act
by the recipients thereof pursuant to the exemption provided by Section 4(a)(1) of the Securities Act, subject
to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code, which limits resale by Persons who
are “underwriters” as that term is defined in such section; (2) restrictions under the Securities Act applicable
to recipients who are an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the
Securities Act; (3) compliance with any applicable state or foreign securities laws, if any, and any rules and
regulations of the SEC, if any, applicable at the time of any future transfer of such Securities; (4) the
restrictions, if any, on the transferability of such Securities in the organizational documents of the issuer of,
or in agreements or instruments applicable to holders of, such Securities; and (5) any other applicable
regulatory approval.

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      The Reorganized Debtors need not provide any further evidence other than this Plan and the
Combined Order with respect to the treatment of the New Equity Interests under applicable securities laws.

         Notwithstanding anything to the contrary in this Plan, no Person or Entity (including, for the
avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding the validity of any
transaction contemplated by this Plan, including, for the avoidance of doubt, whether the New Equity
Interests are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and
depository services. All such Persons and Entities including DTC shall be required to accept and
conclusively rely upon this Plan or the Combined Order in lieu of a legal opinion regarding whether the
New Equity Interests are exempt from registration and/or eligible for DTC book-entry delivery, settlement,
and depository services. Notwithstanding any policies, practices, or procedures of DTC, DTC and any
participants and intermediaries shall fully cooperate and take all actions to facilitate any and all transactions
necessary or appropriate for implementation of this Plan or other contemplated thereby, including without
limitation any and all distributions pursuant to this Plan.

J.      New Organizational Documents

        Subject to Article IV.E, the Reorganized Debtors shall enter into such agreements and amend their
corporate governance documents to the extent necessary to implement the terms and provisions of this Plan.
Without limiting the generality of the foregoing, as of the Effective Date, each of the Reorganized Debtors
shall be governed by the New Organizational Documents applicable to it. From and after the Effective
Date, the organizational documents of each of the Reorganized Debtors shall comply with section
1123(a)(6) of the Bankruptcy Code, as applicable. On or immediately before the Effective Date, each
Reorganized Debtor shall file its New Organizational Documents, if any, with the applicable Secretary of
State and/or other applicable authorities in its jurisdiction of incorporation or formation in accordance with
applicable laws of its jurisdiction of incorporation or formation, to the extent required for such New
Organizational Documents to become effective.

K.      Release of Liens and Claims

         To the fullest extent provided under section 1141(c) and other applicable provisions of the
Bankruptcy Code, except as otherwise provided in the Exit ABL/FILO Facility Amendment (including with
respect to the ABL Facility, the FILO Facility, the ABL Loans, and the FILO Term Loans), this Plan, the
Combined Order, or in any contract, instrument, release, or other agreement or document entered into or
delivered in connection with this Plan, on the Effective Date and concurrently with the applicable
distributions made pursuant to Article VI, all Liens, Claims, mortgages, deeds of trust, or other security
interests against the assets or property of the Debtors or the Estates shall be fully released, canceled,
terminated, extinguished, and discharged, in each case without further notice to or order of the Bankruptcy
Court, act, or action under applicable law, regulation, order, or rule or the vote, consent, authorization, or
approval of any Person or Entity; provided, that (1) the Liens granted to the Prepetition Agents and the DIP
Agent pursuant to the ABL Credit Agreement, Term Loan Credit Agreement, and DIP Credit Agreement
and (2) any and all Liens or security securing the Debtor’s obligations under the Insurance Contracts, which,
for avoidance of doubt, includes grants of security interests in, without limitation, escrow accounts, deposit
accounts, cash collateral, and letters of credit issued for the benefit of insurers, shall remain in full force
and effect solely to the extent provided for in this Plan. The filing of the Combined Order with any federal,
state, or local agency or department shall constitute good and sufficient evidence of, but shall not be
required to effect, the termination of such Liens, Claims, and other interests to the extent provided in the
immediately preceding sentence. Any Person or Entity holding such Liens, Claims, or interests shall,
pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Reorganized Debtors
such instruments of termination, release, satisfaction, and/or assignment (in recordable form) as may be
reasonably requested by the Reorganized Debtors.


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L.      Exemption from Certain Taxes and Fees

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer (whether
from a Debtor to a Reorganized Debtor or to any other Person) of property under, pursuant to, in
contemplation of, or in connection with this Plan (including the Restructuring Transactions) pursuant to
(1) the issuance, distribution, transfer, or exchange of any debt, securities, or other interest in the Debtors
or the Reorganized Debtors, (2) the creation, modification, consolidation, termination, refinancing, or
recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means, (3) the making, assignment, or recording of any lease or sublease,
(4) the grant of collateral security for any or all of the Exit Facilities or other indebtedness, or (5) the
making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, this Plan, including any deeds, bills of sale, assignments, or other instrument of transfer
executed in connection with any transaction arising out of, contemplated by, or in any way related to this
Plan (including the Restructuring Transactions), shall not be subject to any document recording tax, stamp
tax, conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage recording
tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar
tax or governmental assessment, and the appropriate state or local governmental officials, agents, or filing
or recording officers (or any other Person with authority over any of the foregoing), wherever located and
by whomever appointed, shall comply with the requirements of section 1146(a) of the Bankruptcy Code,
and shall forego the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such tax, fee
or governmental assessment.

M.      Directors and Officers of the Reorganized Debtors

        1.       Reorganized Board

         Before the Effective Date, the Debtors shall undertake any necessary or advisable steps to have the
Reorganized Board in place immediately before the Effective Date. The occurrence of the Effective Date
shall serve as ratification of the appointment of the Reorganized Board.

         On the Effective Date, the terms of the current members of the Parent board of directors shall
expire, and the Reorganized Board shall include those members set forth in the list of directors or managing
members included in the Plan Supplement. Each independent director of the Debtors, in such capacity,
shall not have any of his/her respective privileged and confidential documents, communications, or
information transferred (or deemed transferred) to the Reorganized Debtors, Reorganized Parent, or any
other Entity without such director’s prior written consent.

         The Reorganized Board shall initially consist of five (5) members, comprising the Chief Executive
Officer of the Reorganized Debtors, three (3) directors to be selected by the DIP Backstop Parties, and one
(1) director to be selected by Project Swift LLC. Pursuant to section 1129(a)(5) of the Bankruptcy Code,
the Debtors shall disclose in advance of Confirmation, solely to the extent such Persons are known and
determined, the identity and affiliations of any Person proposed to serve on the Reorganized Board.

        The occurrence of the Effective Date shall have no effect on the composition of the board of
directors or managers of each of the subsidiary Debtors.

        2.       Senior Management

         The existing officers of the Debtors as of the Effective Date shall remain in their current capacities
as officers of the Reorganized Debtors, subject to their right to resign and the ordinary rights and powers
of the Reorganized Board to remove or replace them in accordance with the New Organizational Documents
and any applicable employment agreements that are assumed pursuant to this Plan.
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        3.       Management Incentive Plan

       After the Effective Date, the Reorganized Board shall adopt the Management Incentive Plan in
accordance with the Transaction Term Sheet.

N.      Preservation of Causes of Action

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases and
exculpation set forth in this section and in Article IX, all Causes of Action that a Debtor may hold against
any Entity shall vest in the applicable Reorganized Debtor on the Effective Date. Thereafter, the
Reorganized Debtors shall have the exclusive right, authority, and discretion to determine and to initiate,
file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such
Causes of Action, whether arising before or after the Petition Date, and to decline to do any of the foregoing
without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court. No Entity may rely on the absence of a specific reference in this Plan, the Plan
Supplement, or the Disclosure Statement to any specific Cause of Action as any indication that the
Debtors or the Reorganized Debtors shall not pursue any and all available Causes of Action. The
Debtors and the Reorganized Debtors expressly reserve all rights to prosecute any and all Causes of
Action against any Entity, except as otherwise expressly provided in this Plan, and, therefore, no
preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to any Cause of Action upon,
after, or as a consequence of the Confirmation or the occurrence of the Effective Date. In addition, the
Debtors and the Reorganized Debtors expressly reserve the right to pursue or adopt any claims alleged in
any lawsuit in which any of the Debtors are a plaintiff, defendant, or an interested party, against any Person
or Entity, including, without limitation, the plaintiffs or co-defendants in such lawsuits. For the avoidance
of doubt, in no instance shall any Cause of Action preserved pursuant to this Article IV.N include any Claim
or Cause of Action released or exculpated under this Plan (including, without limitation, by the Debtors).

O.      Corporate Action

         Each of the Debtors and the Reorganized Debtors may take any and all actions to execute, deliver,
File or record such contracts, instruments, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the provisions of
this Plan, and without further notice to or order of the Bankruptcy Court, any act or action under applicable
law, regulation, order, or rule or any requirement of further action, vote or other approval or authorization
by the security holders, officers, or directors of the Debtors or the Reorganized Debtors or by any other
Person (except for those expressly required pursuant hereto or by the Definitive Documents).

         Upon the Effective Date, all actions contemplated by this Plan shall be deemed authorized,
approved, and, to the extent taken before the Effective Date, ratified without any requirement for further
action by Holders of Claims or Interests, directors, managers, or officers of the Debtors, the Reorganized
Debtors, or any other Entity, including: (1) assumption and rejection (as applicable) of Executory Contracts
and Unexpired Leases; (2) selection of the directors, managers, and officers for the Reorganized Debtors;
(3) the execution of the New Organizational Documents and the Exit Facilities Documents; (4) the issuance
and delivery of the New Equity Interests and the Exit Facilities; (5) implementation of the Restructuring
Transactions, and (6) all other acts or actions contemplated, or reasonably necessary or appropriate to
promptly consummate the transactions contemplated by this Plan (whether to occur before, on, or after the
Effective Date). All matters provided for in this Plan involving the company structure of the Debtors, and
any company action required by the Debtors in connection therewith, shall be deemed to have occurred on,
and shall be in effect as of, the Effective Date, without any requirement of further action by the security
holders, directors, managers, authorized persons, or officers of the Debtors.


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         Before, on, and after the Effective Date, the appropriate officers, directors, managers, or authorized
persons of the Debtors, the Reorganized Parent, or any direct or indirect subsidiaries of the Reorganized
Parent (including any president, vice-president, chief executive officer, treasurer, general counsel,
secretary, or chief financial officer thereof) shall be authorized and directed to issue, execute, and deliver
the agreements, documents, securities, memoranda and articles of association, certificates of incorporation,
certificates of formation, bylaws, operating agreements, other organization documents, and instruments
contemplated by this Plan (or necessary or desirable to effect the transactions contemplated by this Plan) in
the name of and on behalf of the applicable Debtors or applicable Reorganized Debtors, including the
(1) New Organizational Documents, (2) Exit Facilities Documents, and (3) any and all other agreements,
documents, securities, and instruments relating to or contemplated by the foregoing. Before or on the
Effective Date, each of the Debtors is authorized, in its sole discretion, to change its name or corporate form
and to take such other action as required to effectuate a change of name or corporate form in the jurisdiction
of incorporation of the applicable Debtor or Reorganized Debtor. To the extent the Debtors change their
names or corporate form before the closing of the Chapter 11 Cases, the Debtors shall change the case
captions accordingly.

P.      Prepetition Intercreditor Agreements

         Notwithstanding anything to the contrary in this Plan, the treatment of, and distributions (including
rights to adequate protection and participation in the DIP Facility) made to Holders of ABL Claims, FILO
Claims, and Term Loan Claims shall not be subject to the Existing Intercreditor Agreement or the terms
thereof (including any turnover and disgorgement provisions), and the Existing Intercreditor Agreement
shall be deemed so amended to the extent necessary to effectuate same; provided, that nothing in this Plan
shall affect the application of the FILO Intercreditor Agreement or the terms thereof.

Q.      Effectuating Documents; Further Transactions

         Before, on, and after the Effective Date, the Debtors and the Reorganized Debtors and the directors,
managers, officers, authorized persons, and members of the boards of directors or managers and directors
or managers thereof, are authorized to and may issue, execute, deliver, file, or record such contracts,
securities, notes, instruments, certificates, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms and
provisions of this Plan, the New Organizational Documents, the Exit Facilities Documents, and any
Securities issued pursuant to this Plan in the name of and on behalf of the Reorganized Debtors, without
the need for any approvals, authorizations, actions, or consents except for those expressly required pursuant
to this Plan or the Transaction Support Agreement.

R.      Authority of the Debtors

        Effective on the Confirmation Date, the Debtors shall be empowered and authorized to take or
cause to be taken, before the Effective Date, all actions necessary or appropriate to achieve the Effective
Date and enable the Reorganized Debtors to implement effectively the provisions of this Plan, the
Combined Order, the Definitive Documents, and the Restructuring Transactions.

S.      No Substantive Consolidation

        This Plan is being proposed as a joint chapter 11 plan of the Debtors for administrative purposes
only and constitutes a separate chapter 11 plan for each Debtor. This Plan is not premised upon the
substantive consolidation of the Debtors with respect to the Classes of Claims or Interests set forth in this
Plan.



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T.      Continuing Effectiveness of Final Orders

        Payment authorization granted to the Debtors under any prior Final Order entered by the
Bankruptcy Court shall continue in effect after the Effective Date. Accordingly, the Debtors or the
Reorganized Debtors may pay or otherwise satisfy any Claim to the extent permitted by, and subject to, the
applicable Final Order without regard to the treatment that would otherwise be applicable to such Claim
under this Plan.

                                 Article V.
                   TREATMENT OF EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES; EMPLOYEE BENEFITS; AND INSURANCE POLICIES

A.      Assumption of Executory Contracts and Unexpired Leases

         On the Effective Date, except as otherwise provided in this Plan, each of the Executory Contracts
and Unexpired Leases not previously rejected, assumed, or assumed and assigned pursuant to an order of
the Bankruptcy Court shall be deemed assumed as of the Effective Date pursuant to sections 365 and 1123
of the Bankruptcy Code except any Executory Contract or Unexpired Lease (1) identified on the Rejected
Executory Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy Court on the
Plan Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected (if any), (2) that
is the subject of a separate motion or notice to reject pending as of the Effective Date, or (3) that previously
expired or terminated pursuant to its own terms (disregarding any terms the effect of which is invalidated
by the Bankruptcy Code).

        Entry of the Combined Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Transaction Support Agreement pursuant to sections 365 and 1123 of the Bankruptcy
Code and effective on the occurrence of the Effective Date. The Transaction Support Agreement shall be
binding and enforceable against the applicable parties thereto in accordance with its terms. For the
avoidance of doubt, the assumption of the Transaction Support Agreement shall not otherwise modify, alter,
amend, or supersede any of the terms or conditions thereof including, without limitation, any termination
events or provisions thereunder.

          Entry of the Combined Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of the
Bankruptcy Code, effective on the occurrence of the Effective Date. Notwithstanding anything herein to
the contrary, with respect to any Unexpired Lease that is listed on the Rejected Executory
Contract/Unexpired Lease List, the effective date of the rejection of any such Unexpired Lease shall be the
later of (1) the date set forth in the Schedule of Rejected Executory Contracts and Unexpired Leases, which
shall not be later than the Effective Date except if agreed to by the applicable counterparty and (2) the date
upon which the Debtors notify the landlord in writing (e-mail being sufficient) that they have surrendered
the premises to the landlord and returned the keys, key codes, or security codes, as applicable, and have
done so. Each Executory Contract and Unexpired Lease assumed pursuant to this Plan or by Bankruptcy
Court order, and not assigned to a third party on or before the Effective Date, shall re-vest in and be fully
enforceable by the applicable Reorganized Debtor in accordance with its terms, except as such terms may
have been modified by order of the Bankruptcy Court.

         To the maximum extent permitted by Law, unless otherwise provided herein, the transactions
contemplated by this Plan shall not constitute a “change of control” or “assignment” (or terms with similar
effect) under any Executory Contract or Unexpired Lease assumed pursuant to this Plan, or any other
transaction, event, or matter that would (1) result in a violation, breach, or default under such Executory
Contract or Unexpired Lease, (2) increase, accelerate, or otherwise alter any obligations, rights, or liabilities
of the Debtors or the Reorganized Debtors under such Executory Contract or Unexpired Lease, or (3) result

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in the creation or imposition of a Lien upon any property or asset of the Debtors or the Reorganized Debtors
pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or advance notice required
under such Executory Contract or Unexpired Lease in connection with assumption thereof (pursuant to the
other provisions of this Article VI.A) shall be deemed satisfied by Confirmation.

         Notwithstanding anything to the contrary in this Plan, but subject to the Consent Rights in
Article I.C, the Debtors or Reorganized Debtors, as applicable, reserve the right to amend or supplement
the Rejected Executory Contract/Unexpired Lease List in their discretion before the Effective Date (or such
later date as may be permitted by Article V); provided, that the Debtors shall give prompt notice of any
such amendment or supplement to any affected counterparty and such counterparty shall have no less than
seven (7) days to object thereto on any grounds.

B.      Payments on Assumed Executory Contracts and Unexpired Leases

         Any monetary default under an Executory Contract or Unexpired Lease to be assumed pursuant to
this Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default
amount in Cash on the Effective Date or as soon as reasonably practicable thereafter, subject to the
limitation described below, or on such other terms as the parties to such Executory Contract or Unexpired
Lease may otherwise agree. In the event of a dispute regarding (1) the ability of the Reorganized Debtors
or any assignee to provide “adequate assurance of future performance” (within the meaning of section
365(b) of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or (2) any
other matter pertaining to assumption, the Bankruptcy Court shall hear such dispute before the assumption
becoming effective; provided, that the Debtors, with the reasonable consent of the Required DIP Lenders
for settlements exceeding $250,000, or Reorganized Debtors may settle any such dispute and shall pay any
agreed upon cure amount without any further notice to any party or any action, order, or approval. The
cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of
a Final Order(s) resolving the dispute and approving the assumption and shall not prevent or delay
implementation of this Plan or the occurrence of the Effective Date.

        Any and all Proofs of Claim based upon Executory Contracts or Unexpired Leases that have
been assumed in the Chapter 11 Cases, including pursuant to the Combined Order, shall be deemed
disallowed and expunged as of the Effective Date without the need for any objection thereto or any
further notice to or action, order, or approval of the Bankruptcy Court.

C.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims
arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to this Plan or
otherwise must be filed with the Notice and Claims Agent within thirty (30) days of the later of (1) the
effective date of the rejection of the applicable Executory Contract or Unexpired Lease (which shall be the
Confirmation Date unless otherwise provided in an order of the Bankruptcy Court providing for the
rejection of an Executory Contract or Unexpired Lease); (2) the Confirmation Date; or (3) the date of the
order authorizing the rejection of the applicable Executory Contract or Unexpired Lease. Any Proofs of
Claim arising from the rejection of the Executory Contracts and Unexpired Leases that are not timely
filed shall be automatically disallowed without further order of the Bankruptcy Court. All Allowed
Claims arising from the rejection of the Executory Contracts and Unexpired Leases shall constitute General
Unsecured Claims and shall be treated in accordance with Article III.B.

D.      Contracts and Leases Entered into After the Petition Date

       Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by any Debtor, shall be performed by such Debtor or Reorganized

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Debtor, as applicable, liable thereunder in the ordinary course of business. Accordingly, such contracts and
leases (including any Executory Contracts and Unexpired Leases assumed or assumed and assigned
pursuant to section 365 of the Bankruptcy Code) that have not been rejected as of the Confirmation Date
shall survive and remain unaffected by entry of the Combined Order.

E.      Reservation of Rights

         Nothing contained in this Plan shall constitute an admission by the Debtors that any contract or
lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability
thereunder. If there is a dispute regarding whether a contract or lease is or was executory or unexpired at
the time of assumption, the Debtors or Reorganized Debtors, as applicable, shall have fourteen (14) days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or lease. If
there is a dispute regarding a Debtor’s or Reorganized Debtor’s liability under an assumed Executory
Contract or Unexpired Lease, the Reorganized Debtors shall be authorized to move to have such dispute
heard by the Bankruptcy Court pursuant to Article X.

F.      Directors and Officers Insurance Policies

         On the Effective Date the Reorganized Debtors shall be deemed to have assumed all of the Debtors’
D&O Insurance Policies (including any “tail coverage” and all agreements, documents, or instruments
related thereto) in effect before the Effective Date pursuant to sections 105 and 365(a) of the Bankruptcy
Code, without the need for any further notice to or action, order, or approval of the Bankruptcy Court.
Confirmation of this Plan shall not discharge, impair, or otherwise modify any indemnity obligations
assumed by the foregoing assumption of the D&O Insurance Policies, and each such indemnity obligation
shall be deemed and treated as an Executory Contract that has been assumed by the Debtors under this Plan
as to which no Proof of Claim need be Filed. The Debtors and, after the Effective Date, the Reorganized
Debtors shall retain the ability to supplement such D&O Insurance Policies as the Debtors or Reorganized
Debtors, as applicable, may deem necessary. For the avoidance of doubt, entry of the Combined Order
shall constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each
of the unexpired D&O Insurance Policies.

         In addition, on or after the Effective Date, none of the Reorganized Debtors shall terminate or
otherwise reduce the coverage under any D&O Insurance Policies (including any “tail policy” and all
agreements, documents, or instruments related thereto) in effect on or before the Effective Date, with
respect to conduct occurring prior thereto, and all current and former directors, officers, and managers of
the Debtors who served in such capacity at any time before the Effective Date shall be entitled to the full
benefits of any such policies for the full term of such policies regardless of whether such current and former
directors, officers, and managers remain in such positions after the Effective Date, all in accordance with
and subject in all respects to the terms and conditions of the D&O Insurance Policies, which shall not be
altered.

G.      Other Insurance Contracts

         On the Effective Date, each of the Debtors’ Insurance Contracts in existence as of the Effective
Date shall be Reinstated and continued in accordance with their terms and, to the extent applicable, shall
be deemed assumed by the applicable Reorganized Debtor pursuant to section 365 of the Bankruptcy Code
and Article V. Nothing in this Plan shall affect, impair, or prejudice the rights of the insurance carriers, the
insureds, or the Reorganized Debtors under the Insurance Contracts in any manner, and such insurance
carriers, the insureds, and Reorganized Debtors shall retain all rights and defenses under such Insurance
Contracts. The Insurance Contracts shall apply to and be enforceable by and against the insureds and the
Reorganized Debtors in the same manner and according to the same terms and practices applicable to the
Debtors, as existed before the Effective Date.

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H.      Indemnification Provisions and Reimbursement Obligations

          On and as of the Effective Date, and except as prohibited by applicable law and subject to the
limitations set forth herein, the Indemnification Provisions shall be assumed and irrevocable and shall
survive the effectiveness of this Plan, and the New Organizational Documents shall provide to the fullest
extent provided by law for the indemnification, defense, reimbursement, exculpation, and/or limitation of
liability of, and advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’ current
and former directors, officers, equity holders, managers, members, employees, accountants, investment
bankers, attorneys, other professionals, agents of the Debtors, and such current and former directors’,
officers’, equity holders’, managers’, members’, and employees’ respective Affiliates (each of the
foregoing solely in their capacity as such) at least to the same extent as the Indemnification Provisions,
against any Claims or Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or
contingent, disputed or undisputed, matured or unmatured, known or unknown, foreseen or unforeseen,
asserted or unasserted. Notwithstanding anything in this Plan to the contrary, none of the Reorganized
Debtors shall amend and/or restate the New Organizational Documents before or after the Effective Date
to terminate or adversely affect any of the Indemnification Provisions.
I.      Employee Compensation and Benefits

        1.       Compensation and Benefits Programs

         Subject to the provisions of this Plan, all Compensation and Benefits Programs (other than awards
of stock options, restricted stock, restricted stock units, and other equity awards) shall be treated as
Executory Contracts under this Plan and deemed assumed on the Effective Date pursuant to the provisions
of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim Filed for amounts due under any
Compensation and Benefits Program shall be considered satisfied by the applicable agreement and/or
program and agreement to assume and cure in the ordinary course as provided in this Plan. All collective
bargaining agreements to which any Debtor is a party, and all Compensation and Benefits Programs which
are maintained pursuant to such collective bargaining agreements or to which contributions are made or
benefits provided pursuant to a current or past collective bargaining agreement, shall be deemed assumed
on the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code and the
Reorganized Debtors reserve all of their rights under such agreements. For the avoidance of doubt, the
Debtors and Reorganized Debtors, as applicable, shall honor all their obligations under section 1114 of the
Bankruptcy Code. Notwithstanding the foregoing or any provision in this Plan or any other Definitive
Document, the Debtors or the Reorganized Debtors, as applicable, shall be authorized, in their discretion,
pursuant to section 503(b)(1)(A) of the Bankruptcy Code, to terminate, liquidate, and make payments to
covered employees (current and former) under the Deferred Compensation Plan in accordance with section
409A of the United States Internal Revenue Code.

        None of the Restructuring, the Restructuring Transactions, or any assumption of Compensation and
Benefits Programs pursuant to the terms herein shall be deemed to trigger any applicable change of control,
vesting, termination, acceleration, or similar provisions therein; provided that the Assumed Employee
Agreements shall be assumed and governed by the terms thereof. Subject to the preceding sentence, no
counterparty shall have rights under a Compensation and Benefits Program assumed pursuant to this Plan
other than those applicable immediately before such assumption.

        2.       Workers’ Compensation Programs

       As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the
Reorganized Debtors shall continue to honor their obligations under: (a) all applicable state workers’
compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of Claims filed by the
Debtors’ current or former employees on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court based
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upon the treatment provided for herein; provided, that nothing in this Plan shall limit, diminish, or otherwise
alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable
non-bankruptcy law with respect to the Workers’ Compensation Contracts; provided, further, that nothing
herein shall be deemed to impose any obligations on the Debtors in addition to what is provided for under
applicable non-bankruptcy law and/or the Workers’ Compensation Contracts.

                                         Article VI.
                            PROVISIONS GOVERNING DISTRIBUTIONS

A.      Timing and Calculation of Amounts to Be Distributed

         Unless otherwise provided in this Plan, on the Effective Date (or if a Claim is not an Allowed Claim
on the Effective Date, on the date that such Claim becomes an Allowed Claim, or as soon as reasonably
practicable thereafter), each Holder of an Allowed Claim shall receive the full amount of the distributions
that this Plan provides for Allowed Claims in the applicable Class; provided, that any Allowed
Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of business
during the Chapter 11 Cases or assumed by the Debtors before the Effective Date shall be paid or performed
in the ordinary course of business.

         In the event that any payment or act under this Plan is required to be made or performed on a date
that is not a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as of
the required date.

         If and to the extent that there are Disputed Claims, distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in Article VII. Except as otherwise provided
herein, Holders of Claims shall not be entitled to postpetition interest, dividends, or accruals on the
distributions provided for herein, regardless of whether such distributions are delivered on or at any time
after the Effective Date.

B.      Special Rules for Distributions to Holders of Disputed Claims

          Except as otherwise agreed by the relevant parties: (1) no partial payments and no partial
distributions shall be made with respect to a Disputed Claim until all such disputes in connection with such
Disputed Claim have been resolved by settlement or Final Order; and (2) any Entity that holds both an
Allowed Claim and a Disputed Claim shall not receive any distribution on the Allowed Claim unless and
until all objections to the Disputed Claim have been resolved by settlement or Final Order or such Claims
or Interests have been Allowed or expunged.

C.      Rights and Powers of Distribution Agent

        1. Powers of the Distribution Agent

        The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under this Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and
(d) exercise such other powers as may be vested in the Distribution Agent by order of the Bankruptcy Court,
pursuant to this Plan, or as deemed by the Distribution Agent to be necessary and proper to implement the
provisions hereof.




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        2. Expenses Incurred on or After the Effective Date and Indemnification

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
expenses incurred by the Distribution Agent on or after the Effective Date (including taxes in connection
with this Plan, but excluding any income, franchise, or similar taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the
Distribution Agent shall be paid in Cash by the Reorganized Debtors.

D.      Delivery of Distributions

        1.       Record Date for Distributions

         On the Distribution Record Date, the Claims Register shall be closed and any party responsible for
making distributions shall instead be authorized and entitled to recognize only those record Holders listed
on the Claims Register as of the close of business on the Distribution Record Date. The Distribution Record
Date shall not apply to distributions in respect of Securities deposited with DTC, the Holders of which shall
receive distributions, if any, in accordance with the customary exchange procedures of DTC or this Plan.
For the avoidance of doubt, in connection with a distribution through the facilities of DTC (if any), DTC
shall be considered a single Holder for purposes of distributions.

        2.       Delivery of Distributions in General

         Except as otherwise provided herein, the Distribution Agent shall make distributions to Holders of
Allowed Claims as of the Distribution Record Date, or, if applicable, to such Holder’s designee, as
appropriate: (a) at the address for each such Holder as indicated on the Debtors’ records as of the
Distribution Record Date; (b) to the signatory set forth on any Proof of Claim Filed by such Holder or other
representative identified therein (or at the last known addresses of such Holder if no Proof of Claim is Filed
or if the Debtors have not been notified in writing of a change of address); (c) at the addresses set forth in
any written notices of address changes delivered to the Reorganized Debtors or the applicable Distribution
Agent, as appropriate, after the date of any related Proof of Claim; or (d) on any counsel that has appeared
in the Chapter 11 Cases on the Holder’s behalf; provided, that the manner of such distributions shall be
determined at the discretion of the Reorganized Debtors.

        All distributions to Holders of DIP Claims shall be made to the DIP Agent or the Exit Term Loan
Agent, as applicable, and the DIP Agent or the Exit Term Loan Agent shall be, and shall act as, the
Distribution Agent with respect to the DIP Claims in accordance with the terms and conditions of this Plan
and the applicable debt documents.

        All distributions to Holders of Term Loan Claims shall be made to the Term Loan Agent, and the
Term Loan Agent shall be, and shall act as, the Distribution Agent with respect to the Term Loan Claims
in accordance with the terms and conditions of this Plan and the applicable debt documents.

        3.       Minimum Distributions

         Notwithstanding any provision in this Plan to the contrary, no Distribution Agent shall be required
to make distributions or payments of less than $100 (whether in Cash or otherwise) with respect to Impaired
Claims. No fractional shares of New Equity Interests shall be distributed and no Cash shall be distributed
in lieu of such fractional amounts. When any distribution pursuant to this Plan on account of an Allowed
Claim would otherwise result in the issuance of a number of shares of New Equity Interests that is not a
whole number, the actual distribution of shares of New Equity Interests shall be rounded as follows:
(a) fractions of one-half (½) or greater shall be rounded to the next higher whole number and (b) fractions
of less than one-half (½) shall be rounded to the next lower whole number with no further payment

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therefore. The total number of authorized shares of New Equity Interests to be distributed under this Plan
shall be adjusted as necessary to account for the foregoing rounding. For distribution purposes (including
rounding), DTC shall be treated as a single Holder.

        4.       Undeliverable Distributions

         In the event that any distribution to any Holder of Allowed Claims is returned as undeliverable, no
distribution to such Holder shall be made unless and until the Distribution Agent has determined the then-
current address of such Holder, at which time such distribution shall be made to such Holder without
interest; provided, that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one (1) year from the Effective Date. After such date, all unclaimed
property or interests in property shall revert to the Reorganized Debtors automatically and without need for
a further order by the Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat,
abandoned, or unclaimed property laws to the contrary), and the Claim of any Holder of Claims to such
property or interest in property shall be discharged and forever barred.

E.      Compliance with Tax Requirements; Allocations

          In connection with this Plan and all distributions hereunder, the Reorganized Debtors and any other
applicable Distribution Agent (including for purposes of this Article IV.E, the Debtors) shall comply with
all applicable withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions hereunder and under all related agreements shall be subject to any such withholding and
reporting requirements. Notwithstanding any provision in this Plan to the contrary, the Reorganized
Debtors and any other applicable Distribution Agent shall have the right, but not the obligation, to take any
and all actions that may be necessary or appropriate to comply with such applicable withholding and
reporting requirements, including (a) withholding distributions and amounts therefrom pending receipt of
information necessary to facilitate such distributions, including properly executed withholding certification
forms, and (2) in the case of a non-Cash distribution that is subject to withholding, withholding an
appropriate portion of such property and either liquidating such withheld property to generate sufficient
funds to pay applicable withholding taxes (or reimburse the distributing party for any advance payment of
the withholding tax) or pay the withholding tax using its own funds and retain such withheld property.
Notwithstanding any provision in this Plan to the contrary, upon the request of the Reorganized Debtors or
any other applicable Distribution Agent, all Persons and Entities holding Claims shall be required to provide
any information necessary to effect information reporting and the withholding of such taxes (or establish
eligibility for an exclusion for the withholding of taxes), and each Holder of an Allowed Claim shall have
the sole and exclusive responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income, withholding, and other tax obligations, on account of such
distribution. Any amounts withheld or reallocated pursuant to this Article IV.E shall be treated as if
distributed to the Holder of the Allowed Claim.

        Any Person or Entity entitled to receive any property as an issuance or distribution under this Plan
shall, upon request, deliver to the applicable Reorganized Debtor or any other applicable Distribution
Agent, or such other Person designated by the Reorganized Debtor or the Distribution Agent, an IRS Form
W-9 or, if the payee is a foreign Person or Entity, an applicable IRS Form W-8, or any other forms or
documents reasonably requested by a Reorganized Debtor or Distribution Agent to reduce or eliminate any
withholding required by any Governmental Unit.

       The Reorganized Debtors reserve the right to allocate all distributions made under this Plan in
compliance with all applicable wage garnishments, alimony, child support and other spousal awards, Liens,
and encumbrances.



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F.      Applicability of Insurance Contracts

        Notwithstanding anything to the contrary in this Plan, the Plan Supplement, the Disclosure
Statement, or the Combined Order (including, without limitation, any provision that purports to be
preemptory or supervening, confers Bankruptcy Court jurisdiction, or requires a party to opt out of any
releases):

         1.      on and after the Effective Date, all Insurance Contracts (a) are found to be and shall be
treated as, Executory Contracts under this Plan and shall be assumed pursuant to sections 105 and 365 of
the Bankruptcy Code by the applicable Debtor, and/or (b) shall vest in the Reorganized Debtors and ride
through and continue in full force and effect in accordance with their respective terms in either case such
that the Reorganized Debtors shall become and remain jointly and severally liable in full for, and shall
satisfy, any premiums, deductibles, self-insured retentions, and/or any other amounts or obligations arising
in any way out of the receipt of payment from an Insurer in respect of the Insurance Contracts and as to
which no Proof of Claim, Administrative Claim, or Cure Cost claim need be filed; and

         2.       solely with respect to Insurance Contracts, which, for avoidance of doubt, includes any and
all collateral or security securing the Debtor’s obligations under the insurance policies, including, without
limitation, escrow accounts, deposit accounts, cash collateral, and letters of credit, the automatic stay of
section 362(a) of the Bankruptcy Code and the injunctions set forth in this Plan, if and to the extent
applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit (a)
claimants with valid workers’ compensation claims or direct action claims against Insurers under applicable
non-bankruptcy law to proceed with their claims; (b) Insurers to administer, handle, defend, settle, and/or
pay, in the ordinary course of business and without further order of this Bankruptcy Court, (i) workers’
compensation claims, (ii) claims where a claimant asserts a direct claim against an Insurer under applicable
non-bankruptcy law, or an order has been entered by this Bankruptcy Court granting a claimant relief from
the automatic stay or the injunctions set forth in this Plan to proceed with its claim, and (iii) all costs in
relation to each of the foregoing; and (c) the Insurers to collect from any or all of the collateral or security
provided by or on behalf of the Debtors (or the Reorganized Debtors) at any time and to hold the proceeds
thereof as security for the obligations of the Debtors (or the Reorganized Debtors) and/or apply such
proceeds to the obligations of the Debtors (or the Reorganized Debtors) under the applicable Insurance
Contracts, in such order as the applicable Insurer may determine.

         Nothing contained in this Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtors or any Entity may hold against any other Entity, including Insurers under any Insurance
Contracts, nor shall anything contained herein constitute or be deemed a waiver by such Insurers of any
rights or defenses, including coverage defenses, held by such Insurers under the Insurance Contracts and/or
applicable non-bankruptcy law.

G.      Allocation of Distributions Between Principal and Interest

         Except as otherwise required by law (as reasonably determined by the Reorganized Debtors),
distributions with respect to an Allowed Claim shall be allocated first to the principal portion of such
Allowed Claim (as determined for United States federal income tax purposes) and, thereafter, to the
remaining portion of such Allowed Claim, if any.

H.      No Postpetition Interest on Claims

         Unless otherwise specifically provided for in this Plan, any other Definitive Document, the
Combined Order, the DIP/Cash Collateral Orders, or any other Final Order of the Bankruptcy Court, or
required by applicable bankruptcy law (including, without limitation, as required pursuant to section 506(b)
or section 511 of the Bankruptcy Code), postpetition interest shall not accrue or be paid on any Claims and

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no Holder of a Claim or Interest shall be entitled to interest accruing on or after the Petition Date on any
Claim.

I.      Means of Cash Payment

         Payments of Cash made pursuant to this Plan shall be in United States dollars and shall be made,
at the option of the Debtors or the Reorganized Debtors (as applicable), by checks drawn on, or wire transfer
from, a domestic bank selected by the Debtors or the Reorganized Debtors. Cash payments to foreign
creditors may be made, at the option of the Debtors or the Reorganized Debtors, in such funds and by such
means as are necessary or customary in a particular foreign jurisdiction.

J.      Setoffs and Recoupment

         Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable bankruptcy or non-bankruptcy law, or as may
be agreed to by the Holder of an Allowed Claim, may set off or recoup against any Allowed Claim and the
distributions to be made pursuant to this Plan on account of such Allowed Claim, any Claims, rights, and
Causes of Action of any nature that the applicable Debtor or Reorganized Debtor may hold against the
Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action have not been
otherwise compromised, settled, or assigned on or before the Effective Date (whether pursuant to this Plan,
a Final Order or otherwise); provided, that neither the failure to effect such a setoff or recoupment nor the
allowance of any Claim pursuant to this Plan shall constitute a waiver or release by such Reorganized
Debtor of any such Claims, rights, and Causes of Action.

         Notwithstanding anything to the contrary herein, nothing in this Plan or the Combined Order shall
modify the rights, if any, of any counterparty to an Executory Contract or Unexpired Lease to assert any
right of setoff or recoupment that such party may have under applicable bankruptcy law or non-bankruptcy
law, including, but not limited to, the (1) ability, if any, of such parties to setoff or recoup a security deposit
held pursuant to the terms of their Unexpired Lease(s) with the Debtors, or any successors to the Debtors,
under this Plan, (2) assertion of rights of setoff or recoupment, if any, in connection with Claims
reconciliation, or (3) assertion of setoff or recoupment as a defense, if any, to any Claim or action by the
Debtors, the Reorganized Debtors, or any successors of the Debtors.

K.      Claims Paid or Payable by Third Parties

        1.       Claims Paid by Third Parties

         A Claim shall be correspondingly reduced, and the applicable portion of such Claim shall be
disallowed without an objection to such Claim having to be Filed and without any further notice to or action,
order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives a payment
on account of such Claim from a party that is not a Debtor or Reorganized Debtor. To the extent a Holder
of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within fourteen (14) days of
receipt thereof, repay or return the distribution to the Reorganized Debtors to the extent the Holder’s total
recovery on account of such Claim from the third party and under this Plan exceeds the amount of such
Claim as of the date of any such distribution under this Plan. The failure of such Holder to timely repay or
return such distribution shall result in the Holder owing the Reorganized Debtors annualized interest at the
Federal Judgment Rate on such amount owed for each Business Day after the fourteen (14) day grace period
specified above until the amount is repaid.




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        2.       Claims Payable by Insurers

         No distributions under this Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the Debtors’ Insurance Contracts until the Holder of such Allowed Claim has exhausted
all remedies with respect to such Insurance Contract. To the extent that one or more of the Insurers agrees
to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction),
then immediately upon such Insurers’ agreement, the applicable portion of such Claim may be expunged
without a Claim objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court.

        3.       Insurance Contracts

         Except as otherwise provided in this Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable Insurance Contract. Notwithstanding anything to the
contrary herein, nothing contained in this Plan shall constitute or be deemed a release, settlement,
satisfaction, compromise, or waiver of any Cause of Action that the Debtors or any other Entity may hold
against any other Entity, including Insurers, under any Insurance Contracts or applicable indemnity, nor
shall anything contained herein constitute or be deemed a waiver by such Insurers of any defenses, including
coverage defenses, held by such Insurers.

                                       Article VII.
                         PROCEDURES FOR RESOLVING CONTINGENT,
                           UNLIQUIDATED, AND DISPUTED CLAIMS

A.      No Filings of Proofs of Claim

          Except as otherwise provided in this Plan, Holders of Claims shall not be required to File a Proof
of Claim, and except as provided in this Plan, no parties should File a proof of Claim. The Debtors do not
intend to object in the Bankruptcy Court to the allowance of Claims Filed; provided, that the Debtors and
the Reorganized Debtors, as applicable, reserve the right to object to any Claim that is entitled, or deemed
to be entitled, to a distribution under this Plan or is rendered Unimpaired under this Plan. Instead, the
Debtors intend to make distributions, as required by this Plan, in accordance with the books and records of
the Debtors. Unless disputed by a Holder of a Claim, the amount set forth in the books and records of the
Debtors shall constitute the amount of the Allowed Claim of such Holder except that (unless expressly
waived pursuant to this Plan) the Allowed amount of such Claim shall be subject to the limitations or
maximum amounts permitted by the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy
Code, to the extent applicable. If any such Holder of a Claim disagrees with the Debtors’ books and records
with respect to the Allowed amount of such Holder’s Claim, such Holder must so advise the Debtors in
writing within thirty (30) days of receipt of any distribution on account of such Holder’s Claim, in which
event the Claim shall become a Disputed Claim. The Debtors intend to attempt to resolve any such disputes
consensually or through judicial means outside the Bankruptcy Court. Nevertheless, the Debtors may, in
their discretion, File with the Bankruptcy Court (or any other court of competent jurisdiction) an objection
to the allowance of any Claim or any other appropriate motion or adversary proceeding with respect thereto.
All such objections shall be litigated to Final Order; provided, that the Debtors may compromise, settle,
withdraw, or resolve by any other method approved by the Bankruptcy Court any objections to Claims.

         All Proofs of Claim Filed in the Chapter 11 Cases shall be considered objected to and Disputed
without further action by the Debtors. Upon the Effective Date, all Proofs of Claim Filed against the
Debtors, regardless of the time of filing, and including Proofs of Claim Filed after the Effective Date, shall
be deemed withdrawn and expunged, other than as provided below. Notwithstanding anything in this Plan
to the contrary, disputes regarding the amount of any Cure Cost pursuant to section 365 of the Bankruptcy
Code and Claims that the Debtors seek to have determined by the Bankruptcy Court, shall in all cases be

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determined by the Bankruptcy Court. Except as otherwise provided herein, all Proofs of Claim Filed
after the Effective Date shall be disallowed and forever barred, estopped, and enjoined from
assertion, and shall not be enforceable against any Reorganized Debtor, without the need for any
objection by the Reorganized Debtors or any further notice to or action, order, or approval of the
Bankruptcy Court.

B.      Allowance and Disallowance of Claims

        After the Effective Date, and except as otherwise provided in this Plan, the Reorganized Debtors
shall have and shall retain any and all available rights and defenses that the Debtors had with respect to any
Claim immediately before the Effective Date, including, without limitation, the right to assert any objection
to Claims based on the limitations imposed by section 502 of the Bankruptcy Code. The Debtors and the
Reorganized Debtors may, but are not required to, contest the amount and validity of any Disputed Claim
or contingent or unliquidated Claim in the ordinary course of business in the manner and venue in which
such Claim would have been determined, resolved or adjudicated if the Chapter 11 Cases had not been
commenced.

        All Claims and Interests of any Entity from which property is sought by the Debtors under sections
542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a
transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a)
of the Bankruptcy Code shall be disallowed if: (1) the Entity, on the one hand, and the Debtors or the
Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined by
Final Order that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned sections of the Bankruptcy Code; and (2) such Entity or transferee has failed to turn over
such property by the date set forth in such agreement or Final Order.

C.      Claims Administration Responsibilities

          Except as otherwise specifically provided in this Plan, after the Effective Date, the Reorganized
Debtors shall have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or
Interests; (2) to settle or compromise any Disputed Claim or Interest without any further notice to or action,
order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect
any such settlements or compromises without any further notice to or action, order, or approval by the
Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and after the
Effective Date, each Reorganized Debtor shall have and retain any and all rights and defenses such Debtor
had immediately before the Effective Date with respect to any Disputed Claim or Interest, including the
Causes of Action retained pursuant to this Plan.

        Any objections to Claims and Interests other than General Unsecured Claims must be served
and Filed on or before the 120th day after the Effective Date or by such later date as ordered by the
Bankruptcy Court. All Claims and Interests other than General Unsecured Claims not objected to
by the end of such 120-day period shall be deemed Allowed unless such period is extended upon
approval of the Bankruptcy Court.

        Notwithstanding the foregoing, the Debtors and Reorganized Debtors shall be entitled to dispute
and/or otherwise object to any General Unsecured Claim in accordance with applicable non-bankruptcy
law. If the Debtors or Reorganized Debtors dispute any General Unsecured Claim, such dispute shall be
determined, resolved, or adjudicated, as the case may be, in the manner as if the Chapter 11 Cases had not
been commenced. In any action or proceeding to determine the existence, validity, or amount of any
General Unsecured Claim, any and all claims or defenses that could have been asserted by the applicable
Debtor(s) or the Entity holding such General Unsecured Claim are preserved as if the Chapter 11 Cases had
not been commenced.

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D.       Adjustment to Claims or Interests without Objection

        Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the
Reorganized Debtors having to File an application, motion, complaint, objection, or any other legal
proceeding seeking to object to such Claim or Interest and without any further notice to or action, order, or
approval of the Bankruptcy Court.

E.       Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
shall be made to the Holder of such Allowed Claim in accordance with the provisions of this Plan. As soon
as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim becomes a Final Order, the Reorganized Debtors shall provide to the Holder of such Claim
the distribution (if any) to which such Holder is entitled under this Plan as of the Effective Date, without
any postpetition interest to be paid on account of such Claim.

                                      Article VIII.
                      CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.       Conditions Precedent to the Effective Date

       The following are conditions precedent to the Effective Date that must be satisfied or waived
pursuant to the provisions of Article VIII.B:

        1.      The Transaction Support Agreement shall be in full force and effect, no termination event
or event that would give rise to a termination event under the Transaction Support Agreement upon the
expiration of any applicable grace period shall have occurred and remain occurring, and the Transaction
Support Agreement shall not have been validly terminated before the Effective Date.

         2.      The Bankruptcy Court shall have entered the Final DIP/Cash Collateral Order on a final
basis.

         3.     The final version of the Plan Supplement and all of the schedules, documents, and exhibits
contained therein shall have been filed in a manner consistent in all material respects with the Transaction
Support Agreement, the Transaction Term Sheet, the ABL/FILO Exit Commitment Letters, and this Plan
and in form and substance reasonably acceptable to the ABL Facility Agent, FILO Term Loan Agent, FILO
Lenders, and Required DIP Lenders.

       4.      No Termination Declaration shall be in effect, subject to any applicable Remedies
Determination (each as defined in the Interim DIP/Cash Collateral Order).

        5.      The Bankruptcy Court shall have entered the Combined Order, which shall be in form and
substance consistent in all material respects with the Transaction Term Sheet and the Transaction Support
Agreement and shall:

                 a.      authorize the Debtors to take all actions necessary to enter into, implement, and
                         consummate the contracts, instruments, releases, leases, indentures, and other
                         agreements or documents created in connection with this Plan;

                 b.      be in form and substance reasonably acceptable to the ABL Facility Agent, FILO
                         Term Loan Agent, FILO Lenders, and Required DIP Lenders;


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                 c.      authorize the assumption, assumption and assignment, and/or rejection of the
                         Executory Contracts and Unexpired Leases by the Debtors as contemplated in this
                         Plan and the Plan Supplement;

                 d.      decree that the provisions in the Combined Order and this Plan are nonseverable
                         and mutually dependent;

                 e.      authorize the Debtors to: (i) implement the Restructuring Transactions;
                         (ii) distribute the New Equity Interests pursuant to the exemption from registration
                         under the Securities Act provided by section 1145 of the Bankruptcy Code or other
                         exemption from such registration or pursuant to one or more registration
                         statements; (iii) make all distributions and issuances as required under this Plan
                         consistent with the Transaction Term Sheet, including the New Equity Interests;
                         and (iv) enter into any agreements, transactions, and sales of property as
                         contemplated by this Plan and the Plan Supplement, including the Management
                         Incentive Plan;

                 f.      authorize the implementation of this Plan in accordance with its terms; and

                 g.      provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or
                         surrender of any lease or sublease, and the delivery of any deed or other instrument
                         or transfer order, in furtherance of, or in connection with this Plan, including any
                         deeds, bills of sale, or assignments executed in connection with any disposition or
                         transfer of assets contemplated under this Plan, shall not be subject to any stamp,
                         real estate transfer, mortgage recording, or other similar tax.

         6.      Each document or agreement constituting the applicable Definitive Documents shall have
been executed and/or effectuated, shall be in form and substance consistent with the Transaction Support
Agreement or the ABL/FILO Exit Commitment Letters, as applicable, including the consent rights provided
therein, and any conditions precedent related thereto or contained therein shall have been satisfied before
or contemporaneously with the occurrence of the Effective Date or otherwise waived in accordance with
the terms of the applicable Definitive Documents.

        7.      The Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings,
or documents that are necessary to implement and effectuate the Restructuring Transactions, and all
applicable regulatory or government imposed waiting periods shall have expired or been terminated.

        8.      All governmental and third-party approvals and consents that may be necessary in
connection with the Restructuring Transactions shall have been obtained, not be subject to unfulfilled
conditions, and be in full force and effect, and all applicable waiting periods shall have expired without any
action being taken or threatened by any competent authority that would restrain, prevent, or otherwise
impose materially adverse conditions on the Restructuring Transactions.

        9.      No court of competent jurisdiction or other competent governmental or regulatory authority
shall have issued any order making illegal or otherwise restricting, limiting, preventing, or prohibiting the
consummation of any of the Restructuring Transactions.

        10.      The Debtors shall have paid in full all professional fees and expenses of the Retained
Professionals that require the Bankruptcy Court’s approval or amounts sufficient to pay such fees and
expenses after the Effective Date shall have been placed in Professional Fee Escrow Account pending the
Bankruptcy Court’s approval of such fees and expenses.



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       11.     The Restructuring Fees and Expenses shall have been paid in full (subject to any order of
the Bankruptcy Court).

        12.     The restructuring to be implemented on the Effective Date shall be consistent with this
Plan, the Transaction Support Agreement, and the ABL/FILO Exit Commitment Letters.

        13.     Such other conditions precedent to the Effective Date that are customary and otherwise
requested by the Required Consenting Term Lenders and the Required DIP Lenders and agreed to by the
Debtors, the ABL Facility Agent, the FILO Term Loan Agent, and the FILO Lenders (such agreement not
to be unreasonably withheld).

        14.     There shall not have been instituted or threatened or be pending any material action,
proceeding, application, claim, counterclaim, or investigation (whether formal or informal) (or there shall
not have been any material adverse development to any action, application, claim, counterclaim, or
proceeding currently instituted, threatened, or pending) before or by any court, governmental, regulatory or
administrative agency or instrumentality, domestic or foreign, or by any other person, domestic or foreign,
in connection with the Restructuring Transactions that, in the reasonable judgment of the Debtors and the
Required Consenting Stakeholders would prohibit, prevent, or restrict consummation of the Restructuring
Transactions in a materially adverse manner.

         Following the satisfaction or waiver of the foregoing, concurrently with or immediately following
effectiveness of this Plan on the Effective Date:

       1.       The Existing Equity Interests shall have been canceled and the New Equity Interests shall
have been issued by Reorganized Parent.

        2.      All Exit Facilities and all other financing agreements and arrangements contemplated
hereunder, as applicable, shall be or have been, as applicable, funded and closed and be in full force and
effect.

        3.       The Releases set forth in this Plan shall be in full force and effect.

        4.     The Debtors shall have paid in full to the relevant Parties all payments and fees provided
for in the Transaction Support Agreement, the Transaction Term Sheet, and applicable Definitive
Documents that are payable on, before, or in connection with the occurrence of the Effective Date.

        The Reorganized Debtors shall complete the termination of registration of all Securities under
sections 13 and 15(d) of the Exchange Act such that the Reorganized Debtors shall be a private company
as soon as reasonably practicable after the Effective Date.

B.      Waiver of Conditions

         Subject to section 1127 of the Bankruptcy Code, the conditions to Confirmation and consummation
of this Plan set forth in this Article VIII may be waived by the Debtors, with the consent of the Required
DIP Lenders, the ABL Facility Agent, the FILO Term Loan Agent, and the FILO Lenders (not to be
unreasonably withheld or delayed), without notice, leave, or order of the Bankruptcy Court or any formal
action other than proceeding to confirm or consummate this Plan. The failure of the Debtors or Reorganized
Debtors to exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each
right shall be deemed an ongoing right that may be asserted at any time.




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C.      Effect of Non-Occurrence of Conditions to the Effective Date

         If the Confirmation of this Plan or the Effective Date does not occur with respect to one or more of
the Debtors on or before the termination of the Transaction Support Agreement, then this Plan shall, with
respect to such applicable Debtor or Debtors, be null and void in all respects and nothing contained in this
Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by or Claims against
or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, any Holders, or any other
Person or Entity; (3) constitute an allowance of any Claim or Interest; or (4) constitute an admission,
acknowledgment, offer, or undertaking by the Debtors, any Holders, or any other Person or Entity in any
respect.

D.      Substantial Consummation

         “Substantial consummation” of this Plan, as defined in section 1102(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.

                                     Article IX.
             DISCHARGE, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims and Termination of Interests

         Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and
except as otherwise specifically provided in this Plan, the Definitive Documents, or in any contract,
instrument, or other agreement or document created or entered into, the distributions, rights, and treatment
that are provided in this Plan shall be in full and final satisfaction, settlement, release, and discharge,
effective as of the Effective Date, of Claims (including any Intercompany Claims resolved or compromised
after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any nature
whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date, whether
known or unknown, against, liabilities of, demands against, Liens on, obligations of, rights against, and
Interests in, the Debtors, the Reorganized Debtors, the Estates, or any of their assets or properties, regardless
of whether any property shall have been distributed or retained pursuant to this Plan on account of such
Claims and Interests, including demands, liabilities, and Causes of Action that arose before the Effective
Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to services
performed by employees of the Debtors before the Effective Date and that arise from a termination of
employment, any contingent or non-contingent liability on account of representations or warranties issued
on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of
the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim based upon such debt or right is
Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon
such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the Holder
of such a Claim or Interest has accepted this Plan. The Combined Order shall be a judicial determination
of the discharge of all Claims and Interests subject to the occurrence of the Effective Date.

         Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
provided pursuant to this Plan, the provisions of this Plan shall constitute a good-faith compromise of all
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights that a Holder
of a Claim or Interest may have with respect to any Allowed Claim or Interest or any distribution to be
made on account of such Allowed Claim or Interest. The entry of the Combined Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and
controversies as well as a finding by the Bankruptcy Court that such compromise or settlement is in the
best interests of the Debtors, the Estates, and Holders of Claims and Interests and is fair, equitable, and
reasonable. In accordance with the provisions of this Plan, pursuant to Bankruptcy Rule 9019, without any
further notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the

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Reorganized Debtors may compromise and settle Claims against the Debtors and the Estates and Causes of
Action against other Entities.

B.      Releases by the Debtors

       EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS PLAN OR THE
COMBINED ORDER, PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, AS
OF THE EFFECTIVE DATE, IN EXCHANGE FOR GOOD AND VALUABLE
CONSIDERATION, THE ADEQUACY OF WHICH IS HEREBY CONFIRMED, EACH
RELEASED PARTY, IN EACH CASE ON BEHALF OF ITSELF AND ITS RESPECTIVE
SUCCESSORS, ASSIGNS, AND REPRESENTATIVES, AND ANY AND ALL OTHER ENTITIES
WHO MAY PURPORT TO ASSERT ANY CLAIM OR CAUSE OF ACTION, DIRECTLY OR
DERIVATIVELY, BY, THROUGH, FOR, OR BECAUSE OF THE FOREGOING ENTITIES, IS
AND IS DEEMED TO BE, FOREVER AND UNCONDITIONALLY RELEASED AND
ABSOLVED, BY EACH DEBTOR, REORGANIZED DEBTOR, AND THE ESTATES FROM ANY
AND ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN,
INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF
THE DEBTORS, THE ESTATES, OR THE REORGANIZED DEBTORS THAT SUCH ENTITY
WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN ITS OWN RIGHT (WHETHER
INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM
AGAINST, OR INTEREST IN, A DEBTOR OR OTHER ENTITY, BASED ON OR RELATING
TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, (1) THE
MANAGEMENT, OWNERSHIP, OR OPERATION OF THE DEBTORS OR THE NON-DEBTOR
AFFILIATES, (2) THE PURCHASE, SALE, OR RESCISSION OF ANY SECURITY OF THE
DEBTORS OR THE NON-DEBTOR AFFILIATES, (3) THE SUBJECT MATTER OF, OR THE
TRANSACTIONS, EVENTS, CIRCUMSTANCES, ACTS OR OMISSIONS GIVING RISE TO,
ANY CLAIM OR INTEREST THAT IS TREATED IN THE RESTRUCTURING
TRANSACTIONS, INCLUDING THE NEGOTIATION, FORMULATION, OR PREPARATION
OF THE RESTRUCTURING TRANSACTIONS, (4) THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS BETWEEN ANY DEBTOR OR NON-DEBTOR AFFILIATE AND ANY
OTHER ENTITY, (5) THE DEBTORS’ AND NON-DEBTOR AFFILIATES’ IN- OR OUT-OF-
COURT RESTRUCTURING EFFORTS, (6) INTERCOMPANY TRANSACTIONS, (7) THE
TRANSACTION SUPPORT AGREEMENT, THE DEFINITIVE DOCUMENTS, THE ABL
FACILITY DOCUMENTS, THE TERM LOAN DOCUMENTS, THE DIP FACILITY
DOCUMENTS, THE EXIT FACILITIES DOCUMENTS (AND ANY FINANCING PERMITTED
THEREUNDER), THE CHAPTER 11 CASES, OR ANY RESTRUCTURING TRANSACTION,
(8) ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT
CREATED OR ENTERED INTO IN CONNECTION WITH THE TRANSACTION SUPPORT
AGREEMENT, THE DEFINITIVE DOCUMENTS, OR THE RESTRUCTURING
TRANSACTIONS, INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES
PURSUANT TO THIS PLAN, (9) THE DISTRIBUTION, INCLUDING ANY DISBURSEMENTS
MADE BY A DISTRIBUTION AGENT, OF PROPERTY UNDER THIS PLAN OR ANY OTHER
RELATED AGREEMENT, OR (10) ANY OTHER ACT OR OMISSION, TRANSACTION,
AGREEMENT, EVENT, OR OTHER OCCURRENCE RELATED TO ANY OF THE
FOREGOING AND TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE; PROVIDED,
THAT THE DEBTORS DO NOT RELEASE CLAIMS OR CAUSES OF ACTION ARISING OUT
OF, OR RELATED TO, ANY ACT OR OMISSION OF A RELEASED PARTY THAT IS
DETERMINED BY FINAL ORDER OF THE BANKRUPTCY COURT OR ANY OTHER COURT
OF COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD, GROSS
NEGLIGENCE, OR WILLFUL MISCONDUCT (IT BEING AGREED THAT ANY RELEASED
PARTIES’ CONSIDERATION, APPROVAL, OR RECEIPT OF ANY DISTRIBUTION DID NOT

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ARISE FROM OR RELATE TO ACTUAL FRAUD, GROSS NEGLIGENCE, OR WILLFUL
MISCONDUCT).   NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE (1) ANY POST
EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THIS PLAN, THE
COMBINED ORDER, ANY OTHER DEFINITIVE DOCUMENT, ANY RESTRUCTURING
TRANSACTION, ANY DOCUMENT, INSTRUMENT, OR AGREEMENT (INCLUDING THOSE
SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THIS PLAN, OR
ANY CLAIM OR OBLIGATION ARISING UNDER THIS PLAN OR (2) ANY CAUSES OF
ACTION SPECIFICALLY RETAINED BY THE DEBTORS PURSUANT TO THE SCHEDULE
OF RETAINED CAUSES OF ACTION.

     ENTRY OF THE COMBINED ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE DEBTOR
RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS
AND DEFINITIONS CONTAINED IN THIS PLAN, AND FURTHER, SHALL CONSTITUTE
THE BANKRUPTCY COURT’S FINDING THAT THE DEBTOR RELEASE IS: (1) IN
EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED BY EACH OF
THE RELEASED PARTIES, INCLUDING THE RELEASED PARTIES’ SUBSTANTIAL
CONTRIBUTIONS TO FACILITATING THE RESTRUCTURING TRANSACTIONS AND
IMPLEMENTING THIS PLAN; (2) A GOOD-FAITH SETTLEMENT AND COMPROMISE OF
THE CLAIMS RELEASED BY THE DEBTOR RELEASE; (3) IN THE BEST INTERESTS OF
THE DEBTORS AND ALL HOLDERS OF CLAIMS AND INTERESTS; (4) FAIR, EQUITABLE,
AND REASONABLE; (5) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY FOR
HEARING; AND (6) A BAR TO ANY OF THE DEBTORS, THE REORGANIZED DEBTORS, OR
THE DEBTORS’ ESTATES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED
PURSUANT TO THE DEBTOR RELEASE.

C.      Releases by Holders of Claims and Interests

       EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS PLAN OR THE
COMBINED ORDER, AS OF THE EFFECTIVE DATE, IN EXCHANGE FOR GOOD AND
VALUABLE CONSIDERATION, THE ADEQUACY OF WHICH IS HEREBY CONFIRMED,
EACH RELEASING PARTY, IN EACH CASE ON BEHALF OF ITSELF AND ITS RESPECTIVE
SUCCESSORS, ASSIGNS, AND REPRESENTATIVES, AND ANY AND ALL OTHER ENTITIES
WHO MAY PURPORT TO ASSERT ANY CLAIM OR CAUSE OF ACTION, DIRECTLY OR
DERIVATIVELY, BY, THROUGH, FOR, OR BECAUSE OF THE FOREGOING ENTITIES, HAS
AND IS DEEMED TO HAVE, FOREVER AND UNCONDITIONALLY, RELEASED AND
ABSOLVED EACH RELEASED PARTY FROM ANY AND ALL CLAIMS AND CAUSES OF
ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY DERIVATIVE CLAIMS
ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE ESTATES, OR THE
REORGANIZED DEBTORS THAT SUCH ENTITY WOULD HAVE BEEN LEGALLY
ENTITLED TO ASSERT IN ITS OWN RIGHT (WHETHER INDIVIDUALLY OR
COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM AGAINST, OR
INTEREST IN, A DEBTOR, BASED ON OR RELATING TO, OR IN ANY MANNER ARISING
FROM, IN WHOLE OR IN PART, (1) THE MANAGEMENT, OWNERSHIP, OR OPERATION
OF THE DEBTORS OR THE NON-DEBTOR AFFILIATES, (2) THE PURCHASE, SALE, OR
RESCISSION OF ANY SECURITY OF THE DEBTORS OR THE NON-DEBTOR AFFILIATES,
(3) THE SUBJECT MATTER OF, OR THE TRANSACTIONS, EVENTS, CIRCUMSTANCES,
ACTS OR OMISSIONS GIVING RISE TO, ANY CLAIM OR INTEREST THAT IS TREATED IN
THE     RESTRUCTURING    TRANSACTIONS,    INCLUDING   THE   NEGOTIATION,
FORMULATION, OR PREPARATION OF THE RESTRUCTURING TRANSACTIONS, (4) THE

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BUSINESS OR CONTRACTUAL ARRANGEMENTS BETWEEN ANY DEBTOR OR NON-
DEBTOR AFFILIATE AND ANY OTHER ENTITY, (5) THE DEBTORS’ AND NON-DEBTOR
AFFILIATES’ IN- OR OUT-OF-COURT RESTRUCTURING EFFORTS, (6) INTERCOMPANY
TRANSACTIONS, (7) THE TRANSACTION SUPPORT AGREEMENT, THE DEFINITIVE
DOCUMENTS, THE ABL FACILITY DOCUMENTS, THE TERM LOAN DOCUMENTS, THE
DIP FACILITY DOCUMENTS, THE EXIT FACILITIES DOCUMENTS (AND ANY FINANCING
PERMITTED THEREUNDER), THE CHAPTER 11 CASES, OR ANY RESTRUCTURING
TRANSACTION, (8) ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT
OR DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE
TRANSACTION SUPPORT AGREEMENT, THE DEFINITIVE DOCUMENTS, OR THE
RESTRUCTURING TRANSACTIONS, INCLUDING THE ISSUANCE OR DISTRIBUTION OF
SECURITIES PURSUANT TO THIS PLAN, (9) THE DISTRIBUTION, INCLUDING ANY
DISBURSEMENTS MADE BY A DISTRIBUTION AGENT, OF PROPERTY UNDER THIS PLAN
OR ANY OTHER RELATED AGREEMENT, OR (10) ANY OTHER ACT, OR OMISSION,
TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE RELATING TO ANY OF
THE FOREGOING AND TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE;
PROVIDED, THAT THE RELEASING PARTIES DO NOT RELEASE CLAIMS OR CAUSES OF
ACTION ARISING OUT OF, OR RELATED TO, ANY ACT OR OMISSION OF A RELEASED
PARTY THAT IS DETERMINED BY FINAL ORDER OF THE BANKRUPTCY COURT OR ANY
OTHER COURT OF COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL
FRAUD, GROSS NEGLIGENCE, OR WILLFUL MISCONDUCT (IT BEING AGREED THAT
ANY RELEASED PARTIES’ CONSIDERATION, APPROVAL, OR RECEIPT OF ANY
DISTRIBUTION DID NOT ARISE FROM OR RELATE TO ACTUAL FRAUD, GROSS
NEGLIGENCE, OR WILLFUL MISCONDUCT). NOTWITHSTANDING ANYTHING TO THE
CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE
(1) ANY POST EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THIS
PLAN, THE COMBINED ORDER, ANY OTHER DEFINITIVE DOCUMENT, ANY
RESTRUCTURING TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR
AGREEMENT (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED
TO IMPLEMENT THIS PLAN, OR ANY CLAIM OR OBLIGATION ARISING UNDER THIS
PLAN OR (2) ANY CAUSES OF ACTION SPECIFICALLY RETAINED BY THE DEBTORS
PURSUANT TO THE SCHEDULE OF RETAINED CAUSES OF ACTION.

      ENTRY OF THE COMBINED ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL OF THE THIRD-PARTY RELEASE, WHICH INCLUDES BY
REFERENCE EACH OF THE RELATED PROVISIONS AND DEFINITIONS CONTAINED IN
THIS PLAN, AND, FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S
FINDING THAT THE THIRD-PARTY RELEASE IS: (1) CONSENSUAL; (2) GIVEN AND MADE
AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING; AND (3) A BAR TO ANY OF THE
RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED
PURSUANT TO THE THIRD-PARTY RELEASE.

D.      Exculpation

      EFFECTIVE AS OF THE EFFECTIVE DATE, TO THE FULLEST EXTENT
PERMITTED BY LAW, THE EXCULPATED PARTIES SHALL NEITHER HAVE NOR INCUR
ANY LIABILITY TO ANY PERSON OR ENTITY FOR ANY CLAIMS OR CAUSES OF ACTION
FOR ANY ACT TAKEN OR OMITTED TO BE TAKEN BETWEEN THE PETITION DATE AND
THE EFFECTIVE DATE IN CONNECTION WITH, OR RELATED TO, FORMULATING,
NEGOTIATING, PREPARING, DISSEMINATING, IMPLEMENTING, ADMINISTERING,
CONFIRMING OR EFFECTING THE CONFIRMATION OR CONSUMMATION (AS

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APPLICABLE) OF THIS PLAN, THE TRANSACTION SUPPORT AGREEMENT, AND THE
DISCLOSURE STATEMENT INCLUDING ANY DISBURSEMENTS MADE BY A
DISTRIBUTION AGENT IN CONNECTION WITH THIS PLAN, THE DISCLOSURE
STATEMENT, THE DEFINITIVE DOCUMENTS, THE PLAN SUPPLEMENT, THE ABL
FACILITY DOCUMENTS, THE TERM LOAN DOCUMENTS, THE DIP FACILITY
DOCUMENTS, THE EXIT FACILITIES DOCUMENTS (AND ANY FINANCING PERMITTED
THEREUNDER), OR ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT,
RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN
CONNECTION WITH THIS PLAN OR ANY OTHER POSTPETITION ACT TAKEN OR
OMITTED TO BE TAKEN IN CONNECTION WITH OR IN CONTEMPLATION OF THE
RESTRUCTURING OF THE DEBTORS, THE APPROVAL OF THE DISCLOSURE
STATEMENT OR CONFIRMATION OR CONSUMMATION OF THIS PLAN; PROVIDED,
THAT THE FOREGOING PROVISIONS OF THIS EXCULPATION SHALL NOT OPERATE TO
WAIVE OR RELEASE: (1) ANY CLAIMS OR CAUSES OF ACTION ARISING FROM
WILLFUL MISCONDUCT, ACTUAL FRAUD, OR GROSS NEGLIGENCE OF SUCH
APPLICABLE EXCULPATED PARTY AS DETERMINED BY FINAL ORDER OF THE
BANKRUPTCY COURT OR ANY OTHER COURT OF COMPETENT JURISDICTION;
AND/OR (2) THE RIGHTS OF ANY PERSON OR ENTITY TO ENFORCE THIS PLAN AND THE
CONTRACTS, INSTRUMENTS, RELEASES, INDENTURES, AND OTHER AGREEMENTS
AND DOCUMENTS DELIVERED UNDER OR IN CONNECTION WITH THIS PLAN OR
ASSUMED PURSUANT TO THIS PLAN OR FINAL ORDER OF THE BANKRUPTCY COURT;
PROVIDED, FURTHER, THAT EACH EXCULPATED PARTY SHALL BE ENTITLED TO
RELY UPON THE ADVICE OF COUNSEL CONCERNING ITS RESPECTIVE DUTIES
PURSUANT TO, OR IN CONNECTION WITH, THE ABOVE REFERENCED DOCUMENTS,
ACTIONS, OR INACTIONS.

      THE EXCULPATED PARTIES HAVE, AND UPON CONSUMMATION OF THIS PLAN
SHALL BE DEEMED TO HAVE, PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE
WITH THE APPLICABLE LAWS WITH REGARD TO THE SOLICITATION OF VOTES AND
DISTRIBUTION OF CONSIDERATION PURSUANT TO THIS PLAN AND, THEREFORE, ARE
NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS SHALL NOT BE, LIABLE AT ANY
TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION
GOVERNING THE SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THIS PLAN OR
SUCH DISTRIBUTIONS MADE PURSUANT TO THIS PLAN.

     THE FOREGOING EXCULPATION SHALL BE EFFECTIVE AS OF THE EFFECTIVE
DATE WITHOUT FURTHER NOTICE TO OR ORDER OF THE BANKRUPTCY COURT, ACT,
OR ACTION UNDER APPLICABLE LAW, REGULATION, ORDER, OR RULE OR THE VOTE,
CONSENT, AUTHORIZATION, OR APPROVAL OF ANY PERSON OR ENTITY. FOR THE
AVOIDANCE OF DOUBT AND NOTWITHSTANDING ANYTHING ELSE HEREIN, THE
FOREGOING EXCULPATION SHALL BE LIMITED TO PARTIES THAT SERVED AS
ESTATE FIDUCIARIES DURING THE CHAPTER 11 CASES.

E.      Permanent Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN OR THE
COMBINED ORDER, FROM AND AFTER THE EFFECTIVE DATE, ALL PERSONS AND
ENTITIES ARE, TO THE FULLEST EXTENT PROVIDED UNDER SECTION 524 AND OTHER
APPLICABLE PROVISIONS OF THE BANKRUPTCY CODE, PERMANENTLY ENJOINED
FROM (1) COMMENCING OR CONTINUING, IN ANY MANNER OR IN ANY PLACE, ANY
SUIT, ACTION OR OTHER PROCEEDING OF ANY KIND; (2) ENFORCING, ATTACHING,
COLLECTING, OR RECOVERING IN ANY MANNER OR MEANS ANY JUDGMENT, AWARD,
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DECREE, OR ORDER; (3) CREATING, PERFECTING, OR ENFORCING ANY LIEN OR
ENCUMBRANCE; (4) ASSERTING A RIGHT OF SETOFF OR SUBROGATION OF ANY KIND;
OR (5) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND, IN EACH CASE ON ACCOUNT OF OR WITH RESPECT TO
ANY CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION,
INTEREST, OR REMEDY RELEASED OR TO BE RELEASED, EXCULPATED OR TO BE
EXCULPATED, SETTLED OR TO BE SETTLED, OR DISCHARGED OR TO BE DISCHARGED
PURSUANT TO THIS PLAN OR THE COMBINED ORDER AGAINST ANY PERSON OR
ENTITY SO RELEASED, DISCHARGED, OR EXCULPATED (OR THE PROPERTY OR
ESTATE OF ANY PERSON OR ENTITY SO RELEASED, DISCHARGED, OR EXCULPATED).
ALL INJUNCTIONS OR STAYS PROVIDED FOR IN THE CHAPTER 11 CASES UNDER
SECTION 105 OR SECTION 362 OF THE BANKRUPTCY CODE, OR OTHERWISE, AND IN
EXISTENCE ON THE CONFIRMATION DATE, SHALL REMAIN IN FULL FORCE AND
EFFECT UNTIL THE EFFECTIVE DATE.

                                           Article X.
                                   RETENTION OF JURISDICTION

         Notwithstanding the entry of the Combined Order and the occurrence of the Effective Date, except
to the extent set forth herein or under applicable federal law, the Bankruptcy Court shall retain jurisdiction
over all matters arising out of, or related to, the Chapter 11 Cases and this Plan pursuant to sections 105(a)
and 1142 of the Bankruptcy Code, including jurisdiction to:

         A.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
or unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment
of any Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
priority, amount, or allowance of Claims or Interests;

        B.      decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Retained Professionals
authorized pursuant to the Bankruptcy Code or this Plan;

        C.      resolve any matters related to: (1) the assumption, assumption and assignment, or rejection
of any Executory Contract or Unexpired Lease to which a Debtor is party with respect to which a Debtor
may be liable and to hear, determine, and, if necessary, liquidate, any Cure Costs arising therefrom,
including Cure Costs pursuant to section 365 of the Bankruptcy Code; (2) any potential contractual
obligation under any Executory Contract or Unexpired Lease that is assumed; and (3) any dispute regarding
whether a contract or lease is or was executory or expired;

        D.       ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the
provisions of this Plan and the Combined Order;

        E.       adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
matters, and any other matters, and grant or deny any applications involving a Debtor that may be pending
on the Effective Date;

        F.       adjudicate, decide, or resolve any and all matters related to Causes of Action;

        G.       adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy
Code;



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        H.      resolve any cases, controversies, suits, or disputes that may arise in connection with any
Claims, including claim objections, allowance, disallowance, estimation, and distribution;

        I.      enter and implement such orders as may be necessary or appropriate to execute, implement,
or consummate the provisions of this Plan, the Combined Order, and all contracts, instruments, releases,
and other agreements or documents created in connection with this Plan, the Combined Order, or the
Disclosure Statement, including the Transaction Support Agreement;

        J.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
1146(a) of the Bankruptcy Code;

        K.       resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
connection with the interpretation or enforcement of this Plan, the Combined Order, or any contract,
instrument, release or other agreement or document that is entered into or delivered pursuant to this Plan or
the Combined Order, or any Entity’s rights arising from or obligations incurred in connection with this Plan
or the Combined Order;

        L.     issue injunctions, enter and implement other orders or take such other actions as may be
necessary or appropriate to restrain interference by any Entity with enforcement of this Plan or the
Combined Order;

        M.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
releases, injunctions, and other provisions contained in this Plan and enter such orders as may be necessary
or appropriate to implement such releases, injunctions, and other provisions;

         N.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim
or Interest for amounts not timely repaid;

        O.      enter and implement such orders as are necessary or appropriate if the Combined Order is
for any reason modified, stayed, reversed, revoked, or vacated;

        P.      determine any other matters that may arise in connection with or relate to this Plan, the
Disclosure Statement, the Combined Order, or any contract, instrument, release, indenture, or other
agreement or document created in connection with this Plan, the Combined Order, or the Disclosure
Statement;

        Q.       enter an order or final decree concluding or closing the Chapter 11 Cases;

        R.      adjudicate any and all disputes arising from or relating to distributions to Holders of Claims
and Interests under this Plan;

        S.      consider any modification of this Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Combined Order;

        T.       determine requests for payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

       U.       hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of this Plan, or the Combined Order, including disputes arising under agreements,
documents, or instruments executed in connection with this Plan;

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        V.      hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

        W.      hear and determine all disputes involving the existence, nature, or scope of the Debtors’
discharge, including without limitation any dispute relating to any liability arising out of the termination of
employment or the termination of any employee or retiree benefit program, regardless of whether such
termination occurred before or after the Effective Date;

        X.     hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of the releases, injunctions, and exculpations provided under Article IX;

        Y.       resolve any disputes concerning whether a Person had sufficient notice of the Chapter 11
Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11 Cases, in
each case, for the purpose of determining whether a Claim or Interest is discharged hereunder or for any
other purpose;

        Z.       enforce all orders previously entered by the Bankruptcy Court; and

      AA.    hear any other matter not inconsistent with the Bankruptcy Code, this Plan, or the
Combined Order.

         If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
including the matters set forth in this Article X, the provisions of this Article X shall have no effect on and
shall not control, limit, or prohibit the exercise of jurisdiction by any other court having competent
jurisdiction with respect to such matter.

        Notwithstanding anything to the contrary in this Plan: (1) the Bankruptcy Court’s jurisdiction to
hear and determine disputes concerning Claims against or Interests in the Debtors that arose before the
Effective Date, including, without limitation, any Claims based in whole or in part on any conduct of the
Debtors occurring on or before the Effective Date, shall be non-exclusive; (2) any dispute arising under or
in connection with the Exit Facility Documents, New Governance Documents, and New Stockholders
Agreement shall be dealt with in accordance with the provisions of the applicable document; and (3) as of
the Effective Date, the Exit Facility Amendment shall be governed by the jurisdictional provisions therein.

                                     Article XI.
                 MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

A.      Modification of Plan

         Subject to the terms of the Transaction Support Agreement and the limitations contained in this
Plan, the Debtors or Reorganized Debtors reserve the right to, in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and the Transaction Support Agreement: (1) amend or modify this Plan before the entry
of the Combined Order, including amendments or modifications to satisfy section 1129(b) of the
Bankruptcy Code; (2) amend or modify this Plan after the entry of the Combined Order in accordance with
section 1127(b) of the Bankruptcy Code and the Transaction Support Agreement upon order of the
Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency in this Plan in
such manner as may be necessary to carry out the purpose and intent of this Plan upon order of the
Bankruptcy Court.




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B.      Effect of Confirmation on Modifications

         Entry of the Combined Order shall mean that all modifications or amendments to this Plan since
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
additional disclosure or re-solicitation under Bankruptcy Rule 3019.

C.      Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur

         Subject to the conditions to the Effective Date, the Debtors reserve the right, subject to the terms
of the Transaction Support Agreement, to revoke or withdraw this Plan before the entry of the Combined
Order and to File subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan, or if
entry of the Combined Order or the Effective Date does not occur, or if the Transaction Support Agreement
terminates in accordance with its terms before the Effective Date, then: (1) this Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in this Plan, assumption or rejection of
Executory Contracts or Unexpired Leases effected by this Plan, and any document or agreement executed
pursuant hereto shall be deemed null and void; and (3) nothing contained in this Plan shall: (a) constitute
a waiver or release of any Claims by or against, or any Interests in, such Debtor or any other Entity;
(b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an admission of
any sort by the Debtors or any other Entity; provided, that any Restructuring Fees and Expenses that have
been paid as of the date of revocation or withdrawal of this Plan shall remain paid and shall not be subject
to disgorgement or repayment without further order of the Bankruptcy Court.

                                           Article XII.
                                   MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect

         Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, upon the occurrence of
the Effective Date, the terms of this Plan and the documents and instruments contained in the Plan
Supplement shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Reorganized Debtors, and any and all Holders of Claims and Interests (irrespective of whether Holders of
such Claims or Interests are deemed to have accepted this Plan), all Entities that are parties to or are subject
to the settlements, compromises, releases, discharges, and injunctions described in this Plan, each Entity
acquiring property under this Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
Leases, and notwithstanding whether or not such Person or Entity (1) shall receive or retain any property,
or interest in property, under this Plan, (2) has filed a Proof of Claim in the Chapter 11 Cases (if applicable)
or (3) failed to vote to accept or reject this Plan, affirmatively voted to reject this Plan, or is conclusively
presumed to reject this Plan. The Combined Order shall contain a waiver of any stay of enforcement
otherwise applicable, including pursuant to Bankruptcy Rule 3020(e) and 7062.

B.      Additional Documents

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements
and other documents as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of this Plan. The Debtors or Reorganized Debtors, as applicable, and all Holders of Claims and
Interests receiving distributions pursuant to this Plan and all other parties in interest shall, from time to
time, prepare, execute, and deliver any agreements or documents and take any other actions as may be
necessary or advisable to effectuate the provisions and intent of this Plan or the Combined Order.

C.      Payment of United States Trustee Statutory Fees

        All United States Trustee Statutory Fees due and payable to the United States Trustee before the
Effective Date shall be paid by the Debtors on the Effective Date. After the Effective Date, any and all
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United States Trustee Statutory Fees shall be paid to the United States Trustee when due and payable. The
Debtors shall file all monthly operating reports due before the Effective Date when they become due, using
UST Form 11-MOR. After the Effective Date, the Reorganized Debtors shall each file with the Bankruptcy
Court separate UST Form 11-PCR reports when they become due, until the earliest of the Debtors’ or
Reorganized Debtors’ case being closed, dismissed, or converted to a case under chapter 7 of the
Bankruptcy Code. The United States Trustee shall not be required to File a request for an Administrative
Claim for United States Trustee Statutory Fees, and shall not be treated as providing any release under this
Plan.

D.      Reservation of Rights

        This Plan shall have no force or effect unless and until the Bankruptcy Court enters the Combined
Order. None of the filing of this Plan, any statement or provision contained in this Plan, or the taking of
any action by any Debtor with respect to this Plan, the Disclosure Statement, or the Plan Supplement shall
be or shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders
of Claims or Interests before the Effective Date.

E.      Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be binding
on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

F.      No Successor Liability

          Except as otherwise expressly provided in this Plan and the Combined Order, each of the
Reorganized Debtors (1) is not, and shall not be deemed to assume, agree to perform, pay, or otherwise
have any responsibilities for any liabilities or obligations of the Debtors or any other Person relating to or
arising out of the operations or the assets of the Debtors on or before the Effective Date, (2) is not, and shall
not be, a successor to the Debtors by reason of any theory of law or equity or responsible for the knowledge
or conduct of any Debtor before the Effective Date, and (3) shall not have any successor or transferee
liability of any kind or character.

G.      Service of Documents

        After the Effective Date, any pleading, notice, or other document required by this Plan to be served
on or delivered to the Reorganized Debtors shall also be served on:

                      Debtors                                         Counsel to the Debtors

 JOANN Inc.                                            Young Conaway Stargatt & Taylor LLP
 5555 Darrow Road                                      Rodney Square
 Hudson, Ohio 44236                                    1000 North King Street
 Attn: Ann Aber                                        Wilmington, Delaware 19801
                                                       Attn: Michael R. Nestor and Kara Hammond Coyle
                                                       and
                                                       Latham & Watkins LLP
                                                       1271 Avenue of the Americas
                                                       New York, New York 10020
                                                       Attn: George A. Davis and Alexandra M. Zablocki


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                                                   and
                                                   Latham & Watkins LLP
                                                   355 South Grand Avenue, Suite 100
                                                   Los Angeles, California 90071
                                                   Attn: Ted A. Dillman and Nicholas J. Messana
                                                   and
                                                   Latham & Watkins LLP
                                                   330 North Wabash Avenue, Suite 2800,
                                                   Chicago, Illinois 60611
                                                   Attn: Ebba Gebisa

              United States Trustee                           Counsel to the Ad Hoc Group

 Office of the United States Trustee for the       Morris, Nichols, Arsht & Tunnell LLP
 District of Delaware                              1201 North Market Street, 16th Floor, P.O. Box
 844 King Street, Suite 2207                       1347
 Wilmington, Delaware 19801                        Wilmington, Delaware 19899-1347
 Attn: Timothy J. Fox, Jr. and Malcolm M.          Attn: Robert Dehney, Matthew Harvey, and Brenna
 Bates                                             Dolphin
                                                   and
                                                   Gibson, Dunn & Crutcher LLP
                                                   200 Park Avenue
                                                   New York, New York 10166-0193
                                                   Attention: Scott J. Greenberg, Joshua Brody, and
                                                   Kevin Liang

       Counsel to the ABL Facility Agent                  Counsel to the FILO Term Loan Agent

 Morgan, Lewis & Bockius LLP                       Choate, Hall & Stewart LLP
 One Federal Street                                Two International Place
 Boston, Massachusetts 02110                       Boston, Massachusetts 02110
 Attn: Marjorie S. Crider and Christopher L.       Attn: John F. Ventola, Seth D. Mennillo, and
 Carter                                            Jonathan Marshall
 and                                               and
 Reed Smith LLP                                    DLA Piper LLP (US)
 1201 Market Street, Suite 1500                    1201 North Market Street, Suite 2100
 Wilmington, Delaware 19801                        Wilmington, Delaware 19801
 Attn: Kurt F. Gwynne                              Attn: Stuart M. Brown




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                                                                 Counsel to the Consenting
       Counsel to Certain FILO Lenders
                                                                   Stockholder Parties

 Proskauer Rose LLP                                  Richards, Layton & Finger, P.A.
 Eleven Times Square                                 One Rodney Square
 New York, NY 10036                                  920 North King Street
 Attn: Andrew Bettwy and Megan Volin                 Wilmington, Delaware 19801
                                                     Attn: Mark D. Collins and Michael J. Merchant
 and
 Proskauer Rose LLP
 One International Place
 Boston, MA 02110
 Attn: Charles Dale

H.      Term of Injunctions or Stays

        Unless otherwise provided in this Plan or in the Combined Order, all injunctions or stays in effect
in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays contained in
this Plan or the Combined Order) shall remain in full force and effect until the Effective Date. All
injunctions or stays contained in this Plan or the Combined Order shall remain in full force and effect in
accordance with their terms.

I.      Entire Agreement

        On the Effective Date, this Plan and the Plan Supplement supersede all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on
such subjects, all of which have become merged and integrated into this Plan.

J.      Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving
effect to the principles of conflict of laws, shall govern the rights, obligations, construction, and
implementation of this Plan, the Plan Supplement, and any agreements, documents, instruments, or
contracts executed or entered into in connection with this Plan (except as otherwise set forth in those
agreements, in which case the governing law of such agreement shall control), and corporate governance
matters; provided, that corporate governance matters relating to Debtors or Reorganized Debtors, as
applicable, not incorporated in New York shall be governed by the laws of the jurisdiction of incorporation
of the applicable Debtor or Reorganized Debtor, as applicable.

K.      Exhibits

         All exhibits and documents included in the Plan Supplement are incorporated into and are a part of
this Plan as if set forth in full in this Plan. Except as otherwise provided in this Plan, such exhibits and
documents included in the Plan Supplement shall initially be Filed with the Bankruptcy Court on or before
the Plan Supplement Filing Date. After the exhibits and documents are Filed, copies of such exhibits and
documents shall have been available upon written request to the Debtors’ counsel at the address above or
by downloading such exhibits and documents from the Debtors’ restructuring website at
https://cases.ra.kroll.com/JOANN or the Bankruptcy Court’s website at www.deb.uscourts.gov. To the


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extent any exhibit or document is inconsistent with the terms of this Plan, unless otherwise ordered by the
Bankruptcy Court, the non-exhibit or non-document portion of this Plan shall control.

L.      Nonseverability of Plan Provisions upon Confirmation

         If, before Confirmation, any term or provision of this Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void or unenforceable, and such term or provision shall
then be applicable as altered or interpreted; provided, that any such alteration or interpretation shall be
acceptable to the Debtors and the Required Consenting Stakeholders. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of this Plan shall remain in full force
and effect and shall in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Combined Order shall constitute a judicial determination and shall provide that each
term and provision of this Plan, as it may have been altered or interpreted in accordance with the foregoing,
is: (1) valid and enforceable pursuant to its terms; (2) integral to this Plan and may not be deleted or
modified without the consent of the Debtors; and (3) nonseverable and mutually dependent.

M.      Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File
with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of
the Bankruptcy Court to close the Chapter 11 Cases.

N.      Conflicts

        To the extent that any provision of the Disclosure Statement, or any order entered before
Confirmation (for avoidance of doubt, not including the Combined Order) referenced in this Plan (or any
exhibits, appendices, supplements, or amendments to any of the foregoing), conflict with or are in any way
inconsistent with any provision of this Plan, this Plan shall govern and control. To the extent that any
provision of this Plan conflicts with or is in any way inconsistent with any provision of the Combined Order,
the Combined Order shall govern and control.

O.      No Strict Construction

        This Plan is the product of extensive discussions and negotiations between and among, inter alia,
the Debtors, the Consenting Stakeholders, and their respective professionals. Each of the foregoing was
represented by counsel of its choice who either participated in the formulation and documentation of, or
was afforded the opportunity to review and provide comments on, this Plan and the Disclosure Statement,
the exhibits and schedules thereto, and the other agreements and documents ancillary or related thereto.
Accordingly, unless explicitly indicated otherwise, the general rule of contract construction known as
“contra proferentem” or other rule of strict construction shall not apply to the construction or interpretation
of any provision of this Plan and the Disclosure Statement, the exhibits and schedules thereto, and the other
agreements and documents ancillary or related thereto.

P.      Section 1125(e) Good Faith Compliance

        The Debtors, the Reorganized Debtors, the Consenting Stakeholders, and each of their respective
current and former officers, directors, members (including ex officio members), managers, employees,
partners, advisors, attorneys, professionals, accountants, investment bankers, investment advisors,
actuaries, Affiliates, financial advisors, consultants, agents, and other representatives of each of the
foregoing Entities (whether current or former, in each case in his, her or its capacity as such) have, and
upon Confirmation shall be deemed to have, solicited votes on this Plan from the Voting Classes in
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compliance with the applicable provisions of the Bankruptcy Code, and any applicable non-bankruptcy
law, rule or regulation governing the adequacy of disclosure in connection with the solicitation, and acted
in “good faith” under section 1125(e) of the Bankruptcy Code; and therefore, no such parties, individuals,
or the Debtors or the Reorganized Debtors shall have any liability for the violation of any applicable law,
rule, or regulation governing the solicitation of votes on this Plan or the offer, issuance, sale, or purchase
of the Securities offered and sold under this Plan.

Q.      2002 Notice Parties

         After the Effective Date, the Debtors and the Reorganized Debtors, as applicable, are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have
Filed a renewed request after the Combined Hearing to receive documents pursuant to Bankruptcy Rule
2002.

        Respectfully submitted, as of the date first set forth above,

                                            JOANN Inc.
                                            (on behalf of itself and all other Debtors)

                                            By:       /s/ Scott Sekella
                                            Name:     Scott Sekella
                                            Title:    Executive Vice President and Chief Financial Officer




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                                    EXHIBIT B

                                     Blackline




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 SOLICITATION VERSION

                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------------   x
                                                                     :
In re:                                                               :   Chapter 11
                                                                     :
JOANN INC., et al.,                                                  :   Case No. 24-_______24-10418 (____CTG)
                                                                     :
                       Debtors.1                                     :   (Joint Administration RequestedJointly
                                                                     :   Administered)
------------------------------------------------------------------   x


     FIRST AMENDED PREPACKAGED JOINT PLAN OF REORGANIZATION OF JOANN INC.
                                      AND
         ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

     THIS CHAPTER 11 PLAN IS BEING SOLICITED FOR ACCEPTANCE OR REJECTION IN
     ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND WITHIN THE
     MEANING OF SECTION 1126 OF THE BANKRUPTCY CODE. THIS CHAPTER 11 PLAN
     SHALL BE SUBMITTED TO THE BANKRUPTCY COURT FOR APPROVAL FOLLOWING
     SOLICITATION AND THE DEBTORS FILING FOR CHAPTER 11 BANKRUPTCY.
     YOUNG CONAWAY STARGATT &
     TAYLOR LLP                            LATHAM & WATKINS LLP

     Michael R. Nestor (No. 3526)                                    George A. Davis (admitted pro hac vice
     Kara Hammond Coyle (No. 4410)                                   pending)
     Shane M. Reil (No. 6195)                                        Alexandra M. Zablocki (admitted pro hac vice
     Rebecca L. Lamb (No. 7223)                                      pending)
     Rodney Square                                                   1271 Avenue of the Americas
     1000 North King Street                                          New York, NY 10020
     Wilmington, DE 19801                                            Telephone:    (213) 485-1234
     Telephone:     (302) 571-6600                                   Email:        george.davis@lw.com
     Email:         mnestor&ycst.com                                               alexandra.zablocki@lw.com
                    kcoyle@ycst.com
                    sreil@ycst.com                                   Ted A. Dillman (admitted pro hac vice
                    rlamb@ycst.com                                   pending)
                                                                     Nicholas J. Messana (admitted pro hac vice
                                                                     pending)
     Proposed Counsel to the Debtors and Debtors
                                                                     355 South Grand Avenue, Suite 100
     in Possession
                                                                     Los Angeles, CA 90071
     Dated: March 16April 23, 2024                                   Telephone:     (213) 485-1234
                                                                     Email:         ted.dillman@lw.com
                                                                                    nicholas.messana@lw.com



 1
       The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number,
       are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions
       LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC
       (1594); JOANN Ditto Holdings Inc. (9652); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’
       mailing address is 5555 Darrow Road, Hudson, OH 44236.

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                                                Ebba Gebisa (admitted pro hac vice pending)
                                                330 North Wabash Avenue, Suite 2800
                                                Chicago, IL 60611
                                                Telephone:     (312) 876-7700
                                                Email:         ebba.gebisa@lw.com




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 FIRST AMENDED PREPACKAGED JOINT PLAN OF REORGANIZATION OF JOANN INC.
                                  AND
     ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

        JOANN Inc. and each of the other debtors and debtors-in-possession in the above-captioned
cases (collectively, the “Debtors”) propose this Plan (as defined herein) for the treatment and resolution
of the outstanding Claims against, and Interests in, the Debtors. Capitalized terms used in this Plan and
not otherwise defined have the meanings ascribed to such terms in Article I.A of this Plan.

        Although proposed jointly for administrative purposes, this Plan constitutes a separate Plan for
each Debtor for the treatment and resolution of outstanding Claims and Interests therein pursuant to the
Bankruptcy Code. The Debtors seek to consummate the Restructuring Transactions on the Effective
Date of this Plan. Each Debtor is a proponent of this Plan within the meaning of section 1129 of the
Bankruptcy Code. The classifications of Claims and Interests set forth in Article III of this Plan shall be
deemed to apply separately with respect to each Plan proposed by each Debtor, as applicable. This Plan
does not contemplate substantive consolidation of any of the Debtors.

         Reference is made to the Disclosure Statement for a discussion of the Debtors’ history,
businesses, results of operations, historical financial information, projections, and future operations, as
well as a summary and analysis of this Plan and certain related matters, including distributions to be
made under this Plan. There also are other agreements and documents, which shall be filed with the
Bankruptcy Court, that are referenced in this Plan, the Plan Supplement, or the Disclosure Statement as
exhibits and schedules. All such exhibits and schedules are incorporated into and are a part of this Plan
as if set forth in full herein. Subject to certain restrictions and requirements set forth in 11 U.S.C. §
1127, Fed. R. Bankr. P. 3019, and the terms and conditions set forth in this Plan, the Debtors reserve the
right to alter, amend, modify, revoke, or withdraw this Plan before its substantial consummation.

     ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THIS PLAN ARE
ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.

                                        Article I.
                       DEFINED TERMS AND RULES OF INTERPRETATION

A.      Defined Terms

        The following terms shall have the following meanings when used in capitalized form herein:

      1.       “ABL Claims” means any and all Claims arising under, derived from, or based upon the
ABL Facility including, without limitation, all Revolving Obligations (as defined in the ABL Credit
Agreement) and all Prepetition Revolving Obligations (as defined in the DIP/Cash Collateral Orders).

        2.      “ABL Credit Agreement” means that certain Amended and Restated Credit Agreement,
dated as of October 21, 2016, as amended by that certain First Amendment on November 25, 2020, that
certain Second Amendment on December 22, 2021, and that certain Third Amendment, dated as of
March 10, 2023, as amended, restated, amended and restated, modified, or supplemented from time to
time in accordance with the terms thereof.

      3.      “ABL Facility” means the senior secured asset based revolving credit facility under the
ABL Credit Agreement.




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        4.      “ABL Facility Agent” means Bank of America, N.A., in its capacity as administrative
agent and collateral agent under the ABL Facility and any replacement or successor agent thereto.

        5.     “ABL Facility Agent Advisors” means Morgan, Lewis & Bockius LLP, Reed Smith
LLP, AlixPartners LLP, and such other professional advisors as are retained by the ABL Facility Agent
or the Exit ABL Agent with the consent of the Debtors (not to be unreasonably withheld).

         6.    “ABL Facility Documents” means the ABL Credit Agreement together with all other
related documents, instruments, and agreements in respect of the ABL Facility, in each case, as amended,
restated, amended and restated, modified, or supplemented from time to time in accordance with the
terms thereof.

        7.      “ABL Lenders” means Holders of, or nominees, investment managers, investment
advisors, or subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the outstanding
ABL Claims.

        8.       “ABL Loans” means the loans under the ABL Facility.

        9.      “ABL/FILO Exit Commitment Letters” means those certain commitment letters
executed (a) by and between the Debtors, the ABL Facility Agent, and the ABL Lenders, and (b) by and
between the Debtors, the FILO Term Loan Agent, and the FILO Lenders, in each case, in form and
substance acceptable to the ABL Facility Agent, the FILO Term Loan Agent, the ABL Lenders, and the
FILO Lenders, and reasonably acceptable to the Required DIP Lenders.

        10.     “Acceptable ABL/FILO Plan” means this Plan, which is attached to the ABL/FILO Exit
Commitment Letters as Exhibit B, as it may be altered, amended, modified, or supplemented from time to
time in accordance with the ABL/FILO Exit Commitment Letters, and without material modification
except as approved in writing by the Required DIP Lenders (such approval shall not be unreasonably
withheld, conditioned, or delayed).

        11.      “Accordion Facility” means the accordion facility under the DIP Credit Agreement.

        12.      “Accordion Lender” means the lenders under the Accordion Facility.

        13.     “Ad Hoc Group” means that certain ad hoc group of Holders of Term Loan Claims
represented by, among others, Gibson, Dunn & Crutcher LLP and Morris, Nichols, Arsht & Tunnell LLP
and advised by Lazard Frères & Co. LLC.

       14.     “Ad Hoc Group Advisors” means Gibson, Dunn & Crutcher LLP, Morris, Nichols, Arsht
& Tunnell LLP, Lazard Frères & Co., and such other professional advisors as are retained by the Ad Hoc
Group with the consent of the Debtors (not to be unreasonably withheld).

       15.     “Additional Financing Parties” means, collectively, each Accordion Lender, Project
Swift LLC, and the Supporting Trade Creditors.

        16.     “Administrative Claim” means a Claim for costs and expenses of administration under
sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary
costs and expenses incurred on or after the Petition Date and through the Effective Date of preserving the
Estates and operating the businesses of the Debtors; (b) Professional Fee Claims, to the extent Allowed
by the Bankruptcy Court; (c) all fees and charges assessed against the Estates under chapter 123 of title
28 United States Code, 28 U.S.C. §§ 1911-1930; (d) Cure Costs; (e) Restructuring Fees and Expenses, in
accordance with the Transaction Support Agreement or the DIP/Cash Collateral Orders, as applicable,
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and (f) Independent Director Fee Claims, to the extent Allowed by the Bankruptcy Court and to the
extent incurred on or after the Petition Date and through the Effective Date; provided, that the foregoing
clauses (a) through (f) shall not be interpreted as enlarging the scope of sections 503(b), 507(b), or
1114(e)(2) of the Bankruptcy Code.

         17.    “Affiliate” means, with respect to any Entity, all Entities that would fall within the
definition of an “affiliate” as such term is defined in section 101(2) of the Bankruptcy Code. With
respect to any Entity that is not a Debtor, the term “Affiliate” shall apply to such Entity as if the Entity
were a Debtor.

        18.      “Agents” means the Prepetition Agents, DIP Agent, and Exit Facility AgentAgents.

         19.      “Allowed” means with respect to any Claim or Interest (or any portion thereof): (a) any
Claim or Interest as to which no objection to allowance, priority, or secured status, and no request for
estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
has been interposed (either in the Bankruptcy Court or in the ordinary course of business) on or before
any applicable period of limitation under applicable law or such other applicable period of limitation
fixed by the Bankruptcy Court; (b) any Claim or Interest as to which the liability of the Debtors and the
amount thereof are determined by a Final Order of the Bankruptcy Court or a court of competent
jurisdiction other than the Bankruptcy Court, either before or after the Effective Date; or (c) any Claim or
Interest expressly deemed Allowed by this Plan. Notwithstanding the foregoing: (x) any Claim or
Interest that is expressly disallowed pursuant to this Plan shall not be Allowed unless otherwise ordered
by the Bankruptcy Court; (y) unless otherwise specified in this Plan, the Allowed amount of Claims shall
be subject to and shall not exceed the limitations under or maximum amounts permitted by the
Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent applicable; and (z)
the Reorganized Debtors shall retain all claims and defenses with respect to Allowed Claims that are
Reinstated or otherwise Unimpaired pursuant to this Plan. “Allow,” “Allows,” and “Allowing” shall
have correlative meanings.

       20.      “Assumed Employee Agreements” means all existing employment agreements between
the Debtors and employees of the Debtors as of the Petition Date.

         21.     “Avoidance Actions” means any and all avoidance, recovery, subordination, or similar
actions or remedies that may be brought by or on behalf of the Debtors or the Estates under the
Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies arising under chapter
5 of the Bankruptcy Code or under similar or related local, state, federal, or foreign statutes and common
law, including fraudulent transfer laws, fraudulent conveyance laws, or other similar related laws.

        22.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

       23.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware or such other court having jurisdiction over the Chapter 11 Cases.

        24.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated
by the United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C.
§ 2075, as applicable to the Chapter 11 Cases, and the general, local, and chambers rules of the
Bankruptcy Court.




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        25.      “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as
that term is defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for commercial
business with the public in New York City, New York.

        26.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

        27.      “Cash Collateral” has the meaning set forth in section 363(a) of the Bankruptcy Code.

         28.     “Causes of Action” means any action, Claim, cross-claim, third-party claim, cause of
action, controversy, dispute demand, right, lien, indemnity, contribution, interest, guaranty, suit,
obligation, liability, lost, debt, fee or expense, damage, judgment, account, defense, offset, power,
privilege, proceeding, franchise, remedy, and license of any kind or character whatsoever, whether
known or unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
derivatively (including any alter ego theories), whether arising before, on, or after the Petition Date, as
applicable, in contract or in tort, in law (whether local, state, or federal U.S. or non-U.S. Law) or in
equity, or pursuant to any other theory of local, state, or federal U.S. or non-U.S. Law. For the avoidance
of doubt, “Causes of Action” include: (a) any right of setoff, counterclaim, or recoupment; (b) any Claim
based on or relating to, or in any manner arising from, in whole or in part, tort, breach of contract, breach
of fiduciary duty, actual or constructive fraudulent transfer or fraudulent conveyance or voidable
transaction or similar Law, violation of local, state, or federal or non-U.S. Law or breach of any duty
imposed by Law or in equity, including securities Laws, negligence, and gross negligence; (c) any Claim
pursuant to section 362 or chapter 5 of the Bankruptcy Code or similar local, state, or federal U.S. or
non-U.S. Law; (d) any Claim or defense including fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; (e) any Avoidance Actions relating to or
arising from any state or foreign Law pertaining to any Avoidance Action, including preferential transfer,
actual or constructive fraudulent transfer, fraudulent conveyance, or similar Claim; (f) the right to object
to or otherwise contest Claims or Interests; and (g) any “lender liability” or equitable subordination
Claims or defenses.

        29.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
voluntary case Filed for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court
and (b) when used with reference to all Debtors, the jointly administered chapter 11 cases for all of the
Debtors.

       30.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code. Except
where otherwise provided in context, “Claim” refers to such a claim against any of the Debtors.

        31.    “Claims Register” means the official register of Claims and Interests maintained by the
Notice and Claims Agent.

       32.       “Class” means a category of Claims or Interests as set forth in Article III of this Plan
pursuant to section 1122(a) of the Bankruptcy Code.

        33.     “Combined Hearing” means the hearing conducted by the Bankruptcy Court to consider
approval of the Disclosure Statement and confirmation of this Plan, as such hearing may be adjourned or
continued from time to time.




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       34.       “Combined Order” means the order of the Bankruptcy Court approving the Disclosure
Statement pursuant to sections 1125, 1126(b), and 1145 of the Bankruptcy Code and confirming this Plan
pursuant to section 1129 of the Bankruptcy Code.

         35.     “Compensation and Benefits Programs” means all employment, confidentiality, and
non-competition agreements, bonus, gainshare, and incentive programs (other than awards of equity
interests, stock options, restricted stock, restricted stock units, warrants, rights, convertible, exercisable,
or exchangeable securities, stock appreciation rights, phantom stock rights, redemption rights, profits
interests, equity-based awards, or contractual rights to purchase or acquire equity interest at any time and
all rights arising with respect thereto), vacation, holiday pay, severance, retirement, savings,
supplemental retirement, executive retirement, pension, deferred compensation, medical, dental, vision,
life and disability insurance, flexible spending account, and other health and welfare benefit plans,
employee expense reimbursement, and other compensation and benefit obligations of the Debtors, and all
amendments and modifications thereto, applicable to the Debtors’ employees, former employees, retirees,
and non-employee directors and the employees, former employees, and retirees of their subsidiaries.

        36.     “Confirmation” means the entry of the Combined Order by the Bankruptcy Court on the
docket of the Chapter 11 Cases.

        37.      “Confirmation Date” means the date on which Confirmation occurs.

       38.     “Consenting Stakeholders” means, collectively, the Consenting Term Lenders and
Consenting Stockholder Parties.

        39.     “Consenting Stockholder Parties” means Green Equity Investors CF, L.P., Green Equity
Investors Side CF, L.P., LGP Associates CF, LLC, and certain current or former members of the Parent
board of directors.

        40.     “Consenting Stockholder Party Advisors” means Richards, Layton & Finger, P.A., and
such other professional advisors as are retained by the Consenting Stockholder Parties with the consent
of the Debtors (not to be unreasonably withheld).

        41.      “Consenting Term Lenders” means Holders of, or nominees, investment managers,
investment advisors, or subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the
outstanding Term Loan Claims that have executed and delivered counterpart signature pages to the
Transaction Support Agreement, or signature pages to a Joinder or Transfer Agreement (as applicable),
to counsel to the Debtors.

        42.     “Cure Cost” means any and all amounts, including an amount of $0.00, required to cure
any monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may
be agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to be assumed by
the Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code.

         43.     “D&O Insurance Policies” means, collectively, all insurance policies (including any
“tail coverage” and all agreements, documents, or instruments related thereto) issued at any time to, or
providing coverage to, any of the Debtors or any of the Debtors’ current or former directors, members,
managers, or officers for alleged Wrongful Acts (as defined in the D&O Insurance Policies), or similarly
defined triggering acts, in their capacity as such.

        44.      “Debtor Release” means the releases set forth in Article IX.B of this Plan.


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        45.      “Debtors” has the meaning set forth in the preamble to this Plan.

        46.    “Deferred Compensation Plan” has the meaning set forth in the Motion of Debtors
for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay Certain Employee
Compensation and Benefits, (B) Maintain and Continue Such Benefits and Other Employee-Related
Programs, and (C) Pay Prepetition Claims of Contracted Labor, (II) Granting Relief from Automatic
Stay with Respect to Workers' Compensation Claims, and (III) Granting Related Relief [Docket No.
11].

         47.     46. “Definitive Documents” means all of the definitive documents implementing the
Restructuring Transactions set forth in Section 3.01 of the Transaction Support Agreement, and, in each
case, any amendments, modifications, and supplements thereto and any related notes, certificates,
agreements, documents, and instruments (as applicable), including, but not limited to: (a) this Plan and
all documentation necessary to consummate this Plan, including this Plan, the Plan Supplement, the
Disclosure Statement, the Solicitation Procedures Motion, the Solicitation Procedures Order, the
Solicitation Materials, and the Combined Order (including any exhibits or supplements filed with respect
to each of the foregoing); (b) the DIP Facility Documents (including the DIP/Cash Collateral Motion and
the DIP/Cash Collateral Orders); (c) the Exit Facilities Documents; (d) the New Organizational
Documents; (e) the New Stockholders Agreement; and (f) all other customary documents delivered in
connection with transactions of this type (including any and all material documents, Bankruptcy Court or
other judicial or regulatory orders, amendments, supplements, pleadings (including the First Day
Pleadings and all orders sought pursuant thereto), motions, filings, exhibits, schedules, appendices, or
modifications to any of the foregoing and any related notes, certificates, agreements, and instruments (as
applicable) necessary to implement the Restructuring Transactions).

        48.      47. “DIP Agent” means Wilmington Savings Fund Society, FSB, as administrative agent
and collateral agent under the DIP Credit Agreement, and any successors, assignees, or delegees thereof.

        49.     48. “DIP Agent Advisors” means ArentFox Schiff LLP and such other professional
advisors as are retained by the DIP Agent with the consent of the Debtors (not to be unreasonably
withheld).

        50.     49. “DIP Backstop Allocation Schedule” means the backstop allocation schedule in
respect of the DIP Facility attached as Exhibit 1 to the Transaction Term Sheet.

         51.      50. “DIP Backstop Fee” means, in exchange for the DIP Backstop Parties’ agreement to
backstop the entire amount of the DIP Facility, each DIP Backstop Party, as well as Project Swift LLC,
shall receive its Pro Rata Share of a backstop fee equal to twenty percent (20%) of the DIP Term Loans
in the form of an assumption of an equivalent amount of such DIP Backstop Party’s Term Loan Claims,
up to the amount thereof, and thereafter paid in kind; provided that any interest on additional DIP Term
Loans payable as part of such backstop fee shall be payable in kind; provided further that, to the extent a
DIP Backstop Party does not hold Term Loan Claims sufficient to pay such backstop fee, such amount of
the backstop fee shall be paid in an equivalent amount of DIP Term Loans. The DIP Backstop Fee shall
be earned on the date of execution of the Transaction Support Agreement, but subject to the entry of the
Interim DIP/Cash Collateral Order, and thereafter constitute DIP Claims. Any third party that funds the
Accordion Facility shall be entitled to, with the consent of the Required DIP Lenders, a fee no worse for
the Company than being paid to the DIP Backstop Parties.

       52.     51. “DIP Backstop Parties” means the Consenting Term Lenders set forth on the DIP
Backstop Allocation Schedule that have agreed to backstop and fund the full amount of the DIP Facility.


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         53.     52. “DIP Claim” means any and all Claims on account of, arising from, arising under, or
related to the DIP Facility, the DIP Facility Documents, or the DIP/Cash Collateral Orders, including
Claims for the aggregate outstanding principal amount of, plus unpaid interest on, the DIP Term Loans,
and all fees (including the DIP Backstop Fee and DIP Participation Fee) and other expenses related
thereto and arising and payable under the DIP Facility.

        54.     53. “DIP Credit Agreement” means that certain Senior Secured Superpriority
Debtor-in-Possession Credit Agreement in respect of the DIP Facility, as amended, restated, amended
and restated, modified, or supplemented from time to time in accordance with the terms thereof.

        55.    54. “DIP Facility” means the senior secured debtor-in-possession credit facility provided
by the DIP Lenders under the DIP Credit Agreement.

         56.     55. “DIP Facility Documents” means the DIP/Cash Collateral Orders and the DIP Credit
Agreement, together with all other related documents, instruments, and agreements in respect of the DIP
Facility, in each case, as amended, restated, amended and restated, modified, or supplemented from time
to time in accordance with the terms thereof.

         57.     56. “DIP Lenders” means the lenders holding the DIP Term Loans.

         58.     57. “DIP Participation Fee” means, in exchange for the DIP Lenders’ agreement to fund
the DIP Facility, each applicable DIP Lender shall receive its Pro Rata Share of a participation fee equal
to eighty-five percent (85%) of the New Equity Interests (subject to dilution only by the Management
Incentive Plan); provided that, for the avoidance of doubt, Project Swift LLC, as the only Additional
Financing Party providing “new money” DIP Term Loans, shall be the only Additional Financing Party
entitled to receive a share of the Participation Fee as set forth on its Joinder. The DIP Participation Fee
shall be earned on the date of entry of the Final DIP/Cash Collateral Order and thereafter constitute DIP
Claims.

         59.     58. “DIP Term Loan Claims” means Claims arising under or related to the DIP Term
Loans.

        60.    59. “DIP Term Loans” means loans made under the DIP Facility in an original aggregate
principal amount of approximately $132,000,000 plus up to $10,000,000 of additional loans under the
Accordion Facility plus additional loans paid as part of the DIP Backstop Fee.

       61.      60. “DIP/Cash Collateral Motion” means the motion(s) seeking approval of the
Debtors’ use of Cash Collateral and requesting approval to obtain debtor in possession financing on
terms substantially the same as those set forth in the Transaction Term Sheet and the DIP Facility
Documents.

       62.      61. “DIP/Cash Collateral Orders” means, together, the Interim DIP/Cash Collateral
Order and Final DIP/Cash Collateral Order.

        63.    62. “Disclosure Statement” means the disclosure statement for this Plan, including all
exhibits and schedules thereto, as amended, supplemented, or modified from time to time, that is
prepared and distributed in accordance with sections 1125, 1126(b), and 1145 of the Bankruptcy Code,
Bankruptcy Rule 3018, and other applicable law.

       64.      63. “Disputed” means, with respect to any Claim or Interest, except as otherwise
provided herein, a Claim or Interest that is not yet Allowed, but has not yet been disallowed pursuant to

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this Plan, the Bankruptcy Code, or a Final Order by the Bankruptcy Court or other court of competent
jurisdiction.

       65.     64. “Distribution Agent” means the Reorganized Debtors or any party designated by the
Debtors or Reorganized Debtors to serve as distribution agent under this Plan.

         66.     65. “Distribution Record Date” means, other than with respect to publicly held
securities, the date for determining which Holders of Claims are eligible to receive distributions under
this Plan on account of Allowed Claims, which date shall be the Confirmation Date or such other date
agreed to by the Debtors and the Required DIP Lenders, subject to Article VI.D of this Plan. For the
avoidance of doubt, the Distribution Record Date shall not apply to publicly traded securities, which
shall receive distributions, if any, in accordance with the applicable procedures of DTC.

        67.      66. “DTC” means The Depository Trust Company or any successor thereto.

         68.    67. “Effective Date” means the date on which all conditions specified in Article VIII.A
of this Plan have been (a) satisfied or (b) waived pursuant to Article VIII.B of this Plan.

        69.      68. “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

       70.     69. “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter
11 Case pursuant to section 541 of the Bankruptcy Code.

        71.    70. “Exchange Act” means the Securities Exchange Act of 1934, as now in effect or
hereafter amended, or any regulations promulgated thereunder.

         72.      71. “Exculpated Party” means, each in its capacity as such, (a) each of the Debtors and,
(b) solely to the extent they are Estate fiduciaries, the Debtors’ Related Parties.

        73.      72. “Executory Contract” means a contract to which one or more of the Debtors is a
party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code, other
than an Unexpired Lease.

        74.     73. “Existing Equity Interest” means any issued, unissued, authorized, or outstanding
shares or common stock, preferred shares, or other instrument evidencing an ownership interest in the
Parent, whether or not transferable, together with any warrants, equity-based awards, or contractual rights
to purchase or acquire such equity interests (including under any employment or benefits agreement) at
any time and all rights arising with respect thereto that existed immediately before the Effective Date.

         75.   74. “Existing Intercreditor Agreement” means the Intercreditor Agreement, dated as of
May 21, 2018, relating to the Term Loans, the ABL Facility, and the FILO Term Loans, as amended,
restated, amended and restated, modified, or supplemented from time to time in accordance with the
terms thereof.

        76.      “Exit ABL Agent” means the agent under the senior secured asset based revolving
credit facility under the Exit ABL/FILO Facility Amendment.

         77.     75. “Exit ABL Loans” means loans under the senior secured asset based revolving credit
facility under the Exit ABL/FILO Facility Amendment.

        78.     76. “Exit ABL/FILO Facility Amendment” means that certain ABL Facility agreement
to be effective as of the Effective Date relating to the Exit ABL Loans and the Exit FILO Loans,
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which may be the existingSecond Amended & Restated Credit Agreement to be executed by and
among Jo-Ann Stores, LLC, an Ohio limited liability company, Joann Holdings 2, LLC, a
Delaware corporation, Needle Holdings LLC, a Delaware limited liability company, Bank of
America, N.A., as administrative agent (in such capacity, including any successor thereto) and as
collateral agent (in such capacity, including any successor thereto) under the Loan Documents (as
defined in the ABL Credit Agreement, ), 1903P Loan Agent, LLC, as documentation agent for the
FILO Facility (as defined in the ABL Credit Agreement) (in such capacity, including any successor
thereto), and each lender from time to time party thereto (as amended, restated, amended and
restated, modified, or supplemented from time to time in accordance with theits terms thereof, and shall
be in accordance with the ABL/FILO Exit Commitment Letters and reasonably acceptable to the
Required DIP Lenders).

        79.     77. “Exit Facilities” means the facilities under which the Exit ABL Loans, Exit FILO
Loans, and Exit Term Loans shall be issued.

        80.      78. “Exit Facilities Documents” means the Exit ABL/FILO Facility Amendment,
ABL/FILO Exit Commitment Letters, Exit Term Loan Documents, and Exit Intercreditor Agreement,
together with all other related documents, instruments, and agreements in respect of the Exit Facilities, in
each case, as amended, restated, amended and restated, modified, or supplemented from time to time in
accordance with the terms thereof.

       81.     79. “Exit Facility Agent” means Wilmington Savings Fund Society, FSB.Agents”
means the Exit ABL Agent, the Exit FILO Agent, and the Exit Term Loan Agent.

        82.    80. “Exit Facility Agent Advisors” means ArentFox Schiff LLP and such other
professional advisors as are retained by the Exit Facility Agent with the consent of the Debtors or
Reorganized Debtors (not to be unreasonably withheld).FILO Agent” means the agent under the
senior secured last-out term loan facility under the Exit ABL/FILO Facility Amendment.

        83.     81. “Exit FILO Loans” means loans under the senior secured last-out term loan facility
under the Exit ABL/FILO Facility Amendment.

         84.     82. “Exit Intercreditor Agreement” means the intercreditor agreement(s) to be effective
as of the Effective Date relating to the Exit Facilities, which may be the Existing Intercreditor Agreement
or substantially similar to the Existing Intercreditor Agreement.

        85.      83. “Exit Term Lenders” means the lenders holding the Exit Term Loans.

        86.      “Exit Term Loan Agent” means Wilmington Savings Fund Society, FSB.

        87.     “Exit Term Loan Agent Advisors” means ArentFox Schiff LLP and such other
professional advisors as are retained by the Exit Term Loan Agent with the consent of the Debtors or
Reorganized Debtors (not to be unreasonably withheld).

        88.     84. “Exit Term Loans” means term loans under the Exit Term Loan Credit Agreement in
an aggregate principal amount of up to approximately $165,500,000 (plus accrued interest) comprising
converted DIP Term Loans (inclusive of DIP Term Loans paid as part of the DIP Backstop Fee and
assuming the full amount of the Accordion Facility is funded) in the same aggregate principal amount
(plus accrued interest) based on amounts outstanding under the DIP Facility on the Effective Date.



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        89.      85. “Exit Term Loan Credit Agreement” means the credit agreement between
Reorganized Parent or its subsidiaries or affiliates, as applicable, and the lenders party thereto to
effectuate the issuance of the Exit Term Loans.

        90.      86. “Exit Term Loan Documents” means the Exit Term Loan Credit Agreement and
together with all other related documents, instruments, and agreements in respect of the Exit Term Loans,
in each case, as amended, restated, modified, or supplemented from time to time.

       91.    87. “File” or “Filed” or “Filing” means file, filed, or filing, respectively, with the
Bankruptcy Court or its authorized designee in the Chapter 11 Cases.

        92.      88. “FILO Claims” means Claims arising under or related to the FILO Term Loans.

        93.   89. “FILO Facility” means the senior secured last-out term loan facility under the ABL
Credit Agreement.

        94.      90. “FILO Fee Letter” means that certain FILO Fee Letter, dated as of March 10, 2023,
as amended, restated, amended and restated, modified, or supplemented from time to time in accordance
with the terms thereof.

        95.     91. “FILO Intercreditor Agreement” means that certain Agreement Among Lenders,
dated as of May 10, 2023, relating to the FILO Term Loans, as amended, restated, amended and restated,
modified, or supplemented from time to time in accordance with the terms thereof.

        96.     92. “FILO Lenders” means Holders of, or nominees, investment managers, investment
advisors, or subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the outstanding
FILO Term Loans.

        97.      93. “FILO Prepayment Premium” has the meaning set forth in the FILO Fee Letter
(including, for the avoidance of doubt, the “Make Whole Amount” (as defined in the FILO Fee Letter)).

         98.     94. “FILO Term Loan Advisors” means Choate, Hall & Stewart LLP, DLA Piper LLP
(US), Proskauer Rose LLP, AlixPartners LLP, and such other professional advisors as are retained by the
FILO Term Loan Agent and the FILO Lenders or the Exit FILO Agent with the consent of the Debtors
(not to be unreasonably withheld).

        99.    95. “FILO Term Loan Agent” means, collectively, (a) Bank of America, N.A., in its
capacity as administrative agent and collateral agent under the FILO Term Loans and any replacement or
successor agent thereto, and (b) 1903P LOAN AGENT, LLC, in its capacity as FILO Documentation
Agent under the FILO Term Loans and any replacement or successor agent thereto.

        100.     96. “FILO Term Loans” means the first-in last-out term loans under the FILO Facility.

         101.    97. “Final DIP/Cash Collateral Order” means any order (and all exhibit and schedules
thereto, including any budget) entered by the Bankruptcy Court on a final basis: (a) approving the DIP
Facility, the DIP Facility Documents, and the DIP/Cash Collateral Motion; (b) authorizing the Debtors’
use of Cash Collateral; and (c) providing for adequate protection of secured creditors.

        102.     98. “Final Order” means an order entered by the Bankruptcy Court or other court of
competent jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked, and as to
which (i) any right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has
been waived or (ii) the time to appeal or seek leave to appeal, certiorari, review, reargument, stay, or
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rehearing has expired and no appeal, motion for leave to appeal, or petition for certiorari, review,
reargument, stay, or rehearing is pending or (b) as to which an appeal has been taken, a motion for leave
to appeal, or petition for certiorari, review, reargument, stay, or rehearing has been filed and (i) such
appeal, motion for leave to appeal or petition for certiorari, review, reargument, stay, or rehearing has
been resolved by the highest court to which the order or judgment was appealed or from which leave to
appeal, certiorari, review, reargument, stay, or rehearing was sought and (ii) the time to appeal (in the
event leave is granted) further or seek leave to appeal, certiorari, further review, reargument, stay, or
rehearing has expired and no such appeal, motion for leave to appeal, or petition for certiorari, further
review, reargument, stay, or rehearing is pending; provided, that the possibility that a motion under Rule
60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be
filed with respect to such order shall not preclude such order from being a Final Order.

          103.    99. “First Day Pleadings” means any petition, motion, application, or proposed order
filed at the commencement of the Chapter 11 Cases that the Debtors determine are necessary or desirable
to file with the Bankruptcy Court.

        104.    100. “General Administrative Claim” means any Administrative Claim, other than a
Professional Fee Claim, a Claim for Restructuring Fees and Expenses (in accordance with the
Transaction Support Agreement or the DIP/Cash Collateral Orders, as applicable), a DIP Claim, or a
Claim for fees and charges assessed against the Estates under chapter 123 of title 28 United States Code,
28 U.S.C. §§ 1911-1930.

         105.    101. “General Unsecured Claim” means any Unsecured Claim including (a) Claims
arising from the rejection of unexpired leases or executory contracts (if any) and (b) Claims arising from
any litigation or other court, administrative, or regulatory proceeding, including damages or judgments
entered against, or settlement amounts owing by a Debtor in connection therewith.

        106.    102. “Governance Term Sheet” means the term sheet setting forth the preliminary
material terms in respect of the corporate governance of Reorganized Parent to be included in the Plan
Supplement, including all exhibits and schedules thereto, as it may be altered, amended, modified, or
supplemented from time to time in accordance with the terms of the Transaction Support Agreement.

       107.    103. “Governmental Unit” means a governmental unit as defined in section 101(27) of
the Bankruptcy Code.

        108.     104. “Holder” means an Entity holding a Claim or Interest, as applicable.

        109.    105. “Impaired” means, with respect to any Claim or Interest, a Claim or Interest that is
“impaired” within the meaning of section 1124 of the Bankruptcy Code.

        110.     106. “Indemnification Provisions” means each of the Debtors’ indemnification
provisions in effect as of the Petition Date, whether in the Debtors’ memoranda and articles of
association, bylaws, certificates of incorporation, other formation documents, board resolutions,
management or indemnification agreements, employment contracts, or otherwise providing a basis for
any obligation of a Debtor to indemnify, defend, reimburse, or limit the liability of, or to advance fees
and expenses to, any of the Debtors’ current and former directors, officers, equity holders, managers,
members, employees, accountants, investment bankers, attorneys, and other professionals of the Debtors,
and each of the foregoing solely in their capacity as such.




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         111.    107. “Independent Director Fee Claims” means, as of the Effective Date, all reasonable
and documented unpaid fees and expenses due to the independent directors of the Debtors pursuant to
their respective director agreements with the applicable Debtor Entity.

         112.     108. “Insurance Contracts” means (a) any and all insurance policies issued at any time
to, or that otherwise may provide or may have provided coverage to, any of the Debtors, regardless of
whether the insurance policies were issued to a Debtor or to a Debtor’s prior Affiliates, subsidiaries, or
parents or otherwise, or to any of their predecessors, successors, or assigns, and(b) any and all
agreements, documents, surety bonds, or other instruments relating thereto, including any and all
agreements with a third party administrator for claims handling, risk control or related services, any and
all D&O Insurance Policies, and any and all Workers’ Compensation Contracts, and (c) any and all
collateral documents and security agreements securing the Debtor’s obligations under the
insurance policies, including, without limitation, escrow accounts, deposit accounts, cash collateral,
and letters of credit. For the avoidance of doubt, Insurance Contracts include any insurance policies
issued at any time to the Debtors’ prior Affiliates, subsidiaries, and parents or otherwise, or to any of
their predecessors, successors, or assigns, under which Debtors had, have, or may have any rights solely
to the extent of the Debtors’ rights thereunder.

         113.    109. “Insurer” means any company or other Entity that issued or entered into an
Insurance Contract (including any third party administrator) and any respective predecessors and/or
Affiliates thereof.

         114.    110. “Intercompany Claim” means a prepetition Claim held by a Debtor or Non-Debtor
Affiliate against a Debtor.

        115.    111. “Intercompany Interest” means any issued, unissued, authorized, or outstanding
shares of common stock, preferred stock, or other instrument evidencing an ownership interest in any
Debtor other than the Parent, whether or not transferable, together with any warrants, equity-based
awards, or contractual rights to purchase or acquire such equity interests at any time and all rights arising
with respect thereto that existed immediately before the Effective Date.

         116.   112. “Interests” means, collectively, the shares (or any class thereof), common stock,
preferred stock, limited liability company interests, membership interests, and any other equity,
ownership, or profits interests in any Debtor, and options, warrants, rights, stock appreciation rights,
phantom units, incentives, commitments, calls, redemption rights, repurchase rights, or other securities or
arrangements to acquire or subscribe for, or which are convertible into, or exercisable or exchangeable
for, the shares (or any class thereof) of, common stock, preferred stock, limited liability company
interests, membership interests, or any other equity, ownership, or profits interests in any Debtor or its
Affiliates and subsidiaries (in each case whether or not arising under or in connection with any
employment agreement).

        117.    113. “Interim DIP/Cash Collateral Order” means any order (and all exhibit and
schedules thereto, including any budget) entered by the Bankruptcy Court on an interim basis: (a)
approving the DIP Facility, the DIP Facility Documents, and the DIP/Cash Collateral Motion; (b)
authorizing the Debtors’ use of Cash Collateral; and (c) providing for adequate protection of secured
creditors.

        118.    114. “Joinder” means a joinder to the Transaction Support Agreement, substantially in
the form attached as Exhibits C, D, E, F, or G thereto, providing, among other things, that such Person



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signatory thereto is bound by the terms of the Transaction Support Agreement to the extent provided
therein.

        119.     115. “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        120.    116. “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the District of Delaware.

        121.     117. “Management Incentive Plan” means the management incentive plan to be adopted
by the Reorganized Board on or around the Effective Date, which shall provide for the issuance to
management, key employees, and/or directors of the Reorganized Debtors of the fully diluted New
Equity Interests.

         122.     118. “New Equity Interests” means the outstanding equity interests in Reorganized
Parent to be authorized, issued, or reserved on the Effective Date, which interests may be membership
interests of a limited liability company or common equity interests of a corporation.

        123.     119. “New Organizational Documents” means the new Organizational Documents of
Reorganized Parent and its direct or indirect subsidiaries, and the identity of proposed members of
Reorganized Parent’s board of directors, after giving effect to the Restructuring Transactions, as
applicable, including any shareholders agreement, registration rights agreement, or similar document.

        124.    120. “New Stockholders Agreement” means, to the extent applicable, the stockholders
agreement applicable to the New Equity Interests, which shall be consistent with the Governance Term
Sheet included as part of the Plan Supplement.

        125.   121. “Non-Debtor Affiliates” means all of the Affiliates of the Debtors, other than the
other Debtors.

        126.   122. “Notice and Claims Agent” means Kroll Restructuring Administration LLC, in its
capacity as noticing, claims, and solicitation agent for the Debtors, pursuant to an order of the
Bankruptcy Court.

         127.    123. “Organizational Documents” means, with respect to any Person other than a
natural person, the documents by which such Person was organized or formed (such as a certificate of
incorporation, certificate of formation, certificate of limited partnership, or articles of organization, and
including any certificates of designation for preferred stock or other forms of preferred equity) or which
relate to the internal governance of such Person (such as by-laws, a partnership agreement, or an
operating, limited liability company, shareholders, or members agreement).

        128.    124. “Other Priority Claim” means any Claim accorded priority in right of payment
under section 507(a) of the Bankruptcy Code, other than: (a) Administrative Claims or (b) Priority Tax
Claims.

       129.    125. “Other Secured Claim” means any Secured Claim other than the ABL Claims,
FILO Claims, and Term Loan Claims.

       130.   126. “Parent” means JOANN Inc., a Delaware corporation with a mailing address of
5555 Darrow Road, Hudson, OH 44236.

        131.     127. “Person” means a person as defined in section 101(41) of the Bankruptcy Code.

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        132.     128. “Petition Date” means the date on which the Debtors filefiled their voluntary
chapter 11 petitions, which is expected to occur on or aboutwas March 18, 2024.

        133.    129. “Plan” means this prepackaged joint plan of reorganization under chapter 11 of the
Bankruptcy Code, as it may be altered, amended, modified, or supplemented from time to time in
accordance with the Bankruptcy Code, the Bankruptcy Rules, or the terms hereof, as the case may be,
and the Plan Supplement, which is incorporated herein by reference, including all exhibits and schedules
hereto and thereto.

        134.    130. “Plan Supplement” means one or more supplemental appendices to this Plan,
which shall include, among other things, draft forms of documents (or terms sheets thereof), schedules,
and exhibits to this Plan, in each case subject to the provisions of the Transaction Support Agreement,
the Transaction Term Sheet, or the Exit ABL/FILO Exit Commitment Letters, as applicable, and as may
be amended, modified, or supplemented from time to time on or before the Effective Date, including the
following documents: (a) the New Organizational Documents, (b) the Exit Facilities Documents, (c) to
the extent known and determined, the identity of the members of the Reorganized Board, (d) the Rejected
Executory Contract/Unexpired Lease List, (e) a schedule of retained Causes of Action, (f) the New
Stockholders Agreement (to the extent applicable); (g) the Governance Term Sheet; (h) the Restructuring
Transaction Steps Memorandum; and (i) such other documents as may be specified in this Plan.

        135.     131. “Plan Supplement Filing Date” means the date on which the Plan Supplement is
Filed with the Bankruptcy Court, which shall be at least five (5) Business Days before the deadline to
File objections to Confirmation.

      136.   132. “Prepetition Agents” means the ABL Facility Agent, FILO Term Loan Agent, and
Term Loan Agent.

      137.     133. “Prepetition Intercreditor Agreements” means the Existing Intercreditor
Agreement and the FILO Intercreditor Agreement.

        138.     134. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
specified in section 507(a)(8) of the Bankruptcy Code.

        139.    135. “Professional Fee Claim” means a Claim by a Retained Professional seeking an
award by the Bankruptcy Court of compensation for services rendered or reimbursement of expenses
incurred through and including the Effective Date under sections 328, 330, 331, 503(b)(2), 503(b)(3),
503(b)(4), or 503(b)(5) of the Bankruptcy Code (subject to any applicable agreements by such Retained
Professional with respect thereto).

        140.   136. “Professional Fee Escrow Account” means a segregated interest-bearing account
funded by the Debtors with Cash no later than two (2) Business Days before the anticipated Effective
Date in an amount equal to the Professional Fee Escrow Amount.

         141.    137. “Professional Fee Escrow Amount” means the aggregate amount of Professional
Fee Claims and other unpaid fees and expenses the Retained Professionals have incurred or shall incur in
rendering services in connection with the Chapter 11 Cases before and as of the Effective Date, which
shall be estimated pursuant to the method set forth in Article II.A.2 of this Plan.

       142.      138. “Proof of Claim” means a proof of Claim Filed against any Debtor in the Chapter
11 Cases.


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        143.    139. “Pro Rata Share” means, with respect to any distribution on account of an Allowed
Claim, a distribution equal in amount to the ratio (expressed as a percentage) that the amount of such
Allowed Claim bears to the aggregate amount of all Allowed Claims in its Class.

         144.   140. “Reinstatement” means, with respect to Claims and Interests, that the Claim or
Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.
“Reinstated” shall have a correlative meaning.

         145.    141. “Rejected Executory Contract/Unexpired Lease List” means the list of Executory
Contracts and/or Unexpired Leases (including any amendments or modifications thereto), if any, that
shall be rejected pursuant to this Plan, which shall be filed with the Plan Supplement.

        146.     142. “Related Parties” means, with respect to an Entity, each of, and in each case in its
capacity as such, such Entity’s current and former Affiliates, and such Entity’s and such Affiliates’
current and former members, directors, managers, officers, proxyholders, control persons, investment
committee members, special committee members, members of any governing body, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles, managed accounts or funds (including any beneficial holders for the account of
whom such funds are managed), predecessors, participants, successors, assigns, subsidiaries, Affiliates,
partners, limited partners, general partners, principals, members, management companies, fund advisors
or managers, employees, agents, trustees, advisory board members, financial advisors, attorneys
(including any other attorneys or professionals retained by any current or former director or manager in
his or her capacity as director or manager of an Entity), accountants, investment bankers, consultants,
representatives, investment managers, and other professionals and advisors, each in their capacity as
such, and any such person’s or Entity’s respective heirs, executors, estates, and nominees.

        147.   143. “Release Opt-Out Form” means the form to be provided to certain Holders of
Claims through which such Holders may elect to affirmatively opt out of the Third-Party Release.

         148.      144. “Released Party” means, collectively, each of, and in each case in its capacity as
such: (a) each Debtor; (b) each Reorganized Debtor; (c) each Non-Debtor Affiliate; (d) each of the
Debtors’ and Non-Debtor Affiliates’ current and former directors, officers, and proxyholders; (e) each
Consenting Stakeholder; (f) each Prepetition Agent; (g) each ABL Lender; (h) each FILO Lender; (i) the
DIP Agent; (j) each DIP Lender; (k) theeach Exit Facility Agent; (l) each lender under the Exit
Facilities; (m) each Additional Financing Party; (n) each Releasing Party; and (o) each Related Party of
each Entity in clauses (a) through (m); provided, that, in each case, an Entity shall not be a Released
Party if it (i) elects to opt out of the Third-Party Release as provided on its respective Release Opt-Out
Form or (ii) timely Files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to
the Third-Party Release that is not resolved before Confirmation; provided, further, that, for the
avoidance of doubt, any opt-out election made by a Consenting Stakeholder or an Additional Financing
Party shall be void ab initio.

         149.     145. “Releases” means, collectively, the Debtor Release and the Third-Party Release as
set forth in Article IX hereof.

        150.     146. “Releasing Parties” means, collectively, each of, and in each case in its capacity as
such: (a) each DebtorNon-Debtor Affiliate; (b) each Reorganized Debtor; (c) each Non-Debtor
Affiliate; (d) each of the Debtors’ and Non-Debtor Affiliates’ current and former directors, officers, and
proxyholders; (ec) each Consenting Stakeholder; (fd) each Prepetition Agent; (ge) each ABL Lender;
(hf) each FILO Lender; (ig) the DIP Agent; (jh) each DIP Lender; (ki) theeach Exit Facility Agent; (lj)
each lender under the Exit Facilities; (mk) each Additional Financing Party; (nl) each Holder of a Claim

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that is Unimpaired under this Plan that does not elect to opt out of the Releases contained in this Plan;
(om) each Holder of a Claim that is entitled to vote on this Plan and either (i) votes to accept this Plan,
(ii) abstains from voting on this Plan and does not elect to opt out of the Releases contained in this Plan,
or (iii) votes to reject this Plan and does not elect to opt out of the Releases contained in this Plan; and
(pn) each Related Party of each Entity in clauses (a) through (o)m), but solely to the extent such
Related Party would be obligated to grant a release under principles of agency if it were so
directed by the Entity in the foregoing clauses (a) through (m) to whom they are related; provided,
that, for the avoidance of doubt, any opt-out election made by a Consenting Stakeholder or an Additional
Financing Party shall be void ab initio.

        151.    147. “Reorganized Board” means the initial board of directors or similar governing body
of the Reorganized Parent.

        152.    148. “Reorganized Debtors” means, on or after the Effective Date, the Debtors, as
reorganized pursuant to and under this Plan, or any successor thereto.

       153.     149. “Reorganized Parent” means, on or after the Effective Date, Parent as reorganized
pursuant to and under this Plan.

        154.      150. “Representatives” means, with respect to any Person, such Person’s Affiliates and
its and their directors, officers, members, partners, managers, employees, agents, investment bankers,
attorneys, accountants, advisors, investment advisors, investors, managed accounts or funds, management
companies, fund advisors, advisory board members, professionals, and other representatives, in each
case, solely in their capacities as such.

       155.   151. “Required Consenting Stakeholders” means, as of any time, the Required
Consenting Term Lenders and the Required Consenting Stockholder Parties at such time.

        156.    152. “Required Consenting Stockholder Parties” means, as of any time, Consenting
Stockholder Parties holding at least fifty and one hundredth percent (50.01%) of the aggregate issued and
outstanding Existing Equity Interests that are held by Consenting Stockholder Parties at such time.

       157.    153. “Required Consenting Term Lenders” means, as of any time, Consenting Term
Lenders holding at least fifty and one hundredth percent (50.01%) of the Term Loan Claims that are held
by Consenting Term Lenders at such time.

        158.     154. “Required DIP Lenders” means, as of any time, DIP Lenders holding at least fifty
and one hundredth percent (50.01%) of the aggregate outstanding principal amount and commitments of
the DIP Facility at such time.

         159.    155. “Restructuring Fees and Expenses” means all reasonable and documented fees and
expenses of the (a) Agents; (b) ABL Facility Agent Advisors; (c) FILO Term Loan Advisors; (d) Term
Loan Agent Advisors; (e) DIP Agent Advisors; (f) Exit FacilityTerm Loan Agent Advisors; (g) Ad Hoc
Group Advisors; (h) Consenting Stockholder Party Advisors; and (i) advisors to the Additional Financing
Parties, in each case, payable in accordance with the terms hereof, the applicable engagement and/or fee
letters with the Debtors, the Transaction Support Agreement, the DIP Facility Documents, the Term Loan
Documents, the ABL Credit Agreement, the ABL/FILO Exit Facility Commitment Letters, and the
Interim DIP/Cash Collateral Order, as applicable, and subject to any order of the Bankruptcy Court and
any other applicable agreements by such party with respect thereto.



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         160.   156. “Restructuring Transaction Steps Memorandum” means the document setting
forth the sequence of certain Restructuring Transactions.

        161.     157. “Restructuring Transactions” means the transactions described in Article IV.B of
this Plan.

        162.    158. “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases
pursuant to a Final Order in accordance with sections 327 and/or 1103 of the Bankruptcy Code and to be
compensated for services rendered before the Effective Date, pursuant to sections 327, 328, 329, 330, or
331 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been allowed by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

        163.     159. “SEC” means the United States Securities and Exchange Commission.

        164.    160. “Secured Claim” means a Claim: (a) secured by a Lien on property in which the
Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by
reason of a Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy
Code, to the extent of the value of the creditor’s interest in the Estate’s interest in such property or to the
extent of the amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
Bankruptcy Code or (b) otherwise Allowed pursuant to this Plan or order of the Bankruptcy Court as a
secured claim.

        165.     161. “Securities” means any instruments that qualify as a “security” under Section
2(a)(1) of the Securities Act.

      166.     162. “Securities Act” means the Securities Act of 1933, as now in effect or hereafter
amended, or any regulations promulgated thereunder.

        167.    163. “Solicitation Materials” means any documents, forms, ballots, notices, and other
materials provided in connection with the solicitation of votes on this Plan pursuant to sections 1125 and
1126 of the Bankruptcy Code.

         168.   164. “Solicitation Procedures Motion” means the Motion of Debtors for Entry of Order
(I) Scheduling Combined Hearing to Consider (A) Approval of Disclosure Statement, (B) Approval of
Solicitation Procedures and Forms of Ballots, and (C) Confirmation of Plan; (II) Establishing an
Objection Deadline to Object to Disclosure Statement and Plan; (III) Approving the Form and Manner
of Notice of Combined Hearing, Objection Deadline, and Notice of Commencement; (IV) Approving
Notice and Objection Procedures for the Assumption or Rejection of Executory Contracts and Unexpired
Leases; (V) Conditionally Waiving Requirement of Filing Schedules of Assets and Liabilities, Statements
of Financial Affairs, and 2015.3 Reports; (VI) Conditionally Waiving Requirement to Convene the
Section 341 Meeting of Creditors; and (VII) Granting Related Relief to be filed on the Petition Date.

         169.    165. “Solicitation Procedures Order” means an order of the Bankruptcy Court granting
the relief requested in the Solicitation Procedures Motion.

        170.    166. “Subordinated Claim” means any Claim against the Debtors that is subject to
subordination under section 509(c), section 510(b), or section 510(c) of the Bankruptcy Code, including
any Claim for reimbursement, indemnification, or contribution (except indemnification or reimbursement
Claims assumed hereunder).



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        171.    “Supporting Trade Creditor Fee” means, in exchange for the Supporting Trade
Creditors’ agreement to participate in the DIP Facility, each Supporting Trade Creditor shall
receive its Pro Rata Share of a fee equal to twelve and one half percent (12.5%) of the New Equity
Interests (subject to dilution only by the Management Incentive Plan). The Supporting Trade
Creditor Fee shall be earned on the date of entry of the Final DIP/Cash Collateral Order and
thereafter constitute DIP Claims.

       172.   167. “Supporting Trade Creditors” means, collectively, the Holders of General
Unsecured Claims that have executed Joinders.

        173.    168. “Term Loan Agent” means Wilmington Savings Fund Society, FSB, in its capacity
as administrative agent and collateral agent under the Term Loan Credit Agreement and any replacement
or successor agent thereto.

        174.    169. “Term Loan Agent Advisors” means ArentFox Schiff LLP and such other
professional advisors as are retained by the Term Loan Agent with the consent of the Debtors (not to be
unreasonably withheld).

        175.  170. “Term Loan Claims” means Claims arising under or related to the Term Loan
Credit Agreement.

        176.   171. “Term Loan Credit Agreement” means that certain Credit Agreement, dated as of
October 21, 2016, as amended by that certain Incremental Amendment No. 1 on July 21, 2017 and that
certain Amendment No. 2 on July 7, 2021, as amended, restated, amended and restated, modified, or
supplemented from time to time in accordance with the terms thereof.

        177.     172. “Term Loan Documents” means the Term Loan Credit Agreement together with all
other related documents, instruments, and agreements in respect of the Term Loans, in each case, as
amended, restated, amended and restated, modified, or supplemented from time to time in accordance
with the terms thereof.

      178.    173. “Term Loans” means the senior secured first-lien term loans issued pursuant to the
Term Loan Credit Agreement.

       179.     174. “Third-Party Release” means the releases given by the Releasing Parties to the
Released Parties in Article IX.C hereof.

       180.    175. “Transaction Support Agreement” means that certain Transaction Support
Agreement entered into on March 15, 2024, among the Debtors and certain of the Consenting
Stakeholders and any exhibits, schedules, attachments, or appendices thereto (in each case, as such may
be amended, modified, or supplemented in accordance with its terms).

       181.    176. “Transaction Term Sheet” means the term sheet attached as Exhibit B to the
Transaction Support Agreement, together with the exhibits and appendices annexed thereto.

        182.     177. “Transfer Agreement” means the transfer agreement, substantially in the form
attached as Exhibit H to the Transaction Support Agreement, providing, among other things, that a
transferee is bound by the terms of the Transaction Support Agreement.

         183.     178. “Unexpired Lease” means a lease to which one or more of the Debtors is a party
that is subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

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         184.     179. “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

          185.     180. “United States” means the United States of America, its agencies, departments, or
agents.

         186.   181. “United States Trustee” means the Office of the United States Trustee for the
District of Delaware.

        187.   182. “United States Trustee Statutory Fees” means the quarterlyall fees due to the
United States Trustee under 28 U.S.C § 1930(a)(6), plus any interest due and payable under 31
U.S.C. § 3717 on all disbursements, including Plan payments and disbursements in and outside the
ordinary course of the Debtors’ or Reorganized Debtors’ businesses (or such amount agreed to
with the United States Trustee or ordered by the Bankruptcy Court)..

       188.     183. “Unsecured Claim” means a claim that is not secured by a Lien on property in
which one of the Debtors’ Estates has an interest.

       189.   184. “Voting Class” means Class 2 (ABL Claims), Class 3 (FILO Claims), and Class 4
(Term Loan Claims).

        190.    185. “Workers’ Compensation Contracts” means the Debtors’ written contracts,
agreements, agreements of indemnity, self-insured workers’ compensation bonds, policies, programs, and
Plans for workers’ compensation and workers’ compensation Insurance Contracts.

B.        Rules of Interpretation

         1.      For purposes herein: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless
otherwise specified, any reference herein to a contract, instrument, release, indenture, or other agreement
or document being in a particular form or on particular terms and conditions means that the referenced
document shall be substantially in that form or substantially on those terms and conditions; (c) unless
otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not
Filed, having been Filed, or to be Filed shall mean that document, schedule, or exhibit, as it may
thereafter be amended, modified, or supplemented; (d) any reference to any Entity as a Holder of a Claim
or Interest includes that Entity’s successors and assigns; (e) unless otherwise specified, all references
herein to “Articles” are references to Articles of this Plan; (f) unless otherwise specified, the words
“herein,” “hereof,” and “hereto” refer to this Plan in its entirety rather than to a particular portion of this
Plan; (g) subject to the provisions of any contract, certificate of incorporation, by-law, instrument,
release, or other agreement or document created or entered into in connection with this Plan, the rights
and obligations arising pursuant to this Plan shall be governed by, and construed and enforced in
accordance with, applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (h)
unless otherwise specified, the words “include” and “including,” and variations thereof, shall not be
deemed to be terms of limitation, and shall be deemed to be followed by the words “without limitation”;
(i) references to “shareholders,” “directors,” and/or “officers” shall also include “members” and/or
“managers,” as applicable, as such terms are defined under the applicable state limited liability company
laws; (j) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the like shall
include “Proofs of Interests,” “Holders of Interests,” “Disputed Interests,” and the like, as applicable;
(k) captions and headings to Articles and subdivisions thereof are inserted for convenience of reference
only and are not intended to be a part of or to affect the interpretation hereof; (l) unless otherwise

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specified, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (m) any
term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code
or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be; (n) unless otherwise specified, all references to statutes,
regulations, orders, rules of courts, and the like shall mean as in effect on the Effective Date and as
applicable to the Chapter 11 Cases; (o) any effectuating provisions may be interpreted by the
Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of this Plan
all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity, and
such interpretation shall control; (p) references to docket numbers are references to the docket numbers
of documents Filed in the Chapter 11 Cases under the Bankruptcy Court’s CM/ECF system; and (q) all
references herein to consent, acceptance, or approval may be conveyed by counsel for the respective
parties that have such consent, acceptance, or approval rights, including by electronic mail.

        2.       Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to this Plan shall occur on a day that is not a Business Day, then such
transaction shall instead occur on the next succeeding Business Day. Unless otherwise specified herein,
any references to the Effective Date shall mean the Effective Date or as soon as reasonably practicable
thereafter.

        3.      All references in this Plan to monetary figures refer to currency of the United States,
unless otherwise expressly provided.

        4.       Except as otherwise specifically provided in this Plan to the contrary, references in this
Plan to the Debtors or to the Reorganized Debtors mean the Debtors and the Reorganized Debtors, as
applicable, to the extent the context requires.

C.      Consent Rights

        Notwithstanding anything to the contrary in this Plan, the Combined Order, or the Disclosure
Statement, any and all consent, consultation, and approval rights set forth in the Transaction Support
Agreement and the ABL/FILO Exit Commitment Letters, including rights and limitations with respect to
the form and substance of any Definitive Document (including any amendments, restatements,
supplements, or other modifications to such documents, and any consents, waivers, or other deviations
under or from any such documents) shall be incorporated herein by this reference (including to the
applicable definitions in Article I.A) and fully enforceable as if stated in full herein.




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                                 Article II.
               ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS,
     OTHER PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority
Tax Claims, and Other Priority Claims have not been classified and thus are excluded from the Classes of
Claims and Interests set forth in Article III.

A.      Administrative Claims

        1.       General Administrative Claims

        Subject to the provisions of sections 328, 330(a), and 331 of the Bankruptcy Code, except to the
extent that a Holder of an Allowed General Administrative Claim and the applicable Debtor(s) or
Reorganized Debtor(s), as applicable, agree to less favorable treatment with respect to such Allowed
General Administrative Claim, each Holder of an Allowed General Administrative Claim shall receive, in
full and final satisfaction of its General Administrative Claim, an amount in Cash equal to the unpaid
amount of such Allowed General Administrative Claim in accordance with the following: (a) if such
General Administrative Claim is Allowed on or before the Effective Date, on the Effective Date or as
soon as reasonably practicable thereafter or, if not then due, when such Allowed General Administrative
Claim is due or as soon as reasonably practicable thereafter; (b) if such General Administrative Claim is
Allowed after the Effective Date, on the date such General Administrative Claim is Allowed or as soon
as reasonably practicable thereafter or, if not then due, when such Allowed General Administrative
Claim is due or as soon as reasonably practicable thereafter; (c) at such time and upon such terms as may
be agreed upon by such Holder and the Debtors or the Reorganized Debtors, as the case may be; or (d) at
such time and upon such terms as set forth in an order of the Bankruptcy Court; provided, that Allowed
General Administrative Claims that arise in the ordinary course of the Debtors’ businesses during the
Chapter 11 Cases shall be paid by such applicable Debtor or Reorganized Debtor in full in Cash in the
ordinary course of business in accordance with the terms and conditions of any controlling agreements,
course of dealing, course of business, or industry practice without further notice to or order of the
Bankruptcy Court. Nothing in the foregoing or otherwise in this Plan shall prejudice the Debtors’ or the
Reorganized Debtors’ rights and defenses regarding any asserted General Administrative Claim.

        2.       Professional Fee Claims

                 a.       Professional Fee Applications

         All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred before the Effective Date must be Filed no later than thirty (30) days
after the Effective Date. The Bankruptcy Court shall determine the Allowed amounts of such
Professional Fee Claims after notice and a hearing in accordance with the procedures established by the
Bankruptcy Code, the Bankruptcy Rules, and prior Bankruptcy Court orders. TheSubject to any
applicable agreements by the Retained Professionals with respect to Professional Fee Claims, the
Reorganized Debtors shall pay Professional Fee Claims owing to the Retained Professionals in Cash in
the amount the Bankruptcy Court Allows from funds held in the Professional Fee Escrow Account, as
soon as reasonably practicable after such Professional Fee Claims are Allowed by entry of an order of the
Bankruptcy Court; provided, that the Debtors’ and the Reorganized Debtors’ obligations to pay Allowed
Professional Fee Claims shall not be limited or deemed limited to funds held in the Professional Fee
Escrow Account. To the extent that funds held in the Professional Fee Escrow Account are insufficient
to satisfy the Allowed amount of Professional Fee Claims owing to the Retained Professionals, the
Reorganized Debtors shall pay such amounts within ten (10) Business Days of entry of the order
approving such Professional Fee Claims.

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                 b.       Professional Fee Escrow Account

         The Professional Fee Escrow Account shall be maintained in trust solely for the Retained
Professionals and for no other Entities until all Professional Fee Claims Allowed by the Bankruptcy
Court have been irrevocably paid in full in Cash pursuant to one or more Final Orders of the Bankruptcy
Court. No Liens, claims, or interests shall encumber the Professional Fee Escrow Account or Cash held
in the Professional Fee Escrow Account in any way. No funds held in the Professional Fee Escrow
Account shall be property of the Estates of the Debtors or the Reorganized Debtors. When all
Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full in Cash
pursuant to one or more Final Orders of the Bankruptcy Court, any remaining funds held in the
Professional Fee Escrow Account shall be remitted to the Reorganized Debtors without any further
notice to or action, order, or approval of the Bankruptcy Court or any other Entity being required.

                 c.       Professional Fee Escrow Amount

         No later than five (5) days before the anticipated Effective Date, the Retained Professionals shall
deliver to the Debtors a reasonable and good-faith estimate of their unpaid fees and expenses incurred in
rendering services to the Debtors before and as of the Effective Date projected to be outstanding as of the
anticipated Effective Date. For the avoidance of doubt, no such estimate shall be considered or deemed
an admission or limitation with respect to the amount of the fees and expenses that are the subject of a
Retained Professional’s final request for payment of Professional Fee Claims Filed with the Bankruptcy
Court, and such Retained Professionals are not bound to any extent by the estimates. If a Retained
Professional does not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and
expenses of such Retained Professional. The total aggregate amount so estimated to be outstanding as of
the anticipated Effective Date shall be utilized by the Debtors to determine the amount to be funded to
the Professional Fee Escrow Account; provided, that the Reorganized Debtors shall use Cash on hand to
increase the amount of the Professional Fee Escrow Account to the extent fee applications are Filed after
the Effective Date in excess of the amount held in the Professional Fee Escrow Account based on such
estimates.

         For the avoidance of doubt, the terms of this Article II.A.2.c shall not apply to the parties entitled
to receive the Restructuring Fees and Expenses. , which are authorized to be paid in accordance with
the Combined Order, this Plan, engagement and/or fee letters with the Debtors, the Transaction
Support Agreement, the DIP Facility Documents, and the ABL/FILO Exit Commitment Letters (as
applicable).

B.      DIP Claims

         Except to the extent that a Holder of an Allowed DIP Claim and the Debtor(s) against which such
Allowed DIP Claim is asserted agree to a less favorable treatment, in exchange for full and final
satisfaction, settlement, release, and the discharge of each Allowed DIP Claim, each Holder of an
Allowed DIP Claim shall receive, on the Effective Date, its Pro Rata Share of: (1) the New Equity
Interests equal to the amount of the DIP Participation Fee or the Supporting Trade Creditor Fee; and
(2) in respect of the DIP Term Loan Claims, Exit Term Loans. All Holders of DIP Claims have
consented to their treatment under this Plan pursuant to the terms of the Transaction Support Agreement
and the DIP Facility Documents.

C.      Priority Tax Claims

         Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor(s) against
which such Allowed Priority Tax Claim is asserted agree to a less favorable treatment, in exchange for
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority
Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the
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terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code. Nothing in the foregoing or otherwise
in this Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and defenses regarding any
asserted Priority Tax Claim.

D.      Other Priority Claims

        Except to the extent that a Holder of an Allowed Other Priority Claim and the Debtor(s) against
which such Allowed Other Priority Claim is asserted agree to a less favorable treatment, in exchange for
full and final satisfaction, settlement, release, and the discharge of each Allowed Other Priority Claim,
each Holder of an Allowed Other Priority Claim due and payable on or before the Effective Date shall
receive, as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in
an amount equal to the amount of such Allowed Other Priority Claim; or (2) Cash in an amount agreed to
by the applicable Debtor or Reorganized Debtor, as applicable, and such Holder. To the extent any
Allowed Other Priority Claim is not due and owing on or before the Effective Date, such Claim shall be
paid in full in Cash in accordance with the terms of any agreement between the Debtors (or the
Reorganized Debtors, as applicable) and such Holder, or as may be due and payable under applicable
non-bankruptcy law or in the ordinary course of business. Nothing in the foregoing or otherwise in this
Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and defenses regarding any asserted
Other Priority Claim.

E.      United States Trustee Statutory Fees

        The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee
Statutory Fees, consistent with Article XII.C, for each quarter (including any fraction thereof) until the
Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

F.      Restructuring Fees and Expenses

        The Restructuring Fees and Expenses incurred, or estimated to be incurred, up to and including
the Effective Date (or, with respect to necessary post-Effective Date activities, after the Effective Date),
shall be paid in full in Cash on the Effective Date in accordance with, and subject to, the terms of the
Transaction Support Agreement or the DIP/Cash Collateral Orders, as applicable, (unless otherwise
provided in any other order of the Bankruptcy Court), without any requirement to file a fee application
with the Bankruptcy Court or without any requirement for Bankruptcy Court or United States Trustee
review or approval (unless otherwise provided in any other order of the Bankruptcy Court), or without
notice and a hearing pursuant to section 1129(a)(4) of the Bankruptcy Code or otherwise. All
Restructuring Fees and Expenses to be paid on the Effective Date shall be estimated before and as of the
Effective Date and such estimates shall be delivered to the Debtors at least five (5) Business Days before
the anticipated Effective Date; provided, however, that such estimates shall not be considered an
admission or limitation with respect to such Restructuring Fees and Expenses. On the Effective Date, or
as soon as practicable thereafter, final invoices for all Restructuring Fees and Expenses incurred before
and as of the Effective Date shall be submitted to the Debtors. In addition, the Debtors and the
Reorganized Debtors, as applicable, shall continue to pay, when due and payable in the ordinary course,
pre-Effective Date Restructuring Fees and Expenses related to this Plan and the implementation,
consummation, and defense of this Plan and the Restructuring Transactions, incurred before the Effective
Date, in accordance with any engagement and/or fee letters with the Debtors, the Transaction Support
Agreement, the DIP Facility Documents, and the ABL/FILO Exit Facility Commitment Letters (as
applicable).

                                    Article III.
              CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS


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A.      Classification of Claims

        This Plan constitutes a separate chapter 11 Plan of reorganization for each Debtor. The
provisions of this Article III govern Claims against and Interests in the Debtors. Except for the Claims
addressed in Article II above (or as otherwise set forth herein), all Claims and Interests are placed in
Classes for each of the applicable Debtors. For all purposes under this Plan, each Class shall exist for
each of the Debtors; provided, that any Class that is vacant as to a particular Debtor shall be treated in
accordance with Article III.G below. In accordance with section 1123(a)(1) of the Bankruptcy Code, the
Debtors have not classified Administrative Claims, Priority Tax Claims, and Other Priority Claims as
described in Article II above.

        The categories of Claims and Interests listed below classify Claims and Interests for all purposes,
including voting, Confirmation, and distribution pursuant hereto and pursuant to sections 1122 and
1123(a)(1) of the Bankruptcy Code. This Plan deems a Claim or Interest to be classified in a particular
Class only to the extent that the Claim or Interest qualifies within the description of that Class and shall
be deemed classified in a different Class to the extent that any remainder of such Claim or Interest
qualifies within the description of such different Class. A Claim or an Interest is in a particular Class
only to the extent that any such Claim or Interest is Allowed in that Class and has not been paid or
otherwise settled before the Effective Date.

                     Summary of Classification and Treatment of Claims and Interests

             Class                   Claim                      Status            Voting Rights

              1        Other Secured Claims                   Unimpaired       Presumed to Accept

              2        ABL Claims                              Impaired          Entitled to Vote

              3        FILO Claims                             Impaired          Entitled to Vote

              4        Term Loan Claims                        Impaired          Entitled to Vote

              5        General Unsecured Claims               Unimpaired       Presumed to Accept

              6        Subordinated Claims                     Impaired         Deemed to Reject

                                                              Impaired /       Deemed to Reject /
              7        Intercompany Claims
                                                              Unimpaired       Presumed to Accept

                                                              Impaired /       Deemed to Reject /
              8        Intercompany Interests
                                                              Unimpaired       Presumed to Accept

              9        Existing Equity Interests               Impaired         Deemed to Reject

B.      Treatment of Claims and Interests

        1.        Class 1 — Other Secured Claims

                  a.       Classification: Class 1 consists of all Other Secured Claims.



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                 b.       Treatment: Except to the extent that a Holder of an Allowed Other Secured
                          Claim agrees to less favorable treatment, in exchange for full and final
                          satisfaction, settlement, release, and discharge of each Allowed Other Secured
                          Claim, each Holder of an Allowed Other Secured Claim, at the option of the
                          applicable Debtor, shall, on the Effective Date, (i) be paid in full in Cash
                          including the payment of any interest required to be paid under section 506(b) of
                          the Bankruptcy Code, (ii) receive the collateral securing its Allowed Other
                          Secured Claim, or (iii) receive any other treatment that would render such Claim
                          Unimpaired, in each case, as determined by the Debtors with the consent of the
                          Required DIP Lenders (not to be unreasonably withheld).

                 c.       Voting: Class 1 is Unimpaired, and Holders of Other Secured Claims are
                          conclusively presumed to have accepted this Plan pursuant to section 1126(f) of
                          the Bankruptcy Code. Therefore, Holders of Other Secured Claims are not
                          entitled to vote to accept or reject this Plan. Holders of Other Secured Claims
                          shall be provided a Release Opt-Out Form solely for purposes of affirmatively
                          opting out of the Third-Party Release.

        2.       Class 2 — ABL Claims

                 a.       Classification: Class 2 consists of all ABL Claims.

                 b.       Allowance: ABL Claims shall be deemed Allowed in the aggregate principal
                          amount of $286,392,067.52, plus (i) any accrued but unpaid fees and interest in
                          respect thereof through and including the Effective Date, (ii) outstanding letters
                          of credit, (iii) amounts drawn under letters of credit, (iv) the amount of all other
                          “Revolving Obligations” (as defined in the ABL Credit Agreement), and (v) fees
                          and other expenses arising under or in connection with the ABL Facility
                          (including with respect to any fees, expenses or other amounts owed on account
                          of the ABL Facility pursuant to the DIP/Cash Collateral Orders).

                 c.       Treatment: Except to the extent that a Holder of an Allowed ABL Claim agrees
                          to less favorable treatment, on the Effective Date, either (i) in the event the
                          Debtors elect to refinance the ABL Claims (which election may be made only if
                          the Debtors are also refinancing the FILO Claims and with the consent of the
                          Required DIP Lenders), each Holder of an Allowed ABL Claim shall receive
                          payment in full in Cash on the Effective Date in the Allowed amount of such
                          ABL Claim (including the replacement or cash collateralization of all issued and
                          undrawn letters of credit in accordance with and in the amounts specified under
                          the ABL Credit Agreement) or (ii) in the event clause (i) is not applicable, (A)
                          each Holder of an Allowed ABL Claim shall receive its Pro Rata Share of
                          refinanced loans under the Exit ABL/FILO Facility Amendment in an amount
                          equal to the principal amount of the Allowed ABL Claims held by such Holder
                          as of the Effective Date, (B) each Holder of an Allowed ABL Claim shall
                          receive Cash in an amount equal to the accrued but unpaid interest payable to
                          such Holder under the ABL Credit Agreement as of the Effective Date, (C)
                          Allowed ABL Claims consisting of letters of credit shall be deemed to be letters
                          of credit issued under the Exit ABL/FILO Facility Amendment, (D) other
                          Allowed ABL Claims shall be deemed to be obligations of the same type under
                          the Exit ABL Loans and Exit FILO Loans, and (E) all Allowed ABL Claims
                          shall continue to constitute obligations of the Debtors on the Effective Date;
                          provided that the treatment pursuant to this clause (ii) shall apply only upon the

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                          Debtors’ satisfaction of the exit conditions enumerated in the ABL/FILO Exit
                          Commitment Letters.

                 d.       Voting: Class 2 is Impaired, and Holders of ABL Claims are entitled to vote to
                          accept or reject this Plan.

        3.       Class 3 — FILO Claims

                 a.       Classification: Class 3 consists of all FILO Claims.

                 b.       Allowance: FILO Claims shall be deemed Allowed in the aggregate principal
                          amount of $115,749,863, inclusive of the FILO Prepayment Premium and the
                          unpaid portion of the Collateral Monitoring Fee (as defined in the FILO Fee
                          Letter) that was earned as of the Petition Date for the second year of the FILO
                          Facility, pursuant to the terms of the ABL Facility Documents, plus any accrued
                          but unpaid interest in respect thereof through and including the Effective Date
                          and fees and other expenses arising under or in connection with the FILO Term
                          Loans (including with respect to any fees, expenses or other amounts owed on
                          account of the FILO Term Loans pursuant to the DIP/Cash Collateral Orders).

                 c.       Treatment: Except to the extent that a Holder of an Allowed FILO Claim agrees
                          to less favorable treatment, on the Effective Date, either (i) in the event the
                          Debtors elect to refinance the FILO Claims (which election may be made only if
                          the Debtors are also refinancing the ABL Claims and with the consent of the
                          Required DIP Lenders), each Holder of an Allowed FILO Claim shall receive
                          payment in full in Cash on the Effective Date in the Allowed amount of such
                          FILO Claim or (ii) in the event clause (i) is not applicable, (A) each Holder of an
                          Allowed FILO Claim shall receive its Pro Rata Share of refinanced loans under
                          the Exit ABL/FILO Facility Amendment in an amount equal to the principal
                          amount of the Allowed FILO Claims held by such Holder as of the Effective
                          Date, and (B) each Holder of an Allowed FILO Claim shall receive Cash in an
                          amount equal to the accrued but unpaid interest payable to such Holder under the
                          ABL Credit Agreement as of the Effective Date; provided that the treatment
                          pursuant to this clause (ii) shall apply only upon the Debtors’ satisfaction of the
                          exit conditions enumerated in the ABL/FILO Exit Commitment Letters. The
                          unpaid portion of the Collateral Monitoring Fee that was earned as of the
                          Petition Date for the second year of the FILO Facility and the FILO Prepayment
                          Premium shall be included in the amount of FILO Claims outstanding as of the
                          Petition Date; provided that, on the Effective Date of an Acceptable ABL/FILO
                          Plan pursuant to which the Debtors enter into the Exit ABL/FILO Facility
                          Amendment, (x) the amount of the FILO Claims constituting the FILO
                          Prepayment Premium shall be waived and (y) such unpaid portion of the
                          Collateral Monitoring Fee shall be deemed not to have been capitalized to
                          principal, and shall instead be due and payable on a monthly basis in accordance
                          with the FILO Fee Letter (as replaced or amended in connection with the Exit
                          ABL/FILO Facility Amendment), it being understood that any monthly
                          installment of such unpaid portion that would have been payable before the
                          Effective Date of such Acceptable ABL/FILO Plan shall be paid in Cash to the
                          FILO Term Loan Agent on such Effective Date.




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                 d.       Voting: Class 3 is Impaired, and Holders of FILO Claims are entitled to vote to
                          accept or reject this Plan.

        4.       Class 4 — Term Loan Claims

                 a.       Classification: Class 4 consists of all Term Loan Claims.

                 b.       Allowance: Term Loan Claims shall be deemed Allowed in the aggregate
                          principal amount of $658,125,000.

                 c.       Treatment: Except to the extent that a Holder of a Term Loan Claim agrees to
                          less favorable treatment, on the Effective Date, each Holder of an Allowed Term
                          Loan Claim shall receive, in full and final satisfaction, settlement, release, and
                          discharge and in exchange for each Allowed Term Loan Claim, its Pro Rata
                          Share of the New Equity Interests, subject to dilution by the Management
                          Incentive Plan, the DIP Participation Fee, and the New Equity Interests issued to
                          certain Additional Financing Parties.

                 d.       Voting: Class 4 is Impaired, and Holders of Term Loan Claims are entitled to
                          vote to accept or reject this Plan.

        5.       Class 5 — General Unsecured Claims

                 a.       Classification: Class 5 consists of all General Unsecured Claims.

                 b.       Treatment: Subject to Article V.C of this Plan and except to the extent that a
                          Holder of a General Unsecured Claim agrees to less favorable treatment, in full
                          and final satisfaction, settlement, release, and discharge and in exchange for each
                          Allowed General Unsecured Claim, each Holder of an Allowed General
                          Unsecured Claim against a Debtor shall receive payment in full in Cash in
                          accordance with applicable law and the terms and conditions of the particular
                          transaction giving rise to, or the agreement that governs, such Allowed General
                          Unsecured Claim on the later of (i) the date due in the ordinary course of
                          business or (ii) the Effective Date; provided, however, that no Holder of an
                          Allowed General Unsecured Claim shall receive any distribution for any Claim
                          that has previously been satisfied pursuant to a Final Order of the Bankruptcy
                          Court.

                 c.       Voting: Class 5 is Unimpaired, and Holders of General Unsecured Claims are
                          conclusively presumed to have accepted this Plan pursuant to section 1126(f) of
                          the Bankruptcy Code. Therefore, Holders of General Unsecured Claims are not
                          entitled to vote to accept or reject this Plan. Holders of General Unsecured
                          Claims shall be provided a Release Opt-Out Form solely for purposes of
                          affirmatively opting out of the Third-Party Release.

        6.       Class 6 — Subordinated Claims

                 a.       Classification: Class 6 consists of all Subordinated Claims.

                 b.       Treatment: Holders of Subordinated Claims shall receive no recovery or
                          distribution on account of such Subordinated Claims. Unless otherwise provided
                          for under this Plan, on the Effective Date, Subordinated Claims shall be
                          canceled, released, discharged, and extinguished.

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                 c.       Voting: Class 6 is Impaired, and Holders of Subordinated Claims are deemed to
                          have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code.
                          Therefore, Holders of Subordinated Claims are not entitled to vote to accept or
                          reject this Plan.

        7.       Class 7 — Intercompany Claims

                 a.       Classification: Class 7 consists of all Intercompany Claims.

                 b.       Treatment: No property shall be distributed to the Holders of Allowed
                          Intercompany Claims. Unless otherwise provided for under this Plan, on the
                          Effective Date, at the option of the applicable Debtor with the consent of the
                          Required DIP Lenders (not to be unreasonably withheld), Intercompany Claims
                          shall be either: (i) Reinstated; or (ii) set off, settled, distributed, contributed,
                          merged, canceled, or released.

                 c.       Voting: Class 7 is either (i) Unimpaired, in which case Holders of Allowed
                          Intercompany Claims are conclusively presumed to have accepted this Plan
                          pursuant to section 1126(f) of the Bankruptcy Code, or (ii) Impaired, and not
                          receiving any distribution under this Plan, in which case Holders of Allowed
                          Intercompany Claims are deemed to have rejected this Plan pursuant to section
                          1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Allowed
                          Intercompany Claims are not entitled to vote to accept or reject this Plan.

        8.       Class 8 — Intercompany Interests

                 a.       Classification: Class 8 consists of all Intercompany Interests.

                 b.       Treatment: No property shall be distributed to the Holders of Allowed
                          Intercompany Interests. Unless otherwise provided for under this Plan, on the
                          Effective Date, at the option of the applicable Debtor with the consent of the
                          Required DIP Lenders (not to be unreasonably withheld), Intercompany Interests
                          shall be either: (i) Reinstated; or (ii) set off, settled, distributed, contributed,
                          merged, canceled, or released.

                 c.       Voting: Class 8 is either (i) Unimpaired, in which case Holders of Allowed
                          Intercompany Interests are conclusively presumed to have accepted this Plan
                          pursuant to section 1126(f) of the Bankruptcy Code, or (ii) Impaired, and not
                          receiving any distribution under this Plan, in which case Holders of Allowed
                          Intercompany Interests are deemed to have rejected this Plan pursuant to section
                          1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Allowed
                          Intercompany Interests are not entitled to vote to accept or reject this Plan.

        9.       Class 9 — Existing Equity Interests

                 a.       Classification: Class 9 consists of all Existing Equity Interests.

                 b.       Treatment: Holders of Existing Equity Interests are not entitled to receive a
                          recovery or distribution on account of such Existing Equity Interests. On the
                          Effective Date, Existing Equity Interests shall be canceled, released, discharged,
                          and extinguished, and shall be of no further force or effect.



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                 c.       Voting: Class 9 is Impaired, and Holders of Existing Equity Interests are deemed
                          to have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code.
                          Therefore, Holders of Existing Equity Interests are not entitled to vote to accept
                          or reject this Plan.

C.      Acceptance or Rejection of this Plan

        1.       Presumed Acceptance of this Plan

        Claims in Classes 1 and 5 are Unimpaired under this Plan and their Holders are conclusively
presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
Holders of Claims in Classes 1 and 5 are not entitled to vote on this Plan and the votes of such Holders
shall not be solicited. Notwithstanding their non-voting status, Holders of such Claims shall receive a
Release Opt-Out Form solely for purposes of affirmatively opting out of the Third-Party Release.

        2.       Voting Classes

        Claims in Classes 2, 3, and 4 are Impaired under this Plan and the Holders of Allowed Claims in
such Classes are entitled to vote to accept or reject this Plan, including by acting through a voting
representative. For purposes of determining acceptance and rejection of this Plan, each such Class shall
be regarded as a separate Voting Class and votes shall be tabulated on a Debtor-by-Debtor basis.

         An Impaired Class of Claims shall have accepted this Plan if (a) the Holders, including Holders
acting through a voting representative, of at least two-thirds (2/3) in amount of Claims actually voting in
such Class have voted to accept this Plan and (b) the Holders, including Holders acting through a voting
representative, of more than one-half (1/2) in number of Claims actually voting in such Class have voted
to accept this Plan. Holders of Claims in Classes 2, 3, and 4 (or, if applicable, the voting representatives
of such Holders) shall receive ballots containing detailed voting instructions. For the avoidance of doubt,
each Claim in any Class entitled to vote to accept or reject this Plan that is not Allowed pursuant to this
Plan, and in each case, is wholly contingent, unliquidated, or disputed, in each case, shall be accorded
one (1) vote and valued at one dollar ($1.00) for voting purposes only, and not for purposes of allowance
or distribution.

        3.       Deemed Rejection of this Plan

         Claims and Interests in Class 6 and 9 are Impaired under this Plan and are deemed to have
rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and
Interests in Classes 6 and 9 are not entitled to vote on this Plan and the votes of such Holders shall not be
solicited.

        4.       Presumed Acceptance of this Plan or Deemed Rejection of this Plan

        Claims and Interests in Classes 7 and 8 are either (a) Unimpaired and, therefore, conclusively
presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired
and shall receive no distributions under this Plan and, therefore, deemed to have rejected this Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in
Classes 7 and 8 are not entitled to vote on this Plan and votes of such Holders shall not be solicited.

D.      Confirmation Pursuant to Section 1129(a)(10) and 1129(b) of the Bankruptcy Code

       Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of this Plan by an Impaired Class of Claims entitled to vote (i.e., any of Class 2, 3 or 4). The
Debtors shall seek Confirmation pursuant to section 1129(b) of the Bankruptcy Code with respect to any

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rejecting Class of Claims or Interests. The Debtors reserve the right to modify this Plan in accordance
with Article XI of this Plan to the extent, if any, that Confirmation pursuant to section 1129(b) of the
Bankruptcy Code requires modification, including by modifying the treatment applicable to a Class of
Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent permitted by the
Bankruptcy Code and Bankruptcy Rules.

E.      Subordinated Claims

         The allowance, classification, and treatment of all Allowed Claims and Interests, and the
respective distributions and treatments under this Plan, shall take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, sections 509 or 510 of the Bankruptcy Code, or otherwise; provided, that, notwithstanding
the foregoing, such Allowed Claims or Interests and their respective treatments set forth herein shall not
be subject to setoff, demand, recharacterization, turnover, disgorgement, avoidance, or other similar
rights of recovery asserted by any Person. Pursuant to section 510 of the Bankruptcy Code, except where
otherwise provided herein, the Reorganized Debtors reserve the right to re-classify any Allowed Claim or
Interest in accordance with any contractual, legal, or equitable subordination rights relating thereto.

F.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided herein, nothing under this Plan shall affect or limit the Debtors’ or
the Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired
Claims, including, without limitation, all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

         Notwithstanding anything to the contrary in this Plan, the Plan Supplement, or the
Combined Order, until an Allowed Claim arising before the Effective Date in Classes 1 or 5 or
which is an Administrative Claim, Priority Tax Claim, or Other Priority Claim, has been (1) paid
in full in accordance with applicable law, or on terms agreed to between the Holder of such Claim
and the Debtors or Reorganized Debtors, or in accordance with the terms and conditions of the
particular transaction giving rise to such Claim, or otherwise satisfied in a manner that renders
such Claim Unimpaired by this Plan or (2) otherwise satisfied or disposed of as determined by a
court of competent jurisdiction: (a) the provisions of Article IX.A, IX.B, IX.C, and IX.E, but as to
Article IX.B only to the extent that such provision releases Claims that could be asserted
derivatively by the Holder of such Claim, shall not apply or take effect with respect to such Claim,
(b) such Claim shall not be deemed settled, satisfied, resolved, released, discharged, barred, or
enjoined, (c) the property of each of the Debtors’ Estates that vests in the applicable Reorganized
Debtor pursuant to this Plan shall not be free and clear of such Claims, and (d) any Liens of
Holders of such Claims shall not be deemed released. Holders of such Claims shall not be required
to file a Proof of Claim with the Bankruptcy Court, except for Claims related to the rejection of
Executory Contracts and Unexpired Leases as set forth in Article V.C. Holders of such Claims,
other than those holding Claims related to the rejection of Executory Contracts and Unexpired
Leases, shall not be subject to any Claims resolution process in the Bankruptcy Court in
connection with their Claims, and shall retain all their rights under applicable non-bankruptcy law
to pursue their Claims against the Debtors or the Reorganized Debtors or any other Entity in any
forum with jurisdiction over the parties. The Debtors and the Reorganized Debtors shall retain all
defenses, counterclaims, rights to setoff, and rights to recoupment as to such Claims. If the
Debtors or the Reorganized Debtors dispute any such Claim, such dispute shall be determined,
resolved, or adjudicated in the manner as if the Chapter 11 Cases had not been commenced, except


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with respect to Rejection Damages Claims, which shall be determined, resolved or adjudicated as
set forth in Article V.C.

G.      Vacant and Abstaining Classes

         Any Class of Claims or Interests that is not occupied as of the commencement of the Combined
Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under
Bankruptcy Rule 3018 shall be deemed eliminated from this Plan for purposes of voting to accept or
reject this Plan and for purposes of determining acceptance or rejection of this Plan by such Class
pursuant to section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class of Claims that is occupied
as of the commencement of the Combined Hearing by an Allowed Claim or a Claim temporarily Allowed
under Bankruptcy Rule 3018, but as to which no vote is cast, shall be deemed to accept this Plan pursuant
to section 1129(a)(8) of the Bankruptcy Code.

H.      Controversy Concerning Impairment

         If a controversy arises as to whether any Claim or Interest (or any Class of Claims or Interests)
are Impaired under this Plan, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date, absent consensual resolution of such controversy
consistent with the Transaction Support Agreement among the Debtors and the complaining Entity or
Entities.

I.      Intercompany Interests and Intercompany Claims

         To the extent Intercompany Interests and Intercompany Claims are Reinstated under this Plan,
distributions on account of such Intercompany Interests and Intercompany Claims are not being received
by Holders of such Intercompany Interests or Intercompany Interests on account of their Intercompany
Interests or Intercompany Claims, but for the purposes of administrative convenience and to maintain the
Debtors’ (and their Affiliates’) corporate structure, for the ultimate benefit of the Holders of New Equity
Interests, to preserve ordinary course intercompany operations, and in exchange for the Debtors’ and
Reorganized Debtors’ agreement under this Plan to make certain distributions to the Holders of Allowed
Claims.

                                         Article IV.
                          MEANS FOR IMPLEMENTATION OF THIS PLAN

A.      General Settlement of Claims and Interests

         In consideration for the classification, distributions, releases, and other benefits provided under
this Plan, on the Effective Date, the provisions of this Plan shall constitute a set of integrated, good-faith
compromises and settlements of all Claims, Interests, Causes of Action, and controversies resolved
pursuant to this Plan. This Plan shall be deemed a motion by the Debtors to approve such
compromises and settlements pursuant to Bankruptcy Rule 9019 and section 1123 of the
Bankruptcy Code, and the entryEntry of the Combined Order shall constitute the Bankruptcy Court’s
approval of such compromises and settlements under Bankruptcy Rule 9019 and section 1123 of the
Bankruptcy Code, as well as a finding by the Bankruptcy Court that such integrated compromises or
settlements are in the best interests of the Debtors, the Estates, and Holders of Claims and Interests, and
are fair, equitable, and within the range of reasonableness. Subject to Article VI, distributions made to
Holders of Allowed Claims and Allowed Interests in any Class are intended to be and shall be final and
indefeasible and shall not be subject to avoidance, turnover, or recovery by any other Person.
Notwithstanding the foregoing or similar provisions of this Plan with respect to settlements, such
settlements are approved as among the parties to such settlement or similar agreements thereto,

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and the treatment of all Claims and Interests is approved pursuant to Confirmation by satisfying
the requirement of section 1129 of the Bankruptcy Code.

B.      Restructuring Transactions

         Without limiting any rights and remedies of the Debtors or Reorganized Debtors under this Plan
or applicable law, but in all cases subject to the terms and conditions of the Transaction Support
Agreement, the Transaction Term Sheet, and Definitive Documents and any consents or approvals
required thereunder, the entry of the Combined Order shall constitute authorization for the Debtors and
Reorganized Debtors, as applicable, to take, or to cause to be taken, all actions necessary or appropriate
to consummate and implement the provisions of this Plan before, on, and after the Effective Date,
including such actions as may be necessary or appropriate to effectuate a corporate restructuring of their
respective businesses and to otherwise simplify the overall corporate structure of the Reorganized
Debtors. Such restructuring may include (1) the execution and delivery of appropriate agreements or
other documents of merger, consolidation, restructuring, disposition, liquidation, or dissolution
containing terms that are consistent with the terms of this Plan, the Transaction Support Agreement, the
Transaction Term Sheet, and the other Definitive Documents and that satisfy the applicable requirements
of applicable state law and such other terms to which the applicable entities may agree; (2) the execution
and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset,
property, right, liability, duty, or obligation on terms consistent with the terms of this Plan, the
Transaction Support Agreement, the Transaction Term Sheet, and the other Definitive Documents and
having such other terms to which the applicable Entities may agree; (3) the filing of appropriate
certificates or articles of merger, consolidation, or dissolution pursuant to applicable state law; and (4) all
other actions that the Debtors and/or the applicable Entities determine to be necessary or appropriate,
including making filings or recordings that may be required by applicable state law or foreign law in
connection with such transactions, but in all cases subject to the terms and conditions of this Plan, the
Transaction Support Agreement, the Transaction Term Sheet, and the other Definitive Documents and
any consents or approvals required thereunder.

        The Combined Order shall and shall be deemed to, pursuant to both section 1123 and section 363
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate the
Restructuring Transactions (including any other transaction described in, approved by, contemplated by,
or necessary to effectuate this Plan).

C.      Corporate Existence

        Except as otherwise provided in this Plan, each Debtor shall continue to exist after the Effective
Date as a separate corporate Entity, limited liability company, partnership, or other form, as the case may
be, with all the powers of a corporation, limited liability company, partnership, or other form, as the case
may be, pursuant to the applicable law in the jurisdiction in which each Debtor is incorporated or formed
and pursuant to the respective memorandum and articles of association, certificate of incorporation and
bylaws (or other formation documents) in effect before the Effective Date, except to the extent such
memorandum and articles of association, certificate of incorporation and bylaws (or other formation
documents) are amended by this Plan, by the Debtors, or otherwise, and to the extent such documents are
amended, such documents are deemed to be amended pursuant to this Plan and require no further action
or approval (other than any requisite filings required under applicable state, provincial, or federal law).

D.      Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims

      Except as otherwise expressly provided in this Plan or any agreement, instrument, or other
document incorporated herein pursuant to sections 1123(a)(5), 1123(b)(3), 1141(b) and (c), and other

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applicable provisions of the Bankruptcy Code, on and after the Effective Date, all property in each
Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to this Plan shall
vest in each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other
encumbrances. On and after the Effective Date, the Reorganized Debtors may (1) operate their
respective businesses, (2) use, acquire, and dispose of their respective property, and (3) compromise or
settle any Claims, Interests, or Causes of Action, in each case without notice to, supervision of, or
approval by the Bankruptcy Court and free and clear of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules, including for the avoidance of doubt any restrictions on the use, acquisition, sale,
lease, or disposal of property under section 363 of the Bankruptcy Code.

E.      Cancellation of Existing Agreements and Existing Equity Interests

         On the Effective Date, except with respect to the Exit ABL Loans, the Exit FILO Loans, the Exit
ABL/FILO Facility Amendment, the ABL Credit Agreement (if amended and restated, refinanced, or
deemed to be reaffirmed in connection with the Exit ABL/FILO Facility Amendment), and the ABL
Facility Documents (including any pre-existing mortgage, deed of trust, Lien, pledge, or other security
interest granted in connection therewith that shall be carried forward, continued, amended, or extended
with respect to the Reorganized Debtors’ assets, to secure the Exit ABL Loans and the Exit FILO Loans),
or to the extent otherwise provided in this Plan, the Combined Order, or any other Definitive Document,
all notes, bonds, indentures, certificates, securities, purchase rights, options, warrants, collateral
agreements, subordination agreements, or other instruments or documents directly or indirectly
evidencing, creating, or relating to any existing indebtedness or obligations of the Debtors or giving rise
to any rights or obligations relating to Claims against or Interests in the Debtors shall be deemed
canceled and surrendered, and the obligations of the Debtors or the Reorganized Debtors, as applicable,
and any Non-Debtor Affiliates thereunder or in any way related thereto shall be deemed satisfied in full,
released, and discharged; provided, that, notwithstanding such cancellation, satisfaction, release, and
discharge, anything to the contrary contained in this Plan or the Combined Order, Confirmation, or the
occurrence of the Effective Date, any such document or instrument that governs the rights, claims, or
remedies of the Holder of a Claim or Interest shall continue in effect solely for purposes of: (1) enabling
the Holder of such Claim or Interest to receive distributions on account of such Claim or Interest under
this Plan as provided herein; (2) allowing and preserving the rights of the Prepetition Agents, DIP Agent,
and Exit Facility AgentAgents, as applicable, to make distributions as specified under this Plan on
account of Allowed Claims, as applicable, including allowing the Prepetition Agents, DIP Agent, and
Exit Facility AgentAgents, as applicable, to submit invoices for any amount and enforce any obligation
owed to them under this Plan to the extent authorized or allowed by the applicable documents;
(3) permitting the Reorganized Debtors and any other Distribution Agent, as applicable, to make
distributions on account of applicable Claims and Interests, as applicable; (4) preserving the Prepetition
Agents’, DIP Agent’s, and Exit Facility Agent’sAgents’, as applicable, rights, if any, to compensation
and indemnification as against any money or property distributable to the Holders of ABL Claims, FILO
Claims, Term Loan Claims, and DIP Claims, as applicable, including permitting the Prepetition Agents,
DIP Agent, and Exit Facility AgentAgents, as applicable, to maintain, enforce, and exercise any priority
of payment or charging liens against such distributions each pursuant and subject to the terms of the ABL
Credit Agreement, Term Loan Credit Agreement, and DIP Credit Agreement, as applicable, as in effect
on or immediately before the Effective Date, (5) preserving all rights, remedies, indemnities, powers, and
protections, including rights of enforcement, of the Prepetition Agents, DIP Agent, and Exit Facility
AgentAgents, as applicable, against any person other than a Released Party (which Released Parties
include the Debtors, Reorganized Debtors, and Non-Debtor Affiliates), and any exculpations of the
Prepetition Agents, DIP Agent, and Exit Facility AgentAgents, as applicable; provided, that the
Prepetition Agents, DIP Agent, and Exit Facility AgentAgents, shall remain entitled to indemnification
or contribution from the Holders of ABL Claims, FILO Claims, Term Loan Claims, and DIP Claims,
each pursuant and subject to the terms of the ABL Credit Agreement, Term Loan Credit Agreement, and

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DIP Credit Agreement, as applicable, as in effect on the Effective Date, (6) permitting the Prepetition
Agents, DIP Agent, and Exit Facility AgentAgents, as applicable, to enforce any obligation (if any)
owed to them under this Plan, (7) permitting the Prepetition Agents, DIP Agent, and Exit Facility
AgentAgents to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any
other court, and (8) permitting the Prepetition Agents, DIP Agent, and Exit Facility AgentAgents, to
perform any functions that are necessary to effectuate the foregoing; provided, however, that nothing in
this Article IV.E shall affect the discharge of Claims or Interests pursuant to the Bankruptcy Code, the
Combined Order, or this Plan, or (except as set forth in (5) above) the releases of the Released Parties
pursuant to Article IX of this Plan, or result in any expense or liability to the Debtors or Reorganized
Debtors, as applicable, except as expressly provided for in this Plan. For the avoidance of doubt, nothing
in this Article IV.E shall cause the Reorganized Debtors’ obligations under the Exit Facilities Documents
to be deemed satisfied in full, released, or discharged; provided, that notwithstanding this sentence, the
ABL Claims, FILO Claims, Term Loan Claims, and DIP Claims shall be deemed satisfied in full,
released, and discharged on the Effective Date. In furtherance of the foregoing, as of the Effective Date,
Holders of ABL Claims, FILO Claims, Term Loan Claims, and DIP Claims shall be deemed to have
released any such Claims against the Reorganized Debtors under the ABL Facility Documents, Term
Loan Documents, and DIP Facility Documents and are enjoined from pursuing any such claims against
any of the Reorganized Debtors in respect of such ABL Claims, FILO Claims, Term Loan Claims, and
DIP Claims.

         On the Effective Date, the Prepetition Agents, the DIP Agent, and each of their respective
directors, officers, employees, agents, affiliates, controlling persons, and legal and financial advisors
shall be automatically and fully released and discharged from any further responsibility under the ABL
Credit Agreement, Term Loan Credit Agreement, and DIP Credit Agreement, as applicable. The
Prepetition Agents, DIP Agent, and each of their respective directors, officers, employees, agents,
affiliates, controlling persons, and legal and financial advisors shall be discharged and shall have no
further obligation or liability except as provided in this Plan and the Combined Order, and after the
performance by the Prepetition Agents, DIP Facility Agent, and their representatives and professionals of
any obligations and duties required under or related to this Plan or the Combined Order, the Prepetition
Agents, DIP Agent, and each of their respective directors, officers, employees, agents, affiliates,
controlling persons, and legal and financial advisors shall be relieved of and released from any
obligations and duties arising thereunder. The fees, expenses, and costs of the Prepetition Agents and the
DIP Agent, including fees, expenses, and costs of each of their respective professionals incurred after the
Effective Date in connection with the ABL Credit Agreement, Term Loan Credit Agreement, or DIP
Credit Agreement, as applicable, and reasonable and documented fees, costs, and expenses associated
with effectuating distributions pursuant to this Plan, including the fees and expenses of counsel, if any,
shall be paid in accordance with the terms of this Plan and the applicable Definitive Documents.

F.      Sources for Plan Distributions and Transfers of Funds Among Debtors

         The Debtors shall fund Cash distributions under this Plan with Cash on hand, including Cash
from operations, and the proceeds of the DIP Facility and Exit Facilities. Cash payments to be made
pursuant to this Plan shall be made by the Reorganized Debtors in accordance with Article VI. Subject to
any applicable limitations set forth in any post-Effective Date agreement (including the New
Organizational Documents), the Reorganized Debtors shall be entitled to transfer funds between and
among themselves as they determine to be necessary or appropriate to enable the Reorganized Debtors to
satisfy their obligations under this Plan. Except as set forth herein, any changes in intercompany account
balances resulting from such transfers shall be accounted for and settled in accordance with the Debtors’
historical intercompany account settlement practices and shall not violate the terms of this Plan.

         From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations
set forth in any post-Effective Date agreement (including the New Organizational Documents and the
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Exit Facilities Documents), shall have the right and authority without further order of the Bankruptcy
Court to raise additional capital and obtain additional financing in accordance with, and subject to,
applicable law.

G.      Exit Facilities and Exit Facilities Documents

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of this
Plan shall be deemed to constitute approval by the Bankruptcy Court of the Exit Facilities Documents
(including all transactions contemplated thereby, such as any supplementation or syndication of the Exit
Term Loans, and all actions to be taken, undertakings to be made, and obligations to be incurred by the
Reorganized Debtors in connection therewith, including the incurrence of Liens securing the Exit
Facilities and the payment of all fees, payments, indemnities, and expenses associated therewith) and,
subject to the occurrence of the Effective Date, authorization for the applicable Reorganized Debtors to
enter into and perform their obligations under the Exit Facilities Documents and such other documents as
may be reasonably required or appropriate, subject to any consent or approval rights under the Definitive
Documents. On or around the Effective Date, the Reorganized Debtors shall execute and deliver the Exit
ABL/FILO Facility Amendment, the Exit Term Loan Credit Agreement, the Exit Intercreditor
Agreement, and any other Exit Facilities Document, and shall execute, deliver, file, record, and issue any
other related notes, guarantees, security documents, instruments, or agreements in connection therewith,
in each case, without (a) further notice to the Bankruptcy Court, or (b) further act or action under
applicable law, regulation, order, or rule or the vote, consent, authorization, or approval of any Person or
Entity. On the Effective Date, the Exit Facilities shall be governed by the Exit Intercreditor Agreement.

         On the Effective Date, the Exit Facilities Documents shall constitute legal, valid, binding, and
authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms. The
financial accommodations to be extended pursuant to the Exit Facilities Documents are being extended,
and shall be deemed to have been extended, and all related payments made in connection therewith shall
have been made, in each case, in good faith, for legitimate business purposes, for reasonably equivalent
value, as an inducement to the applicable lenders to extend credit under the applicable Exit
Facilities, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
be granted, carried forward, continued, amended, extended, and/or reaffirmed (including in connection
with any ABL Claims and FILO Claims that are refinanced by the Exit ABL/FILO Facility Amendment)
under the Exit Facilities Documents shall: (1) be continuing, legal, binding, and enforceable Liens on,
and security interests in, the collateral granted in accordance with the terms of the applicable Exit
Facilities Documents; (2) be granted, carried forward, continued, amended, extended, reaffirmed,
and deemed automatically perfected on the Effective Date, subject only to such Liens and security
interests as may be permitted thereunder; and (3) not be subject to avoidance, recovery, turnover,
recharacterization, or subordination (including equitable subordination) for any purposes whatsoever and
shall not constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the
Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the Entities
granted such Liens and security interests are authorized to make all filings and recordings, and to obtain
all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, provincial, federal, or other law (whether domestic
or foreign) that would be applicable in the absence of this Plan and the Combined Order (it being
understood that perfection shall occur automatically by virtue of the entry of the Combined Order, and
any such filings, recordings, approvals, and consents shall not be required), and shall thereafter cooperate
to make all other filings and recordings that otherwise would be necessary under applicable law to give
notice of such Liens and security interests to third parties.

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H.      Issuance of New Equity Interests and Deregistration

         On the Effective Date, Reorganized Parent shall issue or reserve for issuance all of the New
Equity Interests in accordance with the terms of this Plan and the New Organizational Documents. The
issuance of the New Equity Interests is authorized without the need for further corporate or other action
or any consent or approval of any national securities exchange upon which the New Equity Interests may
be listed on or immediately following the Effective Date. All of the New Equity Interests issuable under
this Plan and the Combined Order shall, when so issued be duly authorized, validly issued, fully paid,
and non-assessable.

         Reorganized Parent intends to exist and operate as a private company after the Effective Date.
As promptly as reasonably practicable following the Effective Date, Reorganized Parent expects to take
all necessary steps to terminate the registration of all Securities under the Exchange Act and Securities
Act, including to de-register its Existing Equity Interests, and to terminate its reporting obligations under
sections 12, 13, and 15(d) of the Exchange Act, including by (1) filing, or causing any applicable national
securities exchange to file, a Form 25 with the SEC under the Exchange Act, and (2) filing a Form 15
with the SEC under the Exchange Act.

        1.       Absence of Listing / Transfer of New Equity Interests

         On the Effective Date, the Reorganized Parent shall issue the New Equity Interests pursuant to
this Plan and the New Organizational Documents. Reorganized Parent shall not be obligated to effect or
maintain any listing of the New Equity Interests for trading on any national securities exchange (within
the meaning of the Exchange Act) and it has no current intention of maintaining or obtaining such listing.
Distributions of the New Equity Interests are expected to be delivered via DTC; however, in the event
the New Equity Interests are not DTC eligible on the Effective Date, distributions shall be made by
delivery or book-entrybook-entry transfer thereof by the Distribution Agent in accordance with this
Plan and the New Organizational Documents, rather than through the facilities of DTC. Upon the
Effective Date, after giving effect to the Restructuring Transactions, the New Equity Interests shall be
that number of shares or membership interests as may be designated in the New Organizational
Documents.

         On and after the Effective Date, transfers of New Equity Interests shall be made in accordance
with applicable United States law, United States securities laws (as applicable), and the New
Stockholders Agreement (if applicable), including the payment of stamp duty tax and completion of
registration with the Distribution Agent.

        2.       New Stockholders Agreement

         On the Effective Date, to the extent applicable, the Reorganized Parent shall enter into the New
Stockholders Agreement with the Holders of the New Equity Interests, which shall become effective and
binding in accordance with its terms and conditions upon the parties thereto, in each case without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule
or the vote, consent, authorization or approval of any Person or Entity (other than as expressly required
by the New Stockholders Agreement). On and as of the Effective Date, all of the Holders of New Equity
Interests shall be deemed to be parties to the New Stockholders Agreement (if applicable), without the
need for execution by such Holder.

        If applicable, the New Stockholders Agreement shall be binding on all Persons or Entities
receiving, and all Holders of, the New Equity Interests (and their respective successors and assigns),
whether such New Equity Interests is received or to be received on or after the Effective Date and


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regardless of whether such Person or Entity executes or delivers a signature page to the New
Stockholders Agreement.

I.      Exemption from Registration Requirements

         No registration statement shall be filed under the Securities Act, or pursuant to any state
securities laws, with respect to the offer and distribution of the New Equity Interests under this Plan.
The offering, sale, issuance, and distribution of the New Equity Interests in exchange for Claims pursuant
to Article II and Article III of this Plan and pursuant to the Combined Order shall be exempt from,
among other things, the registration requirements of Section 5 of the Securities Act and any other
applicable United States, state, or local law requiring registration for the offer or sale of a security
pursuant to section 1145 of the Bankruptcy Code. Any and all such New Equity Interests may be resold
without registration under the Securities Act by the recipients thereof pursuant to the exemption provided
by Section 4(a)(1) of the Securities Act, subject to: (1) the provisions of section 1145(b)(1) of the
Bankruptcy Code, which limits resale by Persons who are “underwriters” as that term is defined in such
section; (2) restrictions under the Securities Act applicable to recipients who are an “affiliate” of the
Reorganized Debtors as defined in Rule 144(a)(1) under the Securities Act,; (3) compliance with any
applicable state or foreign securities laws, if any, and any rules and regulations of the SEC, if any,
applicable at the time of any future transfer of such Securities; (4) the restrictions, if any, on the
transferability of such Securities in the organizational documents of the issuer of, or in agreements or
instruments applicable to holders of, such Securities; and (5) any other applicable regulatory approval.

      The Reorganized Debtors need not provide any further evidence other than this Plan and the
Combined Order with respect to the treatment of the New Equity Interests under applicable securities
laws.

         Notwithstanding anything to the contrary in this Plan, no Person or Entity (including, for the
avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding the validity of any
transaction contemplated by this Plan, including, for the avoidance of doubt, whether the New Equity
Interests are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and
depository services. All such Persons and Entities including DTC shall be required to accept and
conclusively rely upon this Plan or the Combined Order in lieu of a legal opinion regarding whether the
New Equity Interests are exempt from registration and/or eligible for DTC book-entry delivery,
settlement, and depository services. Notwithstanding any policies, practices, or procedures of DTC,
DTC and any participants and intermediaries shall fully cooperate and take all actions to facilitate any
and all transactions necessary or appropriate for implementation of this Plan or other contemplated
thereby, including without limitation any and all distributions pursuant to this Plan.

J.      New Organizational Documents

        Subject to Article IV.E of this Plan, the Reorganized Debtors shall enter into such agreements
and amend their corporate governance documents to the extent necessary to implement the terms and
provisions of this Plan. Without limiting the generality of the foregoing, as of the Effective Date, each of
the Reorganized Debtors shall be governed by the New Organizational Documents applicable to it. From
and after the Effective Date, the organizational documents of each of the Reorganized Debtors shall
comply with section 1123(a)(6) of the Bankruptcy Code, as applicable. On or immediately before the
Effective Date, each Reorganized Debtor shall file its New Organizational Documents, if any, with the
applicable Secretary of State and/or other applicable authorities in its jurisdiction of incorporation or
formation in accordance with applicable laws of its jurisdiction of incorporation or formation, to the
extent required for such New Organizational Documents to become effective.

K.      Release of Liens and Claims

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        To the fullest extent provided under section 1141(c) and other applicable provisions of the
Bankruptcy Code, except as otherwise provided in the Exit ABL/FILO Facility Amendment (including
with respect to the ABL Facility, the FILO Facility, the ABL Loans, and the FILO Term Loans, to the
extent any ABL Facility Documents are amended and restated or deemed to be Exit Facilities
Documents), this Plan, the Combined Order, or in any contract, instrument, release, or other agreement
or document entered into or delivered in connection with this Plan, on the Effective Date and
concurrently with the applicable distributions made pursuant to Article VI hereof, all Liens, Claims,
mortgages, deeds of trust, or other security interests against the assets or property of the Debtors or the
Estates shall be fully released, canceled, terminated, extinguished, and discharged, in each case without
further notice to or order of the Bankruptcy Court, act, or action under applicable law, regulation, order,
or rule or the vote, consent, authorization, or approval of any Person or Entity; provided, that (1) the
Liens granted to the Prepetition Agents and the DIP Agent pursuant to the ABL Credit Agreement, Term
Loan Credit Agreement, and DIP Credit Agreement and (2) any and all Liens or security securing the
Debtor’s obligations under the Insurance Contracts, which, for avoidance of doubt, includes grants
of security interests in, without limitation, escrow accounts, deposit accounts, cash collateral, and
letters of credit issued for the benefit of insurers, shall remain in full force and effect solely to the
extent provided for in this Plan. The filing of the Combined Order with any federal, state, or local
agency or department shall constitute good and sufficient evidence of, but shall not be required to effect,
the termination of such Liens, Claims, and other interests to the extent provided in the immediately
preceding sentence. Any Person or Entity holding such Liens, Claims, or interests shall, pursuant to
section 1142 of the Bankruptcy Code, promptly execute and deliver to the Reorganized Debtors such
instruments of termination, release, satisfaction, and/or assignment (in recordable form) as may be
reasonably requested by the Reorganized Debtors.

L.      Exemption from Certain Taxes and Fees

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer (whether
from a Debtor to a Reorganized Debtor or to any other Person) of property under, pursuant to, in
contemplation of, or in connection with this Plan (including the Restructuring Transactions) pursuant to
(1) the issuance, distribution, transfer, or exchange of any debt, securities, or other interest in the Debtors
or the Reorganized Debtors, (2) the creation, modification, consolidation, termination, refinancing, or
recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means, (3) the making, assignment, or recording of any lease or sublease,
(4) the grant of collateral security for any or all of the Exit Facilities or other indebtedness, or (5) the
making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, this Plan, including any deeds, bills of sale, assignments, or other instrument of transfer
executed in connection with any transaction arising out of, contemplated by, or in any way related to this
Plan (including the Restructuring Transactions), shall not be subject to any document recording tax,
stamp tax, conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage
recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or
other similar tax or governmental assessment, and the appropriate state or local governmental officials,
agents, or filing or recording officers (or any other Person with authority over any of the foregoing),
wherever located and by whomever appointed, shall comply with the requirements of section 1146(a) of
the Bankruptcy Code, and shall forego the collection of any such tax or governmental assessment and
accept for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax, fee or governmental assessment.

M.      Directors and Officers of the Reorganized Debtors

        1.       Reorganized Board



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        Before the Effective Date, the Debtors shall undertake any necessary or advisable steps to have
the Reorganized Board in place immediately before the Effective Date. The occurrence of the Effective
Date shall serve as ratification of the appointment of the Reorganized Board.

        On the Effective Date, the terms of the current members of the Parent board of directors shall
expire, and the Reorganized Board shall include those members set forth in the list of directors or
managing members included in the Plan Supplement. Each independent director of the Debtors, in such
capacity, shall not have any of his/her respective privileged and confidential documents,
communications, or information transferred (or deemed transferred) to the Reorganized Debtors,
Reorganized Parent, or any other Entity without such director’s prior written consent.

         The Reorganized Board shall initially consist of five (5) members, comprising the Chief
Executive Officer of the Reorganized Debtors, three (3) directors to be selected by the DIP Backstop
Parties, and one (1) director to be selected by Project Swift LLC. Pursuant to section 1129(a)(5) of the
Bankruptcy Code, the Debtors shall disclose in advance of Confirmation, solely to the extent such
Persons are known and determined, the identity and affiliations of any Person proposed to serve on the
Reorganized Board.

        The occurrence of the Effective Date shall have no effect on the composition of the board of
directors or managers of each of the subsidiary Debtors.

        2.       Senior Management

        The existing officers of the Debtors as of the Effective Date shall remain in their current
capacities as officers of the Reorganized Debtors, subject to their right to resign and the ordinary rights
and powers of the Reorganized Board to remove or replace them in accordance with the New
Organizational Documents and any applicable employment agreements that are assumed pursuant to this
Plan.

        3.       Management Incentive Plan

       After the Effective Date, the Reorganized Board shall adopt the Management Incentive Plan in
accordance with the Transaction Term Sheet.

N.      Preservation of Causes of Action

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases and
exculpation set forth in this section and in Article IX below, all Causes of Action that a Debtor may hold
against any Entity shall vest in the applicable Reorganized Debtor on the Effective Date. Thereafter, the
Reorganized Debtors shall have the exclusive right, authority, and discretion to determine and to initiate,
file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such
Causes of Action, whether arising before or after the Petition Date, and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or
approval of the Bankruptcy Court. No Entity may rely on the absence of a specific reference in this
Plan, the Plan Supplement, or the Disclosure Statement to any specific Cause of Action as any
indication that the Debtors or the Reorganized Debtors shall not pursue any and all available
Causes of Action. The Debtors and the Reorganized Debtors expressly reserve all rights to
prosecute any and all Causes of Action against any Entity, except as otherwise expressly provided
in this Plan, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral
estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall
apply to any Cause of Action upon, after, or as a consequence of the Confirmation or the occurrence of
the Effective Date. In addition, the Debtors and the Reorganized Debtors expressly reserve the right to
pursue or adopt any claims alleged in any lawsuit in which any of the Debtors are a plaintiff, defendant,
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or an interested party, against any Person or Entity, including, without limitation, the plaintiffs or
co-defendants in such lawsuits. For the avoidance of doubt, in no instance shall any Cause of Action
preserved pursuant to this Article IV.PN include any Claim or Cause of Action released or exculpated
under this Plan (including, without limitation, by the Debtors).

O.      Corporate Action

         Each of the Debtors and the Reorganized Debtors may take any and all actions to execute,
deliver, File or record such contracts, instruments, releases, and other agreements or documents and take
such actions as may be necessary or appropriate to effectuate, implement, and further evidence the
provisions of this Plan, and without further notice to or order of the Bankruptcy Court, any act or action
under applicable law, regulation, order, or rule or any requirement of further action, vote or other
approval or authorization by the security holders, officers, or directors of the Debtors or the Reorganized
Debtors or by any other Person (except for those expressly required pursuant hereto or by the Definitive
Documents).

         Upon the Effective Date, all actions contemplated by this Plan shall be deemed authorized,
approved, and, to the extent taken before the Effective Date, ratified without any requirement for further
action by Holders of Claims or Interests, directors, managers, or officers of the Debtors, the Reorganized
Debtors, or any other Entity, including: (1) assumption and rejection (as applicable) of Executory
Contracts and Unexpired Leases; (2) selection of the directors, managers, and officers for the
Reorganized Debtors; (3) the execution of the New Organizational Documents and the Exit Facilities
Documents; (4) the issuance and delivery of the New Equity Interests and the Exit Facilities;
(5) implementation of the Restructuring Transactions, and (6) all other acts or actions contemplated, or
reasonably necessary or appropriate to promptly consummate the transactions contemplated by this Plan
(whether to occur before, on, or after the Effective Date). All matters provided for in this Plan involving
the company structure of the Debtors, and any company action required by the Debtors in connection
therewith, shall be deemed to have occurred on, and shall be in effect as of, the Effective Date, without
any requirement of further action by the security holders, directors, managers, authorized persons, or
officers of the Debtors.

        Before, on, and after the Effective Date, the appropriate officers, directors, managers, or
authorized persons of the Debtors, the Reorganized Parent, or any direct or indirect subsidiaries of the
Reorganized Parent (including any president, vice-president, chief executive officer, treasurer, general
counsel, secretary, or chief financial officer thereof) shall be authorized and directed to issue, execute,
and deliver the agreements, documents, securities, memoranda and articles of association, certificates of
incorporation, certificates of formation, bylaws, operating agreements, other organization documents, and
instruments contemplated by this Plan (or necessary or desirable to effect the transactions contemplated
by this Plan) in the name of and on behalf of the applicable Debtors or applicable Reorganized Debtors,
including the (1) New Organizational Documents, (2) Exit Facilities Documents, and (3) any and all
other agreements, documents, securities, and instruments relating to or contemplated by the foregoing.
Before or on the Effective Date, each of the Debtors is authorized, in its sole discretion, to change its
name or corporate form and to take such other action as required to effectuate a change of name or
corporate form in the jurisdiction of incorporation of the applicable Debtor or Reorganized Debtor. To
the extent the Debtors change their names or corporate form before the closing of the Chapter 11 Cases,
the Debtors shall change the case captions accordingly.

P.      Prepetition Intercreditor Agreements

        Notwithstanding anything to the contrary in this Plan, the treatment of, and distributions
(including rights to adequate protection and participation in the DIP Facility) made to Holders of ABL
Claims, FILO Claims, and Term Loan Claims shall not be subject to the Existing Intercreditor Agreement

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or the terms thereof (including any turnover and disgorgement provisions), and the Existing Intercreditor
Agreement shall be deemed so amended to the extent necessary to effectuate same; provided, that
nothing in this Plan shall affect the application of the FILO Intercreditor Agreement or the terms thereof.

Q.      Effectuating Documents; Further Transactions

        Before, on, and after the Effective Date, the Debtors and the Reorganized Debtors and the
directors, managers, officers, authorized persons, and members of the boards of directors or managers
and directors or managers thereof, are authorized to and may issue, execute, deliver, file, or record such
contracts, securities, notes, instruments, certificates, releases, and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate, implement, and further evidence the
terms and provisions of this Plan, the New Organizational Documents, the Exit Facilities Documents, and
any Securities issued pursuant to this Plan in the name of and on behalf of the Reorganized Debtors,
without the need for any approvals, authorizations, actions, or consents except for those expressly
required pursuant to this Plan or the Transaction Support Agreement.

R.      Authority of the Debtors

        Effective on the Confirmation Date, the Debtors shall be empowered and authorized to take or
cause to be taken, before the Effective Date, all actions necessary or appropriate to achieve the Effective
Date and enable the Reorganized Debtors to implement effectively the provisions of this Plan, the
Combined Order, the Definitive Documents, and the Restructuring Transactions.

S.      No Substantive Consolidation

        This Plan is being proposed as a joint chapter 11 plan of the Debtors for administrative purposes
only and constitutes a separate chapter 11 plan for each Debtor. This Plan is not premised upon the
substantive consolidation of the Debtors with respect to the Classes of Claims or Interests set forth in this
Plan.

T.      Continuing Effectiveness of Final Orders

        Payment authorization granted to the Debtors under any prior Final Order entered by the
Bankruptcy Court shall continue in effect after the Effective Date. Accordingly, the Debtors or the
Reorganized Debtors may pay or otherwise satisfy any Claim to the extent permitted by, and subject to,
the applicable Final Order without regard to the treatment that would otherwise be applicable to such
Claim under this Plan.

                                 Article V.
                   TREATMENT OF EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES; EMPLOYEE BENEFITS; AND INSURANCE POLICIES

A.      Assumption of Executory Contracts and Unexpired Leases

         On the Effective Date, except as otherwise provided in this Plan, each of the Executory Contracts
and Unexpired Leases not previously rejected, assumed, or assumed and assigned pursuant to an order of
the Bankruptcy Court shall be deemed assumed as of the Effective Date pursuant to sections 365 and
1123 of the Bankruptcy Code except any Executory Contract or Unexpired Lease (1) identified on the
Rejected Executory Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy
Court on the Plan Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected
(if any), (2) that is the subject of a separate motion or notice to reject pending as of the Effective Date, or



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(3) that previously expired or terminated pursuant to its own terms (disregarding any terms the effect of
which is invalidated by the Bankruptcy Code).

        Entry of the Combined Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Transaction Support Agreement pursuant to sections 365 and 1123 of the Bankruptcy
Code and effective on the occurrence of the Effective Date. The Transaction Support Agreement shall be
binding and enforceable against the applicable parties thereto in accordance with its terms. For the
avoidance of doubt, the assumption of the Transaction Support Agreement shall not otherwise modify,
alter, amend, or supersede any of the terms or conditions thereof including, without limitation, any
termination events or provisions thereunder.

        Entry of the Combined Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of the
Bankruptcy Code, effective on the occurrence of the Effective Date. Notwithstanding anything herein
to the contrary, with respect to any Unexpired Lease that is listed on the Rejected Executory
Contract/Unexpired Lease List, the effective date of the rejection of any such Unexpired Lease
shall be the later of (1) the date set forth in the Schedule of Rejected Executory Contracts and
Unexpired Leases, which shall not be later than the Effective Date except if agreed to by the
applicable counterparty and (2) the date upon which the Debtors notify the landlord in writing
(e-mail being sufficient) that they have surrendered the premises to the landlord and returned the
keys, key codes, or security codes, as applicable, and have done so. Each Executory Contract and
Unexpired Lease assumed pursuant to this Plan or by Bankruptcy Court order, and not assigned to a third
party on or before the Effective Date, shall re-vest in and be fully enforceable by the applicable
Reorganized Debtor in accordance with its terms, except as such terms may have been modified by order
of the Bankruptcy Court. To the maximum extent permitted by law, to the extent any provision in
any Executory Contract or Unexpired Lease assumed pursuant to this Plan restricts or prevents, or
purports to restrict or prevent, or is breached or deemed breached by, the assumption of such
Executory Contract or Unexpired Lease or the execution of any other Restructuring Transaction
(including any “change of control” provision), then such provision shall be deemed modified such
that the transactions contemplated by this Plan shall not entitle the non-Debtor party thereto to
terminate such Executory Contract or Unexpired Lease or to exercise any other default-related
rights with respect thereto. For the avoidance of doubt, consummation of the Restructuring
Transactions shall not be deemed an assignment of any Executory Contract or Unexpired Lease of
the Debtors, notwithstanding any change in name, organizational form, or jurisdiction of
organization of any Debtor in connection with the occurrence of the Effective Date.

        To the maximum extent permitted by Law, unless otherwise provided herein, the
transactions contemplated by this Plan shall not constitute a “change of control” or “assignment”
(or terms with similar effect) under any Executory Contract or Unexpired Lease assumed pursuant to
this Plan, or any other transaction, event, or matter that would (1) result in a violation, breach, or
default under such Executory Contract or Unexpired Lease, (2) increase, accelerate, or otherwise
alter any obligations, rights, or liabilities of the Debtors or the Reorganized Debtors under such
Executory Contract or Unexpired Lease, or (3) result in the creation or imposition of a Lien upon
any property or asset of the Debtors or the Reorganized Debtors pursuant to the applicable
Executory Contract or Unexpired Lease. Any consent or advance notice required under such
Executory Contract or Unexpired Lease in connection with assumption thereof (pursuant to the
other provisions of this Article VI.A) shall be deemed satisfied by Confirmation.

         Notwithstanding anything to the contrary in this Plan, but subject to the Consent Rights in
Article I.C, the Debtors or Reorganized Debtors, as applicable, reserve the right to amend or supplement
the Rejected Executory Contract/Unexpired Lease List in their discretion before the Effective Date (or
such later date as may be permitted by Article V below); provided, that the Debtors shall give prompt
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notice of any such amendment or supplement to any affected counterparty and such counterparty shall
have no less than seven (7) days to object thereto on any grounds.

B.      Payments on Assumed Executory Contracts and Unexpired Leases

         Any monetary default under an Executory Contract or Unexpired Lease to be assumed pursuant
to this Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the
default amount in Cash on the Effective Date or as soon as reasonably practicable thereafter, subject to
the limitation described below, or on such other terms as the parties to such Executory Contract or
Unexpired Lease may otherwise agree. In the event of a dispute regarding (1) the ability of the
Reorganized Debtors or any assignee to provide “adequate assurance of future performance” (within the
meaning of section 365(b) of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to
be assumed, or (2) any other matter pertaining to assumption, the Bankruptcy Court shall hear such
dispute before the assumption becoming effective; provided, that the Debtors, with the reasonable
consent of the Required DIP Lenders for settlements exceeding $250,000, or Reorganized Debtors may
settle any such dispute and shall pay any agreed upon cure amount without any further notice to any party
or any action, order, or approval. The cure payments required by section 365(b)(1) of the Bankruptcy
Code shall be made following the entry of a Final Order(s) resolving the dispute and approving the
assumption and shall not prevent or delay implementation of this Plan or the occurrence of the Effective
Date.

        Any and all Proofs of Claim based upon Executory Contracts or Unexpired Leases that
have been assumed in the Chapter 11 Cases, including pursuant to the Combined Order, shall be
deemed disallowed and expunged as of the Effective Date without the need for any objection
thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

C.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims
arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to this Plan or
otherwise must be filed with the Notice and Claims Agent within twenty-onethirty (2130) days of the
later of (1) the effective date of the rejection of the applicable Executory Contract or Unexpired Lease
(which shall be the Confirmation Date unless otherwise provided in an order of the Bankruptcy Court
providing for the rejection of an Executory Contract or Unexpired Lease); (2) the Confirmation Date;
or (3) the date of the order authorizing the rejection of the applicable Executory Contract or
Unexpired Lease. Any Proofs of Claim arising from the rejection of the Executory Contracts and
Unexpired Leases that are not timely filed shall be automatically disallowed without further order
of the Bankruptcy Court. All Allowed Claims arising from the rejection of the Executory Contracts
and Unexpired Leases shall constitute General Unsecured Claims and shall be treated in accordance with
Article III.B of this Plan.




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D.      Contracts and Leases Entered into After the Petition Date

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by any Debtor, shall be performed by such Debtor or
Reorganized Debtor, as applicable, liable thereunder in the ordinary course of business. Accordingly,
such contracts and leases (including any Executory Contracts and Unexpired Leases assumed or assumed
and assigned pursuant to section 365 of the Bankruptcy Code) that have not been rejected as of the
Confirmation Date shall survive and remain unaffected by entry of the Combined Order.

E.      Reservation of Rights

         Nothing contained in this Plan shall constitute an admission by the Debtors that any contract or
lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any
liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption, the Debtors or Reorganized Debtors, as applicable, shall have
thirtyfourteen (3014) days following entry of a Final Order resolving such dispute to alter their
treatment of such contract or lease. If there is a dispute regarding a Debtor’s or Reorganized Debtor’s
liability under an assumed Executory Contract or Unexpired Lease, the Reorganized Debtors shall be
authorized to move to have such dispute heard by the Bankruptcy Court pursuant to Article X of this
Plan.

F.      Directors and Officers Insurance Policies

        On the Effective Date the Reorganized Debtors shall be deemed to have assumed all of the
Debtors’ D&O Insurance Policies (including any “tail coverage” and all agreements, documents, or
instruments related thereto) in effect before the Effective Date pursuant to sections 105 and 365(a) of the
Bankruptcy Code, without the need for any further notice to or action, order, or approval of the
Bankruptcy Court. Confirmation of this Plan shall not discharge, impair, or otherwise modify any
indemnity obligations assumed by the foregoing assumption of the D&O Insurance Policies, and each
such indemnity obligation shall be deemed and treated as an Executory Contract that has been assumed
by the Debtors under this Plan as to which no Proof of Claim need be Filed. The Debtors and, after the
Effective Date, the Reorganized Debtors shall retain the ability to supplement such D&O Insurance
Policies as the Debtors or Reorganized Debtors, as applicable, may deem necessary. For the avoidance
of doubt, entry of the Combined Order shall constitute the Bankruptcy Court’s approval of the
Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Insurance Policies.

         In addition, on or after the Effective Date, none of the Reorganized Debtors shall terminate or
otherwise reduce the coverage under any D&O Insurance Policies (including any “tail policy” and all
agreements, documents, or instruments related thereto) in effect on or before the Effective Date, with
respect to conduct occurring prior thereto, and all current and former directors, officers, and managers of
the Debtors who served in such capacity at any time before the Effective Date shall be entitled to the full
benefits of any such policies for the full term of such policies regardless of whether such current and
former directors, officers, and managers remain in such positions after the Effective Date, all in
accordance with and subject in all respects to the terms and conditions of the D&O Insurance Policies,
which shall not be altered.

G.      Other Insurance Contracts

        On the Effective Date, each of the Debtors’ Insurance Contracts in existence as of the Effective
Date shall be Reinstated and continued in accordance with their terms and, to the extent applicable, shall
be deemed assumed by the applicable Reorganized Debtor pursuant to section 365 of the Bankruptcy
Code and Article V of this Plan. Nothing in this Plan shall affect, impair, or prejudice the rights of the
insurance carriers, the insureds, or the Reorganized Debtors under the Insurance Contracts in any
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manner, and such insurance carriers, the insureds, and Reorganized Debtors shall retain all rights and
defenses under such Insurance Contracts. The Insurance Contracts shall apply to and be enforceable by
and against the insureds and the Reorganized Debtors in the same manner and according to the same
terms and practices applicable to the Debtors, as existed before the Effective Date.

H.      Indemnification Provisions and Reimbursement Obligations

         On and as of the Effective Date, and except as prohibited by applicable law and subject to the
limitations set forth herein, the Indemnification Provisions shall be assumed and irrevocable and shall
survive the effectiveness of this Plan, and the New Organizational Documents shall provide to the fullest
extent provided by law for the indemnification, defense, reimbursement, exculpation, and/or limitation of
liability of, and advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’ current
and former directors, officers, equity holders, managers, members, employees, accountants, investment
bankers, attorneys, other professionals, agents of the Debtors, and such current and former directors’,
officers’, equity holders’, managers’, members’, and employees’ respective Affiliates (each of the
foregoing solely in their capacity as such) at least to the same extent as the Indemnification Provisions,
against any Claims or Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or
contingent, disputed or undisputed, matured or unmatured, known or unknown, foreseen or unforeseen,
asserted or unasserted. Notwithstanding anything in this Plan to the contrary, none of the Reorganized
Debtors shall amend and/or restate the New Organizational Documents before or after the Effective Date
to terminate or adversely affect any of the Indemnification Provisions.
I.      Employee Compensation and Benefits

        1.       Compensation and Benefits Programs

         Subject to the provisions of this Plan, all Compensation and Benefits Programs (other than
awards of stock options, restricted stock, restricted stock units, and other equity awards) shall be treated
as Executory Contracts under this Plan and deemed assumed on the Effective Date pursuant to the
provisions of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim Filed for amounts due
under any Compensation and Benefits Program shall be considered satisfied by the applicable agreement
and/or program and agreement to assume and cure in the ordinary course as provided in this Plan. All
collective bargaining agreements to which any Debtor is a party, and all Compensation and Benefits
Programs which are maintained pursuant to such collective bargaining agreements or to which
contributions are made or benefits provided pursuant to a current or past collective bargaining agreement,
shall be deemed assumed on the Effective Date pursuant to the provisions of sections 365 and 1123 of
the Bankruptcy Code and the Reorganized Debtors reserve all of their rights under such agreements. For
the avoidance of doubt, the Debtors and Reorganized Debtors, as applicable, shall honor all their
obligations under section 1114 of the Bankruptcy Code. Notwithstanding the foregoing or any
provision in this Plan or any other Definitive Document, the Debtors or the Reorganized Debtors,
as applicable, shall be authorized, in their discretion, pursuant to section 503(b)(1)(A) of the
Bankruptcy Code, to terminate, liquidate, and make payments to covered employees (current and
former) under the Deferred Compensation Plan in accordance with section 409A of the United
States Internal Revenue Code.

        None of the Restructuring, the Restructuring Transactions, or any assumption of Compensation
and Benefits Programs pursuant to the terms herein shall be deemed to trigger any applicable change of
control, vesting, termination, acceleration, or similar provisions therein; provided that the Assumed
Employee Agreements shall be assumed and governed by the terms thereof. Subject to the preceding
sentence, no counterparty shall have rights under a Compensation and Benefits Program assumed
pursuant to this Plan other than those applicable immediately before such assumption.


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        2.       Workers’ Compensation Programs

        As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the
Reorganized Debtors shall continue to honor their obligations under: (a) all applicable state workers’
compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of Claims filed by the
Debtors’ current or former employees on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court
based upon the treatment provided for herein; provided, that nothing in this Plan shall limit, diminish, or
otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other rights under
applicable non-bankruptcy law with respect to the Workers’ Compensation Contracts; provided, further,
that nothing herein shall be deemed to impose any obligations on the Debtors in addition to what is
provided for under applicable non-bankruptcy law and/or the Workers’ Compensation Contracts.

                                          Article VI.
                             PROVISIONS GOVERNING DISTRIBUTIONS

A.      Timing and Calculation of Amounts to Be Distributed

         Unless otherwise provided in this Plan, on the Effective Date (or if a Claim is not an Allowed
Claim on the Effective Date, on the date that such Claim becomes an Allowed Claim, or as soon as
reasonably practicable thereafter), each Holder of an Allowed Claim shall receive the full amount of the
distributions that this Plan provides for Allowed Claims in the applicable Class; provided, that any
Allowed Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course
of business during the Chapter 11 Cases or assumed by the Debtors before the Effective Date shall be
paid or performed in the ordinary course of business.

         In the event that any payment or act under this Plan is required to be made or performed on a date
that is not a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as of
the required date.

         If and to the extent that there are Disputed Claims, distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in Article VII hereof. Except as otherwise
provided herein, Holders of Claims shall not be entitled to postpetition interest, dividends, or accruals on
the distributions provided for herein, regardless of whether such distributions are delivered on or at any
time after the Effective Date.

B.      Special Rules for Distributions to Holders of Disputed Claims

         Except as otherwise agreed by the relevant parties: (1) no partial payments and no partial
distributions shall be made with respect to a Disputed Claim until all such disputes in connection with
such Disputed Claim have been resolved by settlement or Final Order; and (2) any Entity that holds both
an Allowed Claim and a Disputed Claim shall not receive any distribution on the Allowed Claim unless
and until all objections to the Disputed Claim have been resolved by settlement or Final Order or such
Claims or Interests have been Allowed or expunged.

C.      Rights and Powers of Distribution Agent

        1. Powers of the Distribution Agent

         The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under this Plan; (b) make all
distributions contemplated hereby; (c) employ professionals to represent it with respect to its
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responsibilities; and (d) exercise such other powers as may be vested in the Distribution Agent by order
of the Bankruptcy Court, pursuant to this Plan, or as deemed by the Distribution Agent to be necessary
and proper to implement the provisions hereof.

        2. Expenses Incurred on or After the Effective Date and Indemnification

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
expenses incurred by the Distribution Agent on or after the Effective Date (including taxes in connection
with this Plan, but excluding any income, franchise, or similar taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the
Distribution Agent shall be paid in Cash by the Reorganized Debtors.

D.      Delivery of Distributions

        1.       Record Date for Distributions

         On the Distribution Record Date, the Claims Register shall be closed and any party responsible
for making distributions shall instead be authorized and entitled to recognize only those record Holders
listed on the Claims Register as of the close of business on the Distribution Record Date. The
Distribution Record Date shall not apply to distributions in respect of Securities deposited with DTC, the
Holders of which shall receive distributions, if any, in accordance with the customary exchange
procedures of DTC or this Plan. For the avoidance of doubt, in connection with a distribution through the
facilities of DTC (if any), DTC shall be considered a single Holder for purposes of distributions.

        2.       Delivery of Distributions in General

         Except as otherwise provided herein, the Distribution Agent shall make distributions to Holders
of Allowed Claims as of the Distribution Record Date, or, if applicable, to such Holder’s designee, as
appropriate: (a) at the address for each such Holder as indicated on the Debtors’ records as of the
Distribution Record Date; (b) to the signatory set forth on any Proof of Claim Filed by such Holder or
other representative identified therein (or at the last known addresses of such Holder if no Proof of Claim
is Filed or if the Debtors have not been notified in writing of a change of address); (c) at the addresses set
forth in any written notices of address changes delivered to the Reorganized Debtors or the applicable
Distribution Agent, as appropriate, after the date of any related Proof of Claim; or (d) on any counsel that
has appeared in the Chapter 11 Cases on the Holder’s behalf; provided, that the manner of such
distributions shall be determined at the discretion of the Reorganized Debtors.

        All distributions to Holders of DIP Claims shall be made to the DIP Agent or the Exit
FacilityTerm Loan Agent, as applicable, and the DIP Agent or the Exit FacilityTerm Loan Agent shall
be, and shall act as, the Distribution Agent with respect to the DIP Claims in accordance with the terms
and conditions of this Plan and the applicable debt documents.

        All distributions to Holders of Term Loan Claims shall be made to the Term Loan Agent, and the
Term Loan Agent shall be, and shall act as, the Distribution Agent with respect to the Term Loan Claims
in accordance with the terms and conditions of this Plan and the applicable debt documents.

        3.       Minimum Distributions

         Notwithstanding any provision in this Plan to the contrary, no Distribution Agent shall be
required to make distributions or payments of less than $100 (whether in Cash or otherwise) with respect
to Impaired Claims. No fractional shares of New Equity Interests shall be distributed and no Cash shall
be distributed in lieu of such fractional amounts. When any distribution pursuant to this Plan on account
of an Allowed Claim would otherwise result in the issuance of a number of shares of New Equity
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Interests that is not a whole number, the actual distribution of shares of New Equity Interests shall be
rounded as follows: (a) fractions of one-half (½) or greater shall be rounded to the next higher whole
number and (b) fractions of less than one-half (½) shall be rounded to the next lower whole number with
no further payment therefore. The total number of authorized shares of New Equity Interests to be
distributed under this Plan shall be adjusted as necessary to account for the foregoing rounding. For
distribution purposes (including rounding), DTC shall be treated as a single Holder.

        4.       Undeliverable Distributions

         In the event that any distribution to any Holder of Allowed Claims is returned as undeliverable,
no distribution to such Holder shall be made unless and until the Distribution Agent has determined the
then-current address of such Holder, at which time such distribution shall be made to such Holder
without interest; provided, that such distributions shall be deemed unclaimed property under section
347(b) of the Bankruptcy Code at the expiration of one (1) year from the Effective Date. After such date,
all unclaimed property or interests in property shall revert to the Reorganized Debtors automatically and
without need for a further order by the Bankruptcy Court (notwithstanding any applicable federal,
provincial or state escheat, abandoned, or unclaimed property laws to the contrary), and the Claim of any
Holder of Claims to such property or interest in property shall be discharged and forever barred.

E.      Compliance with Tax Requirements; Allocations

         In connection with this Plan and all distributions hereunder, the Reorganized Debtors and any
other applicable Distribution Agent (including for purposes of this Article IV.E, the Debtors) shall
comply with all applicable withholding and reporting requirements imposed on them by any
Governmental Unit, and all distributions hereunder and under all related agreements shall be subject to
any such withholding and reporting requirements. Notwithstanding any provision in this Plan to the
contrary, the Reorganized Debtors and any other applicable Distribution Agent shall have the right, but
not the obligation, to take any and all actions that may be necessary or appropriate to comply with such
applicable withholding and reporting requirements, including (a) withholding distributions and amounts
therefrom pending receipt of information necessary to facilitate such distributions, including properly
executed withholding certification forms, and (2) in the case of a non-Cash distribution that is subject to
withholding, withholding an appropriate portion of such property and either liquidating such withheld
property to generate sufficient funds to pay applicable withholding taxes (or reimburse the distributing
party for any advance payment of the withholding tax) or pay the withholding tax using its own funds
and retain such withheld property. Notwithstanding any provision in this Plan to the contrary, upon the
request of the Reorganized Debtors or any other applicable Distribution Agent, all Persons and Entities
holding Claims shall be required to provide any information necessary to effect information reporting and
the withholding of such taxes (or establish eligibility for an exclusion for the withholding of taxes), and
each Holder of an Allowed Claim shall have the sole and exclusive responsibility for the satisfaction and
payment of any tax obligations imposed by any Governmental Unit, including income, withholding, and
other tax obligations, on account of such distribution. Any amounts withheld or reallocated pursuant to
this Article IV.E shall be treated as if distributed to the Holder of the Allowed Claim.

        Any Person or Entity entitled to receive any property as an issuance or distribution under this
Plan shall, upon request, deliver to the applicable Reorganized Debtor or any other applicable
Distribution Agent, or such other Person designated by the Reorganized Debtor or the Distribution
Agent, an IRS Form W-9 or, if the payee is a foreign Person or Entity, an applicable IRS Form W-8, or
any other forms or documents reasonably requested by a Reorganized Debtor or Distribution Agent to
reduce or eliminate any withholding required by any Governmental Unit.




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        The Reorganized Debtors reserve the right to allocate all distributions made under this Plan in
compliance with all applicable wage garnishments, alimony, child support and other spousal awards,
Liens, and encumbrances.

F.      Applicability of Insurance Contracts

        Notwithstanding anything to the contrary in this Plan, the Plan Supplement, the Disclosure
Statement, or the Combined Order (including, without limitation, any provision that purports to be
preemptory or supervening, confers Bankruptcy Court jurisdiction, or requires a party to opt out of any
releases):

         1.     on and after the Effective Date, all Insurance Contracts (a) are found to be and shall be
treated as, Executory Contracts under this Plan and shall be assumed pursuant to sections 105 and 365 of
the Bankruptcy Code by the applicable Debtor, and/or (b) shall vest in the Reorganized Debtors and ride
through and continue in full force and effect in accordance with their respective terms in either case such
that the Reorganized Debtors shall become and remain jointly and severally liable in full for, and shall
satisfy, any premiums, deductibles, self-insured retentions, and/or any other amounts or obligations
arising in any way out of the receipt of payment from an Insurer in respect of the Insurance Contracts and
as to which no Proof of Claim, Administrative Claim, or Cure Cost claim need be filed; and

         2.     solely with respect to Insurance Contracts, which, for avoidance of doubt, includes any
and all collateral or security securing the Debtor’s obligations under the insurance policies,
including, without limitation, escrow accounts, deposit accounts, cash collateral, and letters of
credit, the automatic stay of section 362(a) of the Bankruptcy Code and the injunctions set forth in this
Plan, if and to the extent applicable, shall be deemed lifted without further order of this Bankruptcy
Court, solely to permit (a) claimants with valid workers’ compensation claims or direct action claims
against Insurers under applicable non-bankruptcy law to proceed with their claims; (b) Insurers to
administer, handle, defend, settle, and/or pay, in the ordinary course of business and without further order
of this Bankruptcy Court, (i) workers’ compensation claims, (ii) claims where a claimant asserts a direct
claim against an Insurer under applicable non-bankruptcy law, or an order has been entered by this
Bankruptcy Court granting a claimant relief from the automatic stay or the injunctions set forth in this
Plan to proceed with its claim, and (iii) all costs in relation to each of the foregoing; and (c) the Insurers
to collect from any or all of the collateral or security provided by or on behalf of the Debtors (or the
Reorganized Debtors) at any time and to hold the proceeds thereof as security for the obligations of the
Debtors (or the Reorganized Debtors) and/or apply such proceeds to the obligations of the Debtors (or
the Reorganized Debtors) under the applicable Insurance Contracts, in such order as the applicable
Insurer may determine.

        Nothing contained in this Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtors or any Entity may hold against any other Entity, including Insurers under any Insurance
Contracts, nor shall anything contained herein constitute or be deemed a waiver by such Insurers of any
rights or defenses, including coverage defenses, held by such Insurers under the Insurance Contracts
and/or applicable non-bankruptcy law.

G.      Allocation of Distributions Between Principal and Interest

         Except as otherwise required by law (as reasonably determined by the Reorganized Debtors),
distributions with respect to an Allowed Claim shall be allocated first to the principal portion of such
Allowed Claim (as determined for United States federal income tax purposes) and, thereafter, to the
remaining portion of such Allowed Claim, if any.



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H.      No Postpetition Interest on Claims

        Unless otherwise specifically provided for in this Plan, any other Definitive Document, the
Combined Order, the DIP/Cash Collateral Orders, or any other Final Order of the Bankruptcy Court, or
required by applicable bankruptcy law (including, without limitation, as required pursuant to section
506(b) or section 511 of the Bankruptcy Code), postpetition interest shall not accrue or be paid on any
Claims and no Holder of a Claim or Interest shall be entitled to interest accruing on or after the Petition
Date on any Claim.

I.      Means of Cash Payment

         Payments of Cash made pursuant to this Plan shall be in United States dollars and shall be made,
at the option of the Debtors or the Reorganized Debtors (as applicable), by checks drawn on, or wire
transfer from, a domestic bank selected by the Debtors or the Reorganized Debtors. Cash payments to
foreign creditors may be made, at the option of the Debtors or the Reorganized Debtors, in such funds
and by such means as are necessary or customary in a particular foreign jurisdiction.

J.      Setoffs and Recoupment

         Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable bankruptcy or non-bankruptcy law, or as may
be agreed to by the Holder of an Allowed Claim, may set off or recoup against any Allowed Claim and
the distributions to be made pursuant to this Plan on account of such Allowed Claim, any Claims, rights,
and Causes of Action of any nature that the applicable Debtor or Reorganized Debtor may hold against
the Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action have not been
otherwise compromised, settled, or assigned on or before the Effective Date (whether pursuant to this
Plan, a Final Order or otherwise); provided, that neither the failure to effect such a setoff or recoupment
nor the allowance of any Claim pursuant to this Plan shall constitute a waiver or release by such
Reorganized Debtor of any such Claims, rights, and Causes of Action.

        Notwithstanding anything to the contrary herein, nothing in this Plan or the Combined
Order shall modify the rights, if any, of any counterparty to an Executory Contract or Unexpired
Lease to assert any right of setoff or recoupment that such party may have under applicable
bankruptcy law or non-bankruptcy law, including, but not limited to, the (1) ability, if any, of such
parties to setoff or recoup a security deposit held pursuant to the terms of their Unexpired Lease(s)
with the Debtors, or any successors to the Debtors, under this Plan, (2) assertion of rights of setoff
or recoupment, if any, in connection with Claims reconciliation, or (3) assertion of setoff or
recoupment as a defense, if any, to any Claim or action by the Debtors, the Reorganized Debtors,
or any successors of the Debtors.

K.      Claims Paid or Payable by Third Parties

        1.       Claims Paid by Third Parties

         A Claim shall be correspondingly reduced, and the applicable portion of such Claim shall be
disallowed without an objection to such Claim having to be Filed and without any further notice to or
action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives a
payment on account of such Claim from a party that is not a Debtor or Reorganized Debtor. To the
extent a Holder of a Claim receives a distribution on account of such Claim and receives payment from a
party that is not a Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within
fourteen (14) days of receipt thereof, repay or return the distribution to the Reorganized Debtors to the
extent the Holder’s total recovery on account of such Claim from the third party and under this Plan
exceeds the amount of such Claim as of the date of any such distribution under this Plan. The failure of
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such Holder to timely repay or return such distribution shall result in the Holder owing the Reorganized
Debtors annualized interest at the Federal Judgment Rate on such amount owed for each Business Day
after the fourteen (14) day grace period specified above until the amount is repaid.

        2.       Claims Payable by Insurers

        No distributions under this Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the Debtors’ Insurance Contracts until the Holder of such Allowed Claim has
exhausted all remedies with respect to such Insurance Contract. To the extent that one or more of the
Insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of
competent jurisdiction), then immediately upon such Insurers’ agreement, the applicable portion of such
Claim may be expunged without a Claim objection having to be Filed and without any further notice to
or action, order, or approval of the Bankruptcy Court.

        3.       Insurance Contracts

         Except as otherwise provided in this Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable Insurance Contract. Notwithstanding anything to the
contrary herein, nothing contained in this Plan shall constitute or be deemed a release, settlement,
satisfaction, compromise, or waiver of any Cause of Action that the Debtors or any other Entity may hold
against any other Entity, including Insurers, under any Insurance Contracts or applicable indemnity, nor
shall anything contained herein constitute or be deemed a waiver by such Insurers of any defenses,
including coverage defenses, held by such Insurers.

                                        Article VII.
                          PROCEDURES FOR RESOLVING CONTINGENT,
                            UNLIQUIDATED, AND DISPUTED CLAIMS

A.      No Filings of Proofs of Claim

         Except as otherwise provided in this Plan, Holders of Claims shall not be required to File a Proof
of Claim, and except as provided in this Plan, no parties should File a proof of Claim. The Debtors do
not intend to object in the Bankruptcy Court to the allowance of Claims Filed; provided, that the Debtors
and the Reorganized Debtors, as applicable, reserve the right to object to any Claim that is entitled, or
deemed to be entitled, to a distribution under this Plan or is rendered Unimpaired under this Plan.
Instead, the Debtors intend to make distributions, as required by this Plan, in accordance with the books
and records of the Debtors. Unless disputed by a Holder of a Claim, the amount set forth in the books
and records of the Debtors shall constitute the amount of the Allowed Claim of such Holder except that
(unless expressly waived pursuant to this Plan) the Allowed amount of such Claim shall be subject to the
limitations or maximum amounts permitted by the Bankruptcy Code, including sections 502 and 503 of
the Bankruptcy Code, to the extent applicable. If any such Holder of a Claim disagrees with the Debtors’
books and records with respect to the Allowed amount of such Holder’s Claim, such Holder must so
advise the Debtors in writing within thirty (30) days of receipt of any distribution on account of such
Holder’s Claim, in which event the Claim shall become a Disputed Claim. The Debtors intend to attempt
to resolve any such disputes consensually or through judicial means outside the Bankruptcy Court.
Nevertheless, the Debtors may, in their discretion, File with the Bankruptcy Court (or any other court of
competent jurisdiction) an objection to the allowance of any Claim or any other appropriate motion or
adversary proceeding with respect thereto. All such objections shall be litigated to Final Order;
provided, that the Debtors may compromise, settle, withdraw, or resolve by any other method approved
by the Bankruptcy Court any objections to Claims.



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         All Proofs of Claim Filed in the Chapter 11 Cases shall be considered objected to and Disputed
without further action by the Debtors. Upon the Effective Date, all Proofs of Claim Filed against the
Debtors, regardless of the time of filing, and including Proofs of Claim Filed after the Effective Date,
shall be deemed withdrawn and expunged, other than as provided below. Notwithstanding anything in
this Plan to the contrary, disputes regarding the amount of any Cure Cost pursuant to section 365 of the
Bankruptcy Code and Claims that the Debtors seek to have determined by the Bankruptcy Court, shall in
all cases be determined by the Bankruptcy Court. Except as otherwise provided herein, all Proofs of
Claim Filed after the Effective Date shall be disallowed and forever barred, estopped, and enjoined
from assertion, and shall not be enforceable against any Reorganized Debtor, without the need for
any objection by the Reorganized Debtors or any further notice to or action, order, or approval of
the Bankruptcy Court.

B.      Allowance and Disallowance of Claims

        After the Effective Date, and except as otherwise provided in this Plan, the Reorganized Debtors
shall have and shall retain any and all available rights and defenses that the Debtors had with respect to
any Claim immediately before the Effective Date, including, without limitation, the right to assert any
objection to Claims based on the limitations imposed by section 502 of the Bankruptcy Code. The
Debtors and the Reorganized Debtors may, but are not required to, contest the amount and validity of any
Disputed Claim or contingent or unliquidated Claim in the ordinary course of business in the manner and
venue in which such Claim would have been determined, resolved or adjudicated if the Chapter 11 Cases
had not been commenced.

         All Claims and Interests of any Entity from which property is sought by the Debtors under
sections 542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors
allege is a transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549,
or 724(a) of the Bankruptcy Code shall be disallowed if: (1) the Entity, on the one hand, and the Debtors
or the Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has
determined by Final Order that such Entity or transferee is liable to turn over any property or monies
under any of the aforementioned sections of the Bankruptcy Code; and (2) such Entity or transferee has
failed to turn over such property by the date set forth in such agreement or Final Order.

C.      Claims Administration Responsibilities

          Except as otherwise specifically provided in this Plan, after the Effective Date, the Reorganized
Debtors shall have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims
or Interests; (2) to settle or compromise any Disputed Claim or Interest without any further notice to or
action, order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims Register
to reflect any such settlements or compromises without any further notice to or action, order, or approval
by the Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and
after the Effective Date, each Reorganized Debtor shall have and retain any and all rights and defenses
such Debtor had immediately before the Effective Date with respect to any Disputed Claim or Interest,
including the Causes of Action retained pursuant to this Plan.

       Any objections to Claims and Interests other than General Unsecured Claims must be
served and Filed on or before the 120th day after the Effective Date or by such later date as
ordered by the Bankruptcy Court. All Claims and Interests other than General Unsecured Claims
not objected to by the end of such 120-day period shall be deemed Allowed unless such period is
extended upon approval of the Bankruptcy Court.

        Notwithstanding the foregoing, the Debtors and Reorganized Debtors shall be entitled to dispute
and/or otherwise object to any General Unsecured Claim in accordance with applicable non-bankruptcy

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law. If the Debtors or Reorganized Debtors dispute any General Unsecured Claim, such dispute shall be
determined, resolved, or adjudicated, as the case may be, in the manner as if the Chapter 11 Cases had
not been commenced. In any action or proceeding to determine the existence, validity, or amount of any
General Unsecured Claim, any and all claims or defenses that could have been asserted by the applicable
Debtor(s) or the Entity holding such General Unsecured Claim are preserved as if the Chapter 11 Cases
had not been commenced.

D.       Adjustment to Claims or Interests without Objection

        Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended,
or superseded may be adjusted or expunged on the Claims Register by the Reorganized Debtors without
the Reorganized Debtors having to File an application, motion, complaint, objection, or any other legal
proceeding seeking to object to such Claim or Interest and without any further notice to or action, order,
or approval of the Bankruptcy Court.

E.       Distributions After Allowance

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
shall be made to the Holder of such Allowed Claim in accordance with the provisions of this Plan. As
soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing
any Disputed Claim becomes a Final Order, the Reorganized Debtors shall provide to the Holder of such
Claim the distribution (if any) to which such Holder is entitled under this Plan as of the Effective Date,
without any postpetition interest to be paid on account of such Claim.

                                      Article VIII.
                      CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.       Conditions Precedent to the Effective Date

       The following are conditions precedent to the Effective Date that must be satisfied or waived
pursuant to the provisions of Article VIII.B hereof:

        1.       The Transaction Support Agreement shall be in full force and effect, no termination
event or event that would give rise to a termination event under the Transaction Support Agreement upon
the expiration of any applicable grace period shall have occurred and remain occurring, and the
Transaction Support Agreement shall not have been validly terminated before the Effective Date.

         2.      The Bankruptcy Court shall have entered the Final DIP/Cash Collateral Order on a final
basis.

        3.      The final version of the Plan Supplement and all of the schedules, documents, and
exhibits contained therein shall have been filed in a manner consistent in all material respects with the
Transaction Support Agreement, the Transaction Term Sheet, the ABL/FILO Exit Commitment Letters,
and this Plan and in form and substance reasonably acceptable to the ABL Facility Agent, FILO Term
Loan Agent, FILO Lenders, and Required DIP Lenders.

       4.      No Termination Declaration shall be in effect, subject to any applicable Remedies
Determination (each as defined in the Interim DIP/Cash Collateral Order).

       5.      The Bankruptcy Court shall have entered the Combined Order, which shall be in form
and substance consistent in all material respects with the Transaction Term Sheet and the Transaction
Support Agreement and shall:


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                 a.       authorize the Debtors to take all actions necessary to enter into, implement, and
                          consummate the contracts, instruments, releases, leases, indentures, and other
                          agreements or documents created in connection with this Plan;

                 b.       be in form and substance reasonably acceptable to the ABL Facility Agent, FILO
                          Term Loan Agent, FILO Lenders, and Required DIP Lenders;

                 c.       authorize the assumption, assumption and assignment, and/or rejection of the
                          Executory Contracts and Unexpired Leases by the Debtors as contemplated in
                          this Plan and the Plan Supplement;

                 d.       decree that the provisions in the Combined Order and this Plan are nonseverable
                          and mutually dependent;

                 e.       authorize the Debtors to: (i) implement the Restructuring Transactions;
                          (ii) distribute the New Equity Interests pursuant to the exemption from
                          registration under the Securities Act provided by section 1145 of the Bankruptcy
                          Code or other exemption from such registration or pursuant to one or more
                          registration statements; (iii) make all distributions and issuances as required
                          under this Plan consistent with the Transaction Term Sheet, including the New
                          Equity Interests; and (iv) enter into any agreements, transactions, and sales of
                          property as contemplated by this Plan and the Plan Supplement, including the
                          Management Incentive Plan;

                 f.       authorize the implementation of this Plan in accordance with its terms; and

                 g.       provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or
                          surrender of any lease or sublease, and the delivery of any deed or other
                          instrument or transfer order, in furtherance of, or in connection with this Plan,
                          including any deeds, bills of sale, or assignments executed in connection with
                          any disposition or transfer of assets contemplated under this Plan, shall not be
                          subject to any stamp, real estate transfer, mortgage recording, or other similar
                          tax.

         6.      Each document or agreement constituting the applicable Definitive Documents shall
have been executed and/or effectuated, shall be in form and substance consistent with the Transaction
Support Agreement or the ABL/FILO Exit Commitment Letters, as applicable, including the consent
rights provided therein, and any conditions precedent related thereto or contained therein shall have been
satisfied before or contemporaneously with the occurrence of the Effective Date or otherwise waived in
accordance with the terms of the applicable Definitive Documents.

         7.      The Debtors shall have obtained all authorizations, consents, regulatory approvals,
rulings, or documents that are necessary to implement and effectuate the Restructuring Transactions, and
all applicable regulatory or government imposed waiting periods shall have expired or been terminated.

        8.      All governmental and third-party approvals and consents that may be necessary in
connection with the Restructuring Transactions shall have been obtained, not be subject to unfulfilled
conditions, and be in full force and effect, and all applicable waiting periods shall have expired without
any action being taken or threatened by any competent authority that would restrain, prevent, or
otherwise impose materially adverse conditions on the Restructuring Transactions.




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        9.       No court of competent jurisdiction or other competent governmental or regulatory
authority shall have issued any order making illegal or otherwise restricting, limiting, preventing, or
prohibiting the consummation of any of the Restructuring Transactions.

        10.      The Debtors shall have paid in full all professional fees and expenses of the Retained
Professionals that require the Bankruptcy Court’s approval or amounts sufficient to pay such fees and
expenses after the Effective Date shall have been placed in Professional Fee Escrow Account pending the
Bankruptcy Court’s approval of such fees and expenses.

       11.     The Restructuring Fees and Expenses shall have been paid in full (subject to any order of
the Bankruptcy Court).

        12.     The restructuring to be implemented on the Effective Date shall be consistent with this
Plan, the Transaction Support Agreement, and the ABL/FILO Exit Commitment Letters.

        13.     Such other conditions precedent to the Effective Date that are customary and otherwise
requested by the Required Consenting Term Lenders and the Required DIP Lenders and agreed to by the
Debtors, the ABL Facility Agent, the FILO Term Loan Agent, and the FILO Lenders (such agreement
not to be unreasonably withheld).

        14.     There shall not have been instituted or threatened or be pending any material action,
proceeding, application, claim, counterclaim, or investigation (whether formal or informal) (or there shall
not have been any material adverse development to any action, application, claim, counterclaim, or
proceeding currently instituted, threatened, or pending) before or by any court, governmental, regulatory
or administrative agency or instrumentality, domestic or foreign, or by any other person, domestic or
foreign, in connection with the Restructuring Transactions that, in the reasonable judgment of the
Debtors and the Required Consenting Stakeholders would prohibit, prevent, or restrict consummation of
the Restructuring Transactions in a materially adverse manner.

        Following the satisfaction or waiver of the foregoing, concurrently with or immediately
following effectiveness of this Plan on the Effective Date:

        1.      The Existing Equity Interests shall have been canceled and the New Equity Interests
shall have been issued by Reorganized Parent.

        2.      All Exit Facilities and all other financing agreements and arrangements contemplated
hereunder, as applicable, shall be or have been, as applicable, funded and closed and be in full force and
effect.

        3.       The Releases set forth in this Plan shall be in full force and effect.

        4.     The Debtors shall have paid in full to the relevant Parties all payments and fees provided
for in the Transaction Support Agreement, the Transaction Term Sheet, and applicable Definitive
Documents that are payable on, before, or in connection with the occurrence of the Effective Date.

        The Reorganized Debtors shall complete the termination of registration of all Securities under
sections 13 and 15(d) of the Exchange Act such that the Reorganized Debtors shall be a private company
as soon as reasonably practicable after the Effective Date.

B.      Waiver of Conditions

       Subject to section 1127 of the Bankruptcy Code, the conditions to Confirmation and
consummation of this Plan set forth in this Article VIII may be waived by the Debtors, with the consent
of the Required DIP Lenders, the ABL Facility Agent, the FILO Term Loan Agent, and the FILO
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Lenders (not to be unreasonably withheld or delayed), without notice, leave, or order of the Bankruptcy
Court or any formal action other than proceeding to confirm or consummate this Plan. The failure of the
Debtors or Reorganized Debtors to exercise any of the foregoing rights shall not be deemed a waiver of
any other rights, and each right shall be deemed an ongoing right that may be asserted at any time.

C.      Effect of Non-Occurrence of Conditions to the Effective Date

         If the Confirmation of this Plan or the Effective Date does not occur with respect to one or more
of the Debtors on or before the termination of the Transaction Support Agreement, then this Plan shall,
with respect to such applicable Debtor or Debtors, be null and void in all respects and nothing contained
in this Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by or
Claims against or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, any
Holders, or any other Person or Entity; (3) constitute an allowance of any Claim or Interest; or (4)
constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders, or any other
Person or Entity in any respect.

D.      Substantial Consummation

         “Substantial consummation” of this Plan, as defined in section 1102(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.

                                     Article IX.
             DISCHARGE, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims and Termination of Interests

         Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and
except as otherwise specifically provided in this Plan, the Definitive Documents, or in any contract,
instrument, or other agreement or document created or entered into, the distributions, rights, and
treatment that are provided in this Plan shall be in full and final satisfaction, settlement, release, and
discharge, effective as of the Effective Date, of Claims (including any Intercompany Claims resolved or
compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of
any nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition
Date, whether known or unknown, against, liabilities of, demands against, Liens on, obligations of, rights
against, and Interests in, the Debtors, the Reorganized Debtors, the Estates, or any of their assets or
properties, regardless of whether any property shall have been distributed or retained pursuant to this
Plan on account of such Claims and Interests, including demands, liabilities, and Causes of Action that
arose before the Effective Date, any liability (including withdrawal liability) to the extent such Claims or
Interests relate to services performed by employees of the Debtors before the Effective Date and that
arise from a termination of employment, any contingent or non-contingent liability on account of
representations or warranties issued on or before the Effective Date, and all debts of the kind specified in
sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of
Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy
Code; (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502
of the Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted this Plan. The
Combined Order shall be a judicial determination of the discharge of all Claims and Interests subject to
the occurrence of the Effective Date.

       Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
provided pursuant to this Plan, the provisions of this Plan shall constitute a good-faith compromise of all
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights that a
Holder of a Claim or Interest may have with respect to any Allowed Claim or Interest or any distribution
to be made on account of such Allowed Claim or Interest. The entry of the Combined Order shall
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constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests,
and controversies as well as a finding by the Bankruptcy Court that such compromise or settlement is in
the best interests of the Debtors, the Estates, and Holders of Claims and Interests and is fair, equitable,
and reasonable. In accordance with the provisions of this Plan, pursuant to Bankruptcy Rule 9019,
without any further notice to or action, order, or approval of the Bankruptcy Court, after the Effective
Date, the Reorganized Debtors may compromise and settle Claims against the Debtors and the Estates
and Causes of Action against other Entities.

B.      Releases by the Debtors

       EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS PLAN OR THE
COMBINED ORDER, PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, AS
OF THE EFFECTIVE DATE, IN EXCHANGE FOR GOOD AND VALUABLE
CONSIDERATION, THE ADEQUACY OF WHICH IS HEREBY CONFIRMED, EACH
RELEASED PARTY, IN EACH CASE ON BEHALF OF ITSELF AND ITS RESPECTIVE
SUCCESSORS, ASSIGNS, AND REPRESENTATIVES, AND ANY AND ALL OTHER
ENTITIES WHO MAY PURPORT TO ASSERT ANY CLAIM OR CAUSE OF ACTION,
DIRECTLY OR DERIVATIVELY, BY, THROUGH, FOR, OR BECAUSE OF THE
FOREGOING ENTITIES, IS AND IS DEEMED TO BE, FOREVER AND UNCONDITIONALLY
RELEASED, AND ABSOLVED, ACQUITTED, AND DISCHARGED BY EACH DEBTOR,
REORGANIZED DEBTOR, AND THE ESTATES FROM ANY AND ALL CLAIMS AND
CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY
DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS,
THE ESTATES, OR THE REORGANIZED DEBTORS THAT SUCH ENTITY WOULD HAVE
BEEN LEGALLY ENTITLED TO ASSERT IN ITS OWN RIGHT (WHETHER INDIVIDUALLY
OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM AGAINST, OR
INTEREST IN, A DEBTOR OR OTHER ENTITY, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, (1) THE MANAGEMENT,
OWNERSHIP, OR OPERATION OF THE DEBTORS OR THE NON-DEBTOR AFFILIATES,
(2) THE PURCHASE, SALE, OR RESCISSION OF ANY SECURITY OF THE DEBTORS OR
THE NON-DEBTOR AFFILIATES, (3) THE SUBJECT MATTER OF, OR THE
TRANSACTIONS, EVENTS, CIRCUMSTANCES, ACTS OR OMISSIONS GIVING RISE TO,
ANY CLAIM OR INTEREST THAT IS TREATED IN THE RESTRUCTURING
TRANSACTIONS, INCLUDING THE NEGOTIATION, FORMULATION, OR PREPARATION
OF THE RESTRUCTURING TRANSACTIONS, (4) THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS BETWEEN ANY DEBTOR OR NON-DEBTOR AFFILIATE AND ANY
OTHER ENTITY, (5) THE DEBTORS’ AND NON-DEBTOR AFFILIATES’ IN- OR
OUT-OF-COURT RESTRUCTURING EFFORTS, (6) INTERCOMPANY TRANSACTIONS,
(7) THE TRANSACTION SUPPORT AGREEMENT, THE DEFINITIVE DOCUMENTS, THE
ABL FACILITY DOCUMENTS, THE TERM LOAN DOCUMENTS, THE DIP FACILITY
DOCUMENTS, THE EXIT FACILITIES DOCUMENTS (AND ANY FINANCING PERMITTED
THEREUNDER), THE CHAPTER 11 CASES, OR ANY RESTRUCTURING TRANSACTION,
(8) ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE TRANSACTION
SUPPORT AGREEMENT, THE DEFINITIVE DOCUMENTS, OR THE RESTRUCTURING
TRANSACTIONS, INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES
PURSUANT TO THIS PLAN, (9) THE DISTRIBUTION, INCLUDING ANY DISBURSEMENTS
MADE BY A DISTRIBUTION AGENT, OF PROPERTY UNDER THIS PLAN OR ANY OTHER
RELATED AGREEMENT, OR (10) ANY OTHER ACT OR OMISSION, TRANSACTION,
AGREEMENT, EVENT, OR OTHER OCCURRENCE RELATED TO ANY OF THE
FOREGOING AND TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE; PROVIDED,

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THAT THE DEBTORS DO NOT RELEASE CLAIMS OR CAUSES OF ACTION ARISING OUT
OF, OR RELATED TO, ANY ACT OR OMISSION OF A RELEASED PARTY THAT IS
DETERMINED BY FINAL ORDER OF THE BANKRUPTCY COURT OR ANY OTHER
COURT OF COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD,
GROSS NEGLIGENCE, OR WILLFUL MISCONDUCT (IT BEING AGREED THAT ANY
RELEASED PARTIES’ CONSIDERATION, APPROVAL, OR RECEIPT OF ANY
DISTRIBUTION DID NOT ARISE FROM OR RELATE TO ACTUAL FRAUD, GROSS
NEGLIGENCE, OR WILLFUL MISCONDUCT). NOTWITHSTANDING ANYTHING TO THE
CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT
RELEASE (1) ANY POST EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY
UNDER THIS PLAN, THE COMBINED ORDER, ANY OTHER DEFINITIVE DOCUMENT,
ANY RESTRUCTURING TRANSACTION, ANY DOCUMENT, INSTRUMENT, OR
AGREEMENT (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT)
EXECUTED TO IMPLEMENT THIS PLAN, OR ANY CLAIM OR OBLIGATION ARISING
UNDER THIS PLAN OR (2) ANY CAUSES OF ACTION SPECIFICALLY RETAINED BY THE
DEBTORS PURSUANT TO THE SCHEDULE OF RETAINED CAUSES OF ACTION.

     ENTRY OF THE COMBINED ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE DEBTOR
RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS
AND DEFINITIONS CONTAINED IN THIS PLAN, AND FURTHER, SHALL CONSTITUTE
THE BANKRUPTCY COURT’S FINDING THAT THE DEBTOR RELEASE IS: (1) IN
EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED BY EACH
OF THE RELEASED PARTIES, INCLUDING THE RELEASED PARTIES’ SUBSTANTIAL
CONTRIBUTIONS TO FACILITATING THE RESTRUCTURING TRANSACTIONS AND
IMPLEMENTING THIS PLAN; (2) A GOOD-FAITH SETTLEMENT AND COMPROMISE OF
THE CLAIMS RELEASED BY THE DEBTOR RELEASE; (3) IN THE BEST INTERESTS OF
THE DEBTORS AND ALL HOLDERS OF CLAIMS AND INTERESTS; (4) FAIR, EQUITABLE,
AND REASONABLE; (5) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
FOR HEARING; AND (6) A BAR TO ANY OF THE DEBTORS, THE REORGANIZED
DEBTORS, OR THE DEBTORS’ ESTATES ASSERTING ANY CLAIM OR CAUSE OF
ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

C.      Releases by Holders of Claims and Interests

      EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS PLAN OR THE
COMBINED ORDER, AS OF THE EFFECTIVE DATE, IN EXCHANGE FOR GOOD AND
VALUABLE CONSIDERATION, THE ADEQUACY OF WHICH IS HEREBY CONFIRMED,
EACH RELEASING PARTY, IN EACH CASE ON BEHALF OF ITSELF AND ITS
RESPECTIVE SUCCESSORS, ASSIGNS, AND REPRESENTATIVES, AND ANY AND ALL
OTHER ENTITIES WHO MAY PURPORT TO ASSERT ANY CLAIM OR CAUSE OF
ACTION, DIRECTLY OR DERIVATIVELY, BY, THROUGH, FOR, OR BECAUSE OF THE
FOREGOING ENTITIES, HAS AND IS DEEMED TO HAVE, FOREVER AND
UNCONDITIONALLY, RELEASED, AND ABSOLVED, ACQUITTED, AND DISCHARGED
EACH DEBTOR, REORGANIZED DEBTOR, AND EACH RELEASED PARTY FROM ANY
AND ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN,
INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF
THE DEBTORS, THE ESTATES, OR THE REORGANIZED DEBTORS THAT SUCH ENTITY
WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN ITS OWN RIGHT (WHETHER
INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM
AGAINST, OR INTEREST IN, A DEBTOR, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, (1) THE MANAGEMENT,
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OWNERSHIP, OR OPERATION OF THE DEBTORS OR THE NON-DEBTOR AFFILIATES,
(2) THE PURCHASE, SALE, OR RESCISSION OF ANY SECURITY OF THE DEBTORS OR
THE NON-DEBTOR AFFILIATES, (3) THE SUBJECT MATTER OF, OR THE
TRANSACTIONS, EVENTS, CIRCUMSTANCES, ACTS OR OMISSIONS GIVING RISE TO,
ANY CLAIM OR INTEREST THAT IS TREATED IN THE RESTRUCTURING
TRANSACTIONS, INCLUDING THE NEGOTIATION, FORMULATION, OR PREPARATION
OF THE RESTRUCTURING TRANSACTIONS, (4) THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS BETWEEN ANY DEBTOR OR NON-DEBTOR AFFILIATE AND ANY
OTHER ENTITY, (5) THE DEBTORS’ AND NON-DEBTOR AFFILIATES’ IN- OR
OUT-OF-COURT RESTRUCTURING EFFORTS, (6) INTERCOMPANY TRANSACTIONS, (7)
THE TRANSACTION SUPPORT AGREEMENT, THE DEFINITIVE DOCUMENTS, THE ABL
FACILITY DOCUMENTS, THE TERM LOAN DOCUMENTS, THE DIP FACILITY
DOCUMENTS, THE EXIT FACILITIES DOCUMENTS (AND ANY FINANCING PERMITTED
THEREUNDER), THE CHAPTER 11 CASES, OR ANY RESTRUCTURING TRANSACTION,
(8) ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE TRANSACTION
SUPPORT AGREEMENT, THE DEFINITIVE DOCUMENTS, OR THE RESTRUCTURING
TRANSACTIONS, INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES
PURSUANT TO THIS PLAN, (9) THE DISTRIBUTION, INCLUDING ANY DISBURSEMENTS
MADE BY A DISTRIBUTION AGENT, OF PROPERTY UNDER THIS PLAN OR ANY OTHER
RELATED AGREEMENT, OR (10) ANY OTHER ACT, OR OMISSION, TRANSACTION,
AGREEMENT, EVENT, OR OTHER OCCURRENCE RELATING TO ANY OF THE
FOREGOING AND TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE; PROVIDED,
THAT THE RELEASING PARTIES DO NOT RELEASE CLAIMS OR CAUSES OF ACTION
ARISING OUT OF, OR RELATED TO, ANY ACT OR OMISSION OF A RELEASED PARTY
THAT IS DETERMINED BY FINAL ORDER OF THE BANKRUPTCY COURT OR ANY
OTHER COURT OF COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL
FRAUD, GROSS NEGLIGENCE, OR WILLFUL MISCONDUCT (IT BEING AGREED THAT
ANY RELEASED PARTIES’ CONSIDERATION, APPROVAL, OR RECEIPT OF ANY
DISTRIBUTION DID NOT ARISE FROM OR RELATE TO ACTUAL FRAUD, GROSS
NEGLIGENCE, OR WILLFUL MISCONDUCT). NOTWITHSTANDING ANYTHING TO THE
CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT
RELEASE (1) ANY POST EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY
UNDER THIS PLAN, THE COMBINED ORDER, ANY OTHER DEFINITIVE DOCUMENT,
ANY RESTRUCTURING TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR
AGREEMENT (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT)
EXECUTED TO IMPLEMENT THIS PLAN, OR ANY CLAIM OR OBLIGATION ARISING
UNDER THIS PLAN OR (2) ANY CAUSES OF ACTION SPECIFICALLY RETAINED BY THE
DEBTORS PURSUANT TO THE SCHEDULE OF RETAINED CAUSES OF ACTION.

      ENTRY OF THE COMBINED ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE THIRD-PARTY
RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS
AND DEFINITIONS CONTAINED IN THIS PLAN, AND, FURTHER, SHALL CONSTITUTE
THE BANKRUPTCY COURT’S FINDING THAT THE THIRD-PARTY RELEASE IS:
(1) CONSENSUAL; (2) ESSENTIAL TO THE CONFIRMATION OF THIS PLAN; (3) GIVEN IN
EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED BY EACH
OF THE RELEASED PARTIES, INCLUDING THE RELEASED PARTIES’ SUBSTANTIAL
CONTRIBUTIONS TO FACILITATING THE RESTRUCTURING TRANSACTIONS AND
IMPLEMENTING THIS PLAN; (4) A GOOD FAITH SETTLEMENT AND COMPROMISE OF
THE CLAIMS RELEASED BY THE THIRD-PARTY RELEASE; (5) IN THE BEST INTERESTS

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OF THE DEBTORS AND THE ESTATES; (6) FAIR, EQUITABLE, AND REASONABLE;
(7) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING; AND
(83) A BAR TO ANY OF THE RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE
OF ACTION RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.

D.      Exculpation

      EFFECTIVE AS OF THE EFFECTIVE DATE, TO THE FULLEST EXTENT
PERMITTED BY LAW, THE EXCULPATED PARTIES SHALL NEITHER HAVE NOR INCUR
ANY LIABILITY TO ANY PERSON OR ENTITY FOR ANY CLAIMS OR CAUSES OF
ACTION ARISING BEFORE OR ON THE EFFECTIVE DATE FOR ANY ACT TAKEN OR
OMITTED TO BE TAKEN BETWEEN THE PETITION DATE AND THE EFFECTIVE DATE
IN CONNECTION WITH, OR RELATED TO, FORMULATING, NEGOTIATING,
PREPARING, DISSEMINATING, IMPLEMENTING, ADMINISTERING, CONFIRMING OR
EFFECTING THE CONFIRMATION OR CONSUMMATION (AS APPLICABLE) OF THIS
PLAN, THE TRANSACTION SUPPORT AGREEMENT, AND THE DISCLOSURE
STATEMENT INCLUDING ANY DISBURSEMENTS MADE BY A DISTRIBUTION AGENT IN
CONNECTION WITH THIS PLAN, THE DISCLOSURE STATEMENT, THE DEFINITIVE
DOCUMENTS, THE PLAN SUPPLEMENT, THE ABL FACILITY DOCUMENTS, THE TERM
LOAN DOCUMENTS, THE DIP FACILITY DOCUMENTS, THE EXIT FACILITIES
DOCUMENTS (AND ANY FINANCING PERMITTED THEREUNDER), OR ANY
RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR OTHER
AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH
THIS PLAN OR ANY OTHER POSTPETITION ACT TAKEN OR OMITTED TO BE TAKEN
IN CONNECTION WITH OR IN CONTEMPLATION OF THE RESTRUCTURING OF THE
DEBTORS, THE APPROVAL OF THE DISCLOSURE STATEMENT OR CONFIRMATION OR
CONSUMMATION OF THIS PLAN; PROVIDED, THAT THE FOREGOING PROVISIONS OF
THIS EXCULPATION SHALL NOT OPERATE TO WAIVE OR RELEASE: (1) ANY CLAIMS
OR CAUSES OF ACTION ARISING FROM WILLFUL MISCONDUCT, ACTUAL FRAUD, OR
GROSS NEGLIGENCE OF SUCH APPLICABLE EXCULPATED PARTY AS DETERMINED
BY FINAL ORDER OF THE BANKRUPTCY COURT OR ANY OTHER COURT OF
COMPETENT JURISDICTION; AND/OR (2) THE RIGHTS OF ANY PERSON OR ENTITY TO
ENFORCE THIS PLAN AND THE CONTRACTS, INSTRUMENTS, RELEASES,
INDENTURES, AND OTHER AGREEMENTS AND DOCUMENTS DELIVERED UNDER OR
IN CONNECTION WITH THIS PLAN OR ASSUMED PURSUANT TO THIS PLAN OR FINAL
ORDER OF THE BANKRUPTCY COURT; PROVIDED, FURTHER, THAT EACH
EXCULPATED PARTY SHALL BE ENTITLED TO RELY UPON THE ADVICE OF COUNSEL
CONCERNING ITS RESPECTIVE DUTIES PURSUANT TO, OR IN CONNECTION WITH,
THE ABOVE REFERENCED DOCUMENTS, ACTIONS, OR INACTIONS.

      THE EXCULPATED PARTIES HAVE, AND UPON CONSUMMATION OF THIS PLAN
SHALL BE DEEMED TO HAVE, PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE
WITH THE APPLICABLE LAWS WITH REGARD TO THE SOLICITATION OF VOTES AND
DISTRIBUTION OF CONSIDERATION PURSUANT TO THIS PLAN AND, THEREFORE,
ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS SHALL NOT BE, LIABLE AT
ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION
GOVERNING THE SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THIS PLAN
OR SUCH DISTRIBUTIONS MADE PURSUANT TO THIS PLAN.

      THE FOREGOING EXCULPATION SHALL BE EFFECTIVE AS OF THE EFFECTIVE
DATE WITHOUT FURTHER NOTICE TO OR ORDER OF THE BANKRUPTCY COURT,
ACT, OR ACTION UNDER APPLICABLE LAW, REGULATION, ORDER, OR RULE OR THE
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VOTE, CONSENT, AUTHORIZATION, OR APPROVAL OF ANY PERSON OR ENTITY. FOR
THE AVOIDANCE OF DOUBT AND NOTWITHSTANDING ANYTHING ELSE HEREIN, THE
FOREGOING EXCULPATION SHALL BE LIMITED TO PARTIES THAT SERVED AS
ESTATE FIDUCIARIES DURING THE CHAPTER 11 CASES.

E.      Permanent Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN OR THE
COMBINED ORDER, FROM AND AFTER THE EFFECTIVE DATE, ALL PERSONS AND
ENTITIES ARE, TO THE FULLEST EXTENT PROVIDED UNDER SECTION 524 AND
OTHER APPLICABLE PROVISIONS OF THE BANKRUPTCY CODE, PERMANENTLY
ENJOINED FROM (1) COMMENCING OR CONTINUING, IN ANY MANNER OR IN ANY
PLACE, ANY SUIT, ACTION OR OTHER PROCEEDING OF ANY KIND; (2) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING IN ANY MANNER OR MEANS ANY
JUDGMENT, AWARD, DECREE, OR ORDER; (3) CREATING, PERFECTING, OR
ENFORCING ANY LIEN OR ENCUMBRANCE; (4) ASSERTING A RIGHT OF SETOFF OR
SUBROGATION OF ANY KIND; OR (5) COMMENCING OR CONTINUING IN ANY
MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND, IN EACH CASE ON
ACCOUNT OF OR WITH RESPECT TO ANY CLAIM, DEMAND, LIABILITY, OBLIGATION,
DEBT, RIGHT, CAUSE OF ACTION, INTEREST, OR REMEDY RELEASED OR TO BE
RELEASED, EXCULPATED OR TO BE EXCULPATED, SETTLED OR TO BE SETTLED, OR
DISCHARGED OR TO BE DISCHARGED PURSUANT TO THIS PLAN OR THE COMBINED
ORDER AGAINST ANY PERSON OR ENTITY SO RELEASED, DISCHARGED, OR
EXCULPATED (OR THE PROPERTY OR ESTATE OF ANY PERSON OR ENTITY SO
RELEASED, DISCHARGED, OR EXCULPATED).      ALL INJUNCTIONS OR STAYS
PROVIDED FOR IN THE CHAPTER 11 CASES UNDER SECTION 105 OR SECTION 362 OF
THE BANKRUPTCY CODE, OR OTHERWISE, AND IN EXISTENCE ON THE
CONFIRMATION DATE, SHALL REMAIN IN FULL FORCE AND EFFECT UNTIL THE
EFFECTIVE DATE.

                                           Article X.
                                   RETENTION OF JURISDICTION

        Notwithstanding the entry of the Combined Order and the occurrence of the Effective Date,
except to the extent set forth herein or under applicable federal law, the Bankruptcy Court shall retain
exclusive jurisdiction over all matters arising out of, or related to, the Chapter 11 Cases and this Plan
pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

       A.       allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
or unsecured status, or amount of any Claim or Interest, including the resolution of any request for
payment of any Administrative Claim and the resolution of any and all objections to the secured or
unsecured status, priority, amount, or allowance of Claims or Interests;

        B.      decide and resolve all matters related to the granting and denying, in whole or in part,
any applications for allowance of compensation or reimbursement of expenses to Retained Professionals
authorized pursuant to the Bankruptcy Code or this Plan;

        C.       resolve any matters related to: (1) the assumption, assumption and assignment, or
rejection of any Executory Contract or Unexpired Lease to which a Debtor is party with respect to which
a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Cure Costs arising
therefrom, including Cure Costs pursuant to section 365 of the Bankruptcy Code; (2) any potential


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contractual obligation under any Executory Contract or Unexpired Lease that is assumed; and (3) any
dispute regarding whether a contract or lease is or was executory or expired;

        D.       ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the
provisions of this Plan and the Combined Order;

        E.      adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
matters, and any other matters, and grant or deny any applications involving a Debtor that may be
pending on the Effective Date;

        F.       adjudicate, decide, or resolve any and all matters related to Causes of Action;

       G.     adjudicate, decide, or resolve any and all matters related to section 1141 of the
Bankruptcy Code;

        H.      resolve any cases, controversies, suits, or disputes that may arise in connection with any
Claims, including claim objections, allowance, disallowance, estimation, and distribution;

       I.       enter and implement such orders as may be necessary or appropriate to execute,
implement, or consummate the provisions of this Plan, the Combined Order, and all contracts,
instruments, releases, and other agreements or documents created in connection with this Plan, the
Combined Order, or the Disclosure Statement, including the Transaction Support Agreement;

        J.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
1146(a) of the Bankruptcy Code;

        K.      resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
connection with the interpretation or enforcement of this Plan, the Combined Order, or any contract,
instrument, release or other agreement or document that is entered into or delivered pursuant to this Plan
or the Combined Order, or any Entity’s rights arising from or obligations incurred in connection with this
Plan or the Combined Order;

        L.     issue injunctions, enter and implement other orders or take such other actions as may be
necessary or appropriate to restrain interference by any Entity with enforcement of this Plan or the
Combined Order;

        M.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
releases, injunctions, and other provisions contained in this Plan and enter such orders as may be
necessary or appropriate to implement such releases, injunctions, and other provisions;

       N.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a
Claim or Interest for amounts not timely repaid;

         O.      enter and implement such orders as are necessary or appropriate if the Combined Order
is for any reason modified, stayed, reversed, revoked, or vacated;

        P.     determine any other matters that may arise in connection with or relate to this Plan, the
Disclosure Statement, the Combined Order, or any contract, instrument, release, indenture, or other
agreement or document created in connection with this Plan, the Combined Order, or the Disclosure
Statement;

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        Q.       enter an order or final decree concluding or closing the Chapter 11 Cases;

       R.       adjudicate any and all disputes arising from or relating to distributions to Holders of
Claims and Interests under this Plan;

        S.      consider any modification of this Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Combined Order;

        T.       determine requests for payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

       U.      hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of this Plan, or the Combined Order, including disputes arising under
agreements, documents, or instruments executed in connection with this Plan;

        V.      hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

        W.      hear and determine all disputes involving the existence, nature, or scope of the Debtors’
discharge, including without limitation any dispute relating to any liability arising out of the termination
of employment or the termination of any employee or retiree benefit program, regardless of whether such
termination occurred before or after the Effective Date;

         X.    hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the releases, injunctions, and exculpations provided under Article IX
of this Plan;

        Y.       resolve any disputes concerning whether a Person had sufficient notice of the Chapter 11
Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11 Cases, in
each case, for the purpose of determining whether a Claim or Interest is discharged hereunder or for any
other purpose;

        Z.       enforce all orders previously entered by the Bankruptcy Court; and

      AA.    hear any other matter not inconsistent with the Bankruptcy Code, this Plan, or the
Combined Order.

        If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter 11
Cases, including the matters set forth in this Article X, the provisions of this Article X shall have no
effect on and shall not control, limit, or prohibit the exercise of jurisdiction by any other court having
competent jurisdiction with respect to such matter.

         Notwithstanding anything to the contrary in this Plan: (1) the Bankruptcy Court’s jurisdiction to
hear and determine disputes concerning Claims against or Interests in the Debtors that arose before the
Effective Date, including, without limitation, any Claims based in whole or in part on any conduct of the
Debtors occurring on or before the Effective Date, shall be non-exclusive; (2) any dispute arising under
or in connection with the Exit Facility Documents, New Governance Documents, and New Stockholders
Agreement shall be dealt with in accordance with the provisions of the applicable document; and (3) as
of the Effective Date, the Exit Facility Amendment shall be governed by the jurisdictional provisions
therein.

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                                     Article XI.
                 MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

A.      Modification of Plan

        Subject to the terms of the Transaction Support Agreement and the limitations contained in this
Plan, the Debtors or Reorganized Debtors reserve the right to, in accordance with the Bankruptcy Code,
the Bankruptcy Rules, and the Transaction Support Agreement: (1) amend or modify this Plan before the
entry of the Combined Order, including amendments or modifications to satisfy section 1129(b) of the
Bankruptcy Code; (2) amend or modify this Plan after the entry of the Combined Order in accordance
with section 1127(b) of the Bankruptcy Code and the Transaction Support Agreement upon order of the
Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency in this Plan in
such manner as may be necessary to carry out the purpose and intent of this Plan upon order of the
Bankruptcy Court.

B.      Effect of Confirmation on Modifications

        Entry of the Combined Order shall mean that all modifications or amendments to this Plan since
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not
require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

C.      Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur

        Subject to the conditions to the Effective Date, the Debtors reserve the right, subject to the terms
of the Transaction Support Agreement, to revoke or withdraw this Plan before the entry of the Combined
Order and to File subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan, or if
entry of the Combined Order or the Effective Date does not occur, or if the Transaction Support
Agreement terminates in accordance with its terms before the Effective Date, then: (1) this Plan shall be
null and void in all respects; (2) any settlement or compromise embodied in this Plan, assumption or
rejection of Executory Contracts or Unexpired Leases effected by this Plan, and any document or
agreement executed pursuant hereto shall be deemed null and void; and (3) nothing contained in this Plan
shall: (a) constitute a waiver or release of any Claims by or against, or any Interests in, such Debtor or
any other Entity; (b) prejudice in any manner the rights of the Debtors or any other Entity; or
(c) constitute an admission of any sort by the Debtors or any other Entity; provided, that any
Restructuring Fees and Expenses that have been paid as of the date of revocation or withdrawal of this
Plan shall remain paid and shall not be subject to disgorgement or repayment without further order of the
Bankruptcy Court.

                                           Article XII.
                                   MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect

         Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, upon the occurrence
of the Effective Date, the terms of this Plan and the documents and instruments contained in the Plan
Supplement shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Reorganized Debtors, and any and all Holders of Claims and Interests (irrespective of whether Holders of
such Claims or Interests are deemed to have accepted this Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in this Plan, each
Entity acquiring property under this Plan and any and all non-Debtor parties to Executory Contracts and
Unexpired Leases, and notwithstanding whether or not such Person or Entity (1) shall receive or retain
any property, or interest in property, under this Plan, (2) has filed a Proof of Claim in the Chapter 11
Cases (if applicable) or (3) failed to vote to accept or reject this Plan, affirmatively voted to reject this
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Plan, or is conclusively presumed to reject this Plan. The Combined Order shall contain a waiver of any
stay of enforcement otherwise applicable, including pursuant to Bankruptcy Rule 3020(e) and 7062.

B.      Additional Documents

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further evidence
the terms and conditions of this Plan. The Debtors or Reorganized Debtors, as applicable, and all
Holders of Claims and Interests receiving distributions pursuant to this Plan and all other parties in
interest shall, from time to time, prepare, execute, and deliver any agreements or documents and take any
other actions as may be necessary or advisable to effectuate the provisions and intent of this Plan or the
Combined Order.

C.      Payment of United States Trustee Statutory Fees

        All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the
Bankruptcy Court at a hearing pursuant to section 1128 of the Bankruptcy Code or as agreed to by
the United States Trustee and the Reorganized Debtors, shall be paid for each quarter (including
any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed, whichever
occurs first.

        All United States Trustee Statutory Fees due and payable to the United States Trustee
before the Effective Date shall be paid by the Debtors on the Effective Date. After the Effective
Date, any and all United States Trustee Statutory Fees shall be paid to the United States Trustee
when due and payable. The Debtors shall file all monthly operating reports due before the
Effective Date when they become due, using UST Form 11-MOR. After the Effective Date, the
Reorganized Debtors shall each file with the Bankruptcy Court separate UST Form 11-PCR
reports when they become due, until the earliest of the Debtors’ or Reorganized Debtors’ case
being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code. The
United States Trustee shall not be required to File a request for an Administrative Claim for
United States Trustee Statutory Fees, and shall not be treated as providing any release under this
Plan.

D.      Reservation of Rights

         This Plan shall have no force or effect unless and until the Bankruptcy Court enters the
Combined Order. None of the filing of this Plan, any statement or provision contained in this Plan, or the
taking of any action by any Debtor with respect to this Plan, the Disclosure Statement, or the Plan
Supplement shall be or shall be deemed to be an admission or waiver of any rights of any Debtor with
respect to the Holders of Claims or Interests before the Effective Date.

E.      Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
Affiliate, officer, director, agent, representative, attorney, beneficiaries, or guardian, if any, of each
Entity.

F.      No Successor Liability

       Except as otherwise expressly provided in this Plan and the Combined Order, each of the
Reorganized Debtors (1) is not, and shall not be deemed to assume, agree to perform, pay, or otherwise
have any responsibilities for any liabilities or obligations of the Debtors or any other Person relating to or

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arising out of the operations or the assets of the Debtors on or before the Effective Date, (2) is not, and
shall not be, a successor to the Debtors by reason of any theory of law or equity or responsible for the
knowledge or conduct of any Debtor before the Effective Date, and (3) shall not have any successor or
transferee liability of any kind or character.

G.      Service of Documents

        After the Effective Date, any pleading, notice, or other document required by this Plan to be
served on or delivered to the Reorganized Debtors shall also be served on:

                       Debtors                                     Counsel to the Debtors

 JOANN Inc.                                         Young Conaway Stargatt & Taylor LLP
 5555 Darrow Road                                   Rodney Square
 Hudson, Ohio 44236                                 1000 North King Street
 Attn: Ann Aber                                     Wilmington, Delaware 19801
                                                    Attn: Michael R. Nestor and Kara Hammond Coyle
                                                    and
                                                    Latham & Watkins LLP
                                                    1271 Avenue of the Americas
                                                    New York, New York 10020
                                                    Attn: George A. Davis and Alexandra M. Zablocki
                                                    and
                                                    Latham & Watkins LLP
                                                    355 South Grand Avenue, Suite 100
                                                    Los Angeles, California 90071
                                                    Attn: Ted A. Dillman and Nicholas J. Messana
                                                    and
                                                    Latham & Watkins LLP
                                                    330 North Wabash Avenue, Suite 2800,
                                                    Chicago, Illinois 60611
                                                    Attn: Ebba Gebisa
               United States Trustee                           Counsel to the Ad Hoc Group




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 Office of the United States Trustee for the        Morris, Nichols, Arsht & Tunnell LLP
 District of Delaware                               1201 North Market Street, 16th Floor, P.O. Box
 844 King Street, Suite 2207                        1347
 Wilmington, Delaware 19801                         Wilmington, Delaware 19899-1347
 Attn: Timothy J. Fox, Jr. and Malcolm M.           Attn: Robert Dehney, Matthew Harvey, and Brenna
 Bates                                              Dolphin
                                                    and
                                                    Gibson, Dunn & Crutcher LLP
                                                    200 Park Avenue
                                                    New York, New York 10166-0193
                                                    Attention: Scott J. Greenberg, Joshua Brody, and
                                                    Kevin Liang
       Counsel to the ABL Facility Agent                  Counsel to the FILO Term Loan Agent

 Morgan, Lewis & Bockius LLP                        Choate, Hall & Stewart LLP
 One Federal Street                                 Two International Place
 Boston, Massachusetts 02110                        Boston, Massachusetts 02110
 Attn: Marjorie S. Crider and Christopher L.        Attn: John F. Ventola, Seth D. Mennillo, and
 Carter                                             Jonathan Marshall
 and                                                and
 Reed Smith LLP                                     DLA Piper LLP (US)
 1201 Market Street, Suite 1500                     1201 North Market Street, Suite 2100
 Wilmington, Delaware 19801                         Wilmington, Delaware 19801
 Attn: Kurt F. Gwynne                               Attn: Stuart M. Brown

       Counsel to Certain FILO Lenders                          Counsel to the Consenting
                                                                  Stockholder Parties
 Proskauer Rose LLP                                 Richards, Layton & Finger, P.A.
 Eleven Times Square                                One Rodney Square
 New York, NY 10036                                 920 North King Street
 Attn: Andrew Bettwy and Megan Volin                Wilmington, Delaware 19801
                                                    Attn: Mark D. Collins and Michael J. Merchant
 and
 Proskauer Rose LLP
 One International Place
 Boston, MA 02110
 Attn: Charles Dale

H.      Term of Injunctions or Stays

         Unless otherwise provided in this Plan or in the Combined Order, all injunctions or stays in
effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of
the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays contained
in this Plan or the Combined Order) shall remain in full force and effect until the Effective Date. All
injunctions or stays contained in this Plan or the Combined Order shall remain in full force and effect in
accordance with their terms.


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I.      Entire Agreement

        On the Effective Date, this Plan and the Plan Supplement supersede all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on
such subjects, all of which have become merged and integrated into this Plan.

J.      Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without
giving effect to the principles of conflict of laws, shall govern the rights, obligations, construction, and
implementation of this Plan, the Plan Supplement, and any agreements, documents, instruments, or
contracts executed or entered into in connection with this Plan (except as otherwise set forth in those
agreements, in which case the governing law of such agreement shall control), and corporate governance
matters; provided, that corporate governance matters relating to Debtors or Reorganized Debtors, as
applicable, not incorporated in New York shall be governed by the laws of the jurisdiction of
incorporation of the applicable Debtor or Reorganized Debtor, as applicable.

K.      Exhibits

         All exhibits and documents included in the Plan Supplement are incorporated into and are a part
of this Plan as if set forth in full in this Plan. Except as otherwise provided in this Plan, such exhibits and
documents included in the Plan Supplement shall initially be Filed with the Bankruptcy Court on or
before the Plan Supplement Filing Date. After the exhibits and documents are Filed, copies of such
exhibits and documents shall have been available upon written request to the Debtors’ counsel at the
address above or by downloading such exhibits and documents from the Debtors’ restructuring website at
https://cases.ra.kroll.com/JOANN or the Bankruptcy Court’s website at www.deb.uscourts.gov. To the
extent any exhibit or document is inconsistent with the terms of this Plan, unless otherwise ordered by
the Bankruptcy Court, the non-exhibit or non-document portion of this Plan shall control.

L.      Nonseverability of Plan Provisions upon Confirmation

         If, before Confirmation, any term or provision of this Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such
term or provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void or unenforceable, and such term or
provision shall then be applicable as altered or interpreted; provided, that any such alteration or
interpretation shall be acceptable to the Debtors and the Required Consenting Stakeholders.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of this Plan shall remain in full force and effect and shall in no way be affected, impaired, or invalidated
by such holding, alteration, or interpretation. The Combined Order shall constitute a judicial
determination and shall provide that each term and provision of this Plan, as it may have been altered or
interpreted in accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2)
integral to this Plan and may not be deleted or modified without the consent of the Debtors; and (3)
nonseverable and mutually dependent.

M.      Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases,
File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable
order of the Bankruptcy Court to close the Chapter 11 Cases.



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N.      Conflicts

        To the extent that any provision of the Disclosure Statement, or any order entered before
Confirmation (for avoidance of doubt, not including the Combined Order) referenced in this Plan (or any
exhibits, appendices, supplements, or amendments to any of the foregoing), conflict with or are in any
way inconsistent with any provision of this Plan, this Plan shall govern and control. To the extent that
any provision of this Plan conflicts with or is in any way inconsistent with any provision of the
Combined Order, the Combined Order shall govern and control.

O.      No Strict Construction

        This Plan is the product of extensive discussions and negotiations between and among, inter alia,
the Debtors, the Consenting Stakeholders, and their respective professionals. Each of the foregoing was
represented by counsel of its choice who either participated in the formulation and documentation of, or
was afforded the opportunity to review and provide comments on, this Plan and the Disclosure
Statement, the exhibits and schedules thereto, and the other agreements and documents ancillary or
related thereto. Accordingly, unless explicitly indicated otherwise, the general rule of contract
construction known as “contra proferentem” or other rule of strict construction shall not apply to the
construction or interpretation of any provision of this Plan and the Disclosure Statement, the exhibits and
schedules thereto, and the other agreements and documents ancillary or related thereto.

P.      Section 1125(e) Good Faith Compliance

         The Debtors, the Reorganized Debtors, the Consenting Stakeholders, and each of their respective
current and former officers, directors, members (including ex officio members), managers, employees,
partners, advisors, attorneys, professionals, accountants, investment bankers, investment advisors,
actuaries, Affiliates, financial advisors, consultants, agents, and other representatives of each of the
foregoing Entities (whether current or former, in each case in his, her or its capacity as such) have, and
upon Confirmation shall be deemed to have, solicited votes on this Plan from the Voting Classes in
compliance with the applicable provisions of the Bankruptcy Code, and any applicable non-bankruptcy
law, rule or regulation governing the adequacy of disclosure in connection with the solicitation, and acted
in “good faith” under section 1125(e) of the Bankruptcy Code; and therefore, no such parties,
individuals, or the Debtors or the Reorganized Debtors shall have any liability for the violation of any
applicable law, rule, or regulation governing the solicitation of votes on this Plan or the offer, issuance,
sale, or purchase of the Securities offered and sold under this Plan.

Q.      2002 Notice Parties

         After the Effective Date, the Debtors and the Reorganized Debtors, as applicable, are authorized
to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who
have Filed a renewed request after the ConfirmationCombined Hearing to receive documents pursuant
to Bankruptcy Rule 2002.

        Respectfully submitted, as of the date first set forth above,

                                            JOANN Inc.
                                            (on behalf of itself and all other Debtors)

                                            By:      /s/ Scott Sekella
                                            Name:    Scott Sekella
                                            Title:   Executive Vice President and Chief Financial Officer



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